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 9     REY MOBILE HOME ESTATES
10                                      UNITED STATES BANKRUPTCY COURT
11
                            CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION
12
       In re                                                       Case No. 8:21-bk-11710-ES
13
       JAMIE LYNN GALLIAN,                                         Chapter 7
14
                             Debtor.                               NOTICE OF MOTION AND MOTION
15                                                                 OBJECTING TO DEBTOR’S CLAIMED
                                                                   HOMESTEAD EXEMPTION;
16                                                                 MEMORANDUM OF POINTS AND
                                                                   AUTHORITIES; DECLARATION OF
17                                                                 D. EDWARD HAYS IN SUPPORT

18                                                                 Date: June 2, 2022
                                                                   Time: 10:30 a.m.
19                                                                 Ctrm: 5A1
                                                                   Location: 411 W. Fourth Street, Santa Ana, CA
20                                                                 92701

21     TO THE HONORABLE ERITHE A. SMITH, UNITED STATES BANKRUPTCY JUDGE, THE

22     DEBTOR, AND ALL INTERESTED PARTIES:

23              PLEASE TAKE NOTICE that on June 2, 2022, at 10:30 a.m., in Courtroom 5A, of the

24     United States Bankruptcy Court, the Motion objecting to Debtor’s claimed homestead exemption

25     (“Motion”), filed by Houser Bros. Co., dba Rancho Del Rey Mobile Home Estates (“Houser Bros.”)

26
       1
        To continue to aid in the mitigation of the spread of the COVID-19 virus and in light of the response of the Bar to
27     continue virtual appearances, Judge Smith will continue to hold the majority of her hearings remotely using ZoomGov
       audio and video. However, beginning September 1, 2021, Judge Smith will allow the option for in-person hearings
28     and/or hybrid proceedings for trial and evidentiary hearings only.
                                                                 1
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 1     will be heard. The Motion is based upon this notice of motion, the Motion, and memorandum of

 2     points and authorities in support thereof, the Declaration of D. Edward Hays, the pleadings and files

 3     in the Debtor’s bankruptcy case, and upon such further oral and documentary evidence as may be

 4     presented to the Court in support of the Motion.

 5              PLEASE TAKE FURTHER NOTICE that any response to the Motion must be in the form as

 6     required by Local Bankruptcy Rule 9013-1(f) and filed with the Clerk of the above-entitled Court no

 7     later than 14 days prior to the hearing date set forth above, and a copy served on Marshack Hays

 8     LLP to the attention of D. Edward Hays, Laila Masud, and Bradford N. Barnhardt at the address

 9     indicated above. A copy of any response must also be served on the Office of the United States

10     Trustee, 411 W. Fourth Street, Suite 7160, Santa Ana, CA 92701.

11
       DATED: May 12, 2022                     MARSHACK HAYS LLP
12

13                                                     /s/ D. Edward Hays
                                               By:
14                                                   D. EDWARD HAYS
                                                     LAILA MASUD
15                                                   BRADFORD N. BARNHARDT
                                                     Attorneys for Movant and Creditor,
16
                                                     HOUSER BROS. CO. dba RANCHO DEL
17                                                   REY MOBILE HOME ESTATES

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 1                                Memorandum of Points and Authorities
 2     1.       Summary of Argument
 3              A debtor may only exempt property that constitutes property of the estate.2 Assets owned by

 4     an LLC are not assets of an LLC’s member’s bankruptcy estate. Abrahim & Sons Enters. v. Equilon

 5     Enters., 292 F.3d 958, 963 (9th Cir. 2002) (“Once members contribute assets to an LLC, those assets

 6     become capital of the LLC and the members lose any interest they had in the assets.”). As a result,

 7     the Ninth Circuit Bankruptcy Appellate Panel has denied a claimed homestead exemption in a

 8     residence owned by an LLC in which the debtor was a member. Schaefers v. Blizzard Energy, Inc.

 9     (In re Schaefers), 623 B.R. 777, 783 (B.A.P. 9th Cir. 2020). This is the exact situation presented by

10     this case.

11              Specifically, Debtor resides in a manufactured home which she has claimed as exempt. But,

12     Debtor did not acquire title to the manufactured home in her name. Instead, she readily admits that

13     she transferred title to the manufactured home to an LLC in which she was a member. Because

14     property of the estate includes only the LLC interest - and not the manufactured home owned by the

15     LLC - Debtor’s claim of exemption must be disallowed.

16              Further, there is purportedly a lien against the manufactured home held by one of Debtor’s

17     other LLCs which is subject to avoidance as fraudulent. Indeed, Debtor has a litigious history and a

18     long line of creditors. Her actions in fraudulently transferring title to her manufactured home to one

19     LLC and separately subjecting its value to phony liens held by another LLC prevent her from

20     claiming a homestead exemption. To the extent the Trustee (1) recovers or brings the property into

21     the estate by way of an avoidance action or by dissolving the LLC and distributing the assets to its

22     member(s); or (2) avoids, recovers, and preserves such liens, the estate will obtain the benefit of the

23     liens and Debtor will similarly be barred from claiming any exemption in such recovery under 11

24     U.S.C. § 522(g).

25
       2
          11 U.S.C. § 522(b) (providing that “an individual debtor may exempt from property of the estate…”)
26
       (emphasis added); see also Owen v. Owen, 500 U.S. 305 (1991) (“Property that is properly exempted under §
27     522 is (with some exceptions) immunized against liability for prebankruptcy debts. § 522(c). No property can
       be exempted (and thereby immunized), however, unless it first falls within the bankruptcy estate.”) (emphasis
28     in original).
                                                             3
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 1              The benefits of bankruptcy including discharge and exemptions are for the honest, but

 2     unfortunate debtor. Debtor must now suffer the consequences of her pre-bankruptcy conduct in

 3     attempting to shelter her property from creditors. Because Debtor cannot meet her burden of proof to

 4     establish a homestead, this court must decide whether to disallow it.

 5     2.       Factual Background
 6              A.   Procedural Background
 7              On July 9, 2021 (“Petition Date”), Jamie Lynn Gallian (“Debtor”) filed a voluntary petition

 8     under Chapter 7 of Title 11 of the United States Code. On the same date, Ms. Gallian filed her initial

 9     Schedules and Statements (“Original Schedules”). A true and correct copy of the Original Schedules

10     is attached to the Declaration of D. Edward Hays (“Hays Declaration”) as Exhibit 2.

11              As set forth below, on the Petition Date, the registered title owner of the manufactured home

12     located at 16222 Monterey Lane, Space #376, Huntington Beach, CA 92649 (“Property”) was J-

13     Sandcastle Co, LLC (“J-Sandcastle LLC”) subject to liens purportedly held by the legal owners, J-

14     Pad, LLC and Ron Pierpont (“Mr. Pierpont”). Debtor’s Schedules further reflect that she was the

15     100% owner of J-Sandcastle LLC. Because the LLC (and not Debtor) was the owner of the

16     manufactured home on the Petition Date, the Property was not property of the Estate, and Debtor is

17     not entitled to a homestead exemption.

18                      i.     Debtor’s Schedules
19              Since filing her Original Schedules on the Petition Date, Debtor has filed nine additional sets

20     of amended schedules. The various Schedules present an ever-evolving and inconsistent picture of

21     the ownership of the Property on the Petition Date, as well as Debtor’s interest in J-Sandcastle LLC

22     (the owner of the home) and J-Pad, LLC (the purported secured creditor). Debtor’s Original

23     Schedules, filed on the Petition Date, provided as follows: “Registered Title with HCD3 Debtor’s

24     single member LLC, J-Sandcastle Co, LLC.” Debtor further scheduled a 100% interest in J-

25     Sandcastle LLC, noting that its “Purpose is to hold Registered title with HCD, to Debtor’s primary

26

27       3
         HCD is the Department of Housing and Community Development which issues certificates of title for
28     manufactured homes.
                                                           4
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 1     residence.” And, Debtor scheduled a 33.33% interest in J-Pad, LLC, noting that its “only purpose is

 2     to hold a note and UCC-1 filing on Debtor’s primary residence.”

 3              Since filing the Original Schedules, Debtor has amended them multiple times to allege that

 4     she was the registered owner of the Property on the Petition Date, with her interest perfected with the

 5     California Department of Housing and Community Development (“HCD”) on February 25, 2021.

 6     Debtor’s most recently filed Schedule C claims a $600,000 exemption in the Property pursuant to

 7     § 704.730 of the California Code of Civil Procedure (“CCP”). Attached as Exhibit “1” is a table

 8     reflecting the information contained in Debtors’ multiple sets of amended schedules. Attached as

 9     Exhibits “2” through “11”, are the Debtor’s Schedules, Dk. Nos. 1, 15, 16, 17, 22, 37, 38, 39, 42, 72,

10     and 754.

11              On March 16, 2022, as Docket No. 77, Debtor filed a “Corporate Ownership Statement . . .”

12     indicating that on November 22, 2021, she filed with the California Secretary of State certificates of

13     cancellation for both J-Pad, LLC and J-Sandcastle LLC (which actions exercised control over estate

14     property without Court authorization).

15                     ii.     Debtor’s Bank Statements and HCD Title Searches
16              According to records of the California Department of Housing and Community Development

17     (“HCD”), on November 1, 2018, the Property was transferred to J-Sandcastle LLC as registered

18     owner, with a “Pending Reg Card” as of January 18, 2019 (“Jan. 18, 2019, Title Search”). A true and

19     correct copy of the Jan. 18, 2019, Title Search is attached to the Hays Declaration as Exhibit 12. The

20     Property was transferred to J-Sandcastle LLC from Lisa T. Ryan. A true and correct copy of a

21     release form dated November 1, 2018 (“Ryan Release Form”), is attached to the Hays Declaration as

22     Exhibit 13. A true and correct copy of an HCD “Notice of Sale or Transfer” from Lisa Ryan to J-

23     Sandcastle LLC on November 1, 2018 (“Notice of Sale”), is attached to the Hays Declaration as

24     Exhibit 14.5

25

26     4
        The Chart attached as Exhibit 1, reflects the various differences between the Original Schedules on the
       Petition Date and the amended Schedules.
27       5
           Debtor used her personal funds to purchase the Property but put title in the name of the J-Sandcastle LLC
28     which transfer was avoidable as an actual and constructive fraudulent transfer.
                                                             5
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 1              As of July 23, 2020, the Property’s registered owner was J-Sandcastle LLC per a transfer on

 2     November 1, 2018, with “Last Title Date” and “Last Reg Card” as January 19, 2019 (“July 23, 2020,

 3     Title Search”). A true and correct copy of the July 23, 2020, Title Search is attached to the Hays

 4     Declaration as Exhibit 15.

 5              On February 18, 2021, Debtor submitted an $81 debit card payment to the HCD. A true and

 6     correct copy of Debtor’s bank statements is attached to the Hays Declaration as Exhibit 16.

 7              As of June 7, 2021, about a month before the Petition Date, the Property’s registered owner

 8     remained J-Sandcastle LLC per a November 1, 2018, transfer, with “Last Title Date” and “Last Reg

 9     Card” as February 24, 2021 (“June 7, 2021, Title Search”). A true and correct copy of the June 7,

10     2021, Title Search is attached to the Hays Declaration as Exhibit 17. The Property’s “Legal

11     Owner[s]” were Pierpont and J-Pad LLC as tenants in common, with “Lien Perfected On: 08/20/20.”

12     Id.

13              On July 9, 2021, Debtor commenced this bankruptcy case. The evidence is clear that title on

14     the Petition Date was J-Sandcastle and not Debtor.

15              On July 18, 2021, Debtor submitted a $116 debit card payment to the HCD. Hays

16     Declaration Ex. 16 at 137.

17              On July 20, 2021, Debtor submitted a $25 debit card payment to the HCD. Id. at 137.

18              A week later, Debtor submitted three $35 debit card payments to the HCD, and the next day,

19     she submitted a $35 debit card payment to the HCD. Id. at 136.

20              On August 5, 2021, Debtor submitted a $35 debit card payment to the HCD. Id. at 135.

21              As of August 10, 2021, HCD records were changed to reflect that the Property’s registered

22     owner was “Jamie Lynn Gallian,” with “Last Title Date” and “Last Reg Card” as August 10, 2021,

23     per a “Sale/Transfer” of “Price $.00 Transferred on 02/25/2021” (“Aug. 10, 2021, Title Search”). A

24     true and correct copy of the Aug. 10, 2021, Title Search is attached to the Hays Declaration as

25     Exhibit 18. No legal owners were listed, and the following “Record Conditions” were included: “An

26     application for title or registration change is pending with the department.” Id.

27              On August 11, 2021, Debtor submitted an $81 debit card payment to the HCD. Hays

28     Declaration Ex. 16 at 135.
                                                          6
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 1              As of September 21, 2021, the registered owner was Debtor, per a February 25, 2021,

 2     transfer for $0, with “Last Title Date” and “Last Reg Card” as August 12, 2021 (“Sept. 21, 2021,

 3     Title Search”). A true and correct copy of the Sept. 21, 2021, Title Search is attached to the Hays

 4     Declaration as Exhibit 19. The “Legal Owner” was listed as J-Pad LLC, with “Lien Perfected On:

 5     01/14/19.” Id. at 145.

 6                    iii.      HCD Title Transactions
 7
                HCD records show a legal owner assignment regarding the Property with transaction date of
 8
       February 1, 2021 (“February 2021 HCD Transaction”). A true and correct copy of the February 2021
 9
       HCD Transaction is attached to the Hays Declaration as Exhibit 20. The February 2021 HCD
10
       Transaction included an HCD certificate of title, which showed J-Sandcastle LLC as the Property’s
11
       registered owner, with title issued January 19, 2019. Hays Declaration Ex. 20 at 149. It also included
12
       a “Statement to Encumber” (i.e., record a lien) in favor of Mr. Pierpont and J-Pad LLC. Id. at 157.
13
                HCD records further show a registered owner transfer – “No Sale” – with transaction date of
14
       July 14, 2021 (“July 2021 HCD Transaction”). A true and correct copy of the July 2021 HCD
15
       Transaction is attached to the Hays Declaration as Exhibit 21. Attached to the July 2021 HCD
16
       Transaction is an HCD certificate of title, which showed J-Sandcastle LLC as the Property’s
17
       registered owner and Pierpont and J-Pad LLC as the Property’s legal owners, with title issued as of
18
       February 24, 2021. Hays Declaration Ex. 21 at 171. Debtor sought to add herself as the “New
19
       Registered Owner,” and provided a “Releasing Signature” of J-Sandcastle LLC, with February 25,
20
       2021, as the “Date of Release.” Id. at 172. Debtor also included a “Lien Satisfied” document in
21
       which Mr. Pierpont certified that his and J-Pad LLC’s lien had been fully satisfied. Id. at 179. And,
22
       an attached County of Orange “Tax Clearance Certificate” executed and issued on July 9, 2021—the
23
       Petition Date—showed J-Sandcastle LLC as the “Current Registered Owner.” Id. at 191.
24
                An HCD legal owner addition with a transaction date of August 10, 2021 (“August 2021
25
       HCD Transaction”) included a certificate of title showing Debtor as the Property’s registered owner,
26
       with title issued August 3, 2021. A true and correct copy of the August 2021 HCD Transaction is
27

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 1     attached to the Hays Declaration as Exhibit 22. An attached “Statement to Encumber” sought to add

 2     J-Pad LLC as the Property’s legal owner. Id. at 201.

 3                    iv.     Attempted Payments to Houser Bros.
 4              Between February 1, 2021, and July 30, 2021, Debtor tried to make the following payments

 5     to Houser Bros. regarding the Property:
       Date of Attempted Payment        Amount of Attempted                Payor
 6
                                         Payment
 7
       February 1, 2021                  $1,086                            J-Sandcastle LLC, Jamie
 8
                                                                           Gallian
 9

10     March 2, 2021                     $1,086                            J-Sandcastle LLC, Jamie

11                                                                         Gallian

12
       April 9, 2021                     $1,086                            J-Sandcastle LLC, Jamie
13
                                                                           Gallian
14

15     May 13, 2021                      $1,100                            J-Sandcastle LLC, by Jamie
16                                                                         Gallian, Member

17     June 4, 2021                      $1,100                            J-Sandcastle LLC c/o QIP
                                                                           Management
18
       July 1, 2021                      $1,100                            J-Sandcastle LLC, by Jamie
19
                                                                           Gallian, Member
20
       July 30, 2021                     $2,269.43                         Jamie Gallian
21

22              True and correct copies of the returned payments are attached to the Hays Declaration as

23     Exhibit 23. In other words, before the July 9, 2021, Petition Date, all payments that Debtor

24     submitted to Houser Bros. listed J-Sandcastle LLC as the payor/were on behalf of J-Sandcastle LLC.

25     Only after the Petition Date did Debtor submit a payment on her own behalf.

26

27

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                                                          8
          NOTICE OF MOTION AND MOTION OBJECTING TO DEBTOR’S CLAIMED HOMESTEAD EXEMPTION
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 1     3.       Legal Argument
 2              A.          A debtor may only exempt property that is property of the estate.
 3              A debtor may only exempt property that constitutes property of the estate. 11 U.S.C. § 522(b)

 4     (providing that “an individual debtor may exempt from property of the estate…”) (emphasis added);

 5     See also Owen v. Owen, 500 U.S. 305 (1991) (“Property that is properly exempted under § 522 is

 6     (with some exceptions) immunized against liability for prebankruptcy debts. § 522(c). No property

 7     can be exempted (and thereby immunized), however, unless it first falls within the bankruptcy

 8     estate.”) (emphasis in original).

 9              Assets owned by an LLC are not assets of an LLC member’s bankruptcy estate. Abrahim &

10     Sons Enters. v. Equilon Enters., 292 F.3d 958, 963 (9th Cir. 2002) (“Once members contribute assets

11     to an LLC, those assets become capital of the LLC and the members lose any interest they had in the

12     assets.”). The Ninth Circuit Bankruptcy Appellate Panel has denied a claimed homestead exemption

13     in a residence owned by an LLC in which the debtor was a member. Schaefers v. Blizzard Energy,

14     Inc. (In re Schaefers), 623 B.R. 777, 783 (B.A.P. 9th Cir. 2020). See also, In re Farokhirad, 8:21-

15     bk-10026-MW, ECF No. 98 (Bankr. C.D. Cal. Apr. 29, 2021) (sustaining chapter 7 trustee’s

16     objection to a debtor’s claimed homestead exemption under CCP § 704.730 where title to the

17     property was held by an LLC in which debtor was the sole member).

18              B.          Homestead Exemption
19              California provides two alternative homestead exemptions: the declared homestead

20     exemption set forth in CCP §§ 704.910-704.995, and the automatic homestead exemption set forth in

21     CCP §§ 704.710-704.850. In re Sain, 584 B.R. 325, 328 (Bankr. S.D. Cal. 2018). Because declared

22     homesteads apply to voluntary sales, they generally do not arise in bankruptcy cases. Id.

23              In this case, Debtor’s most recent Schedule C claimed an exemption under the automatic

24     homestead exemption.6 Hays Decl. Ex. 10 at 103 (Eighth Amended Schedules, claiming a $600,000

25     exemption in the Property pursuant to CCP § 704.730).

26
       6
        In the Second Amended Schedules, Debtor asserts that that she recorded a “Homestead Declaration . . . with
27     OC Clerk Recorder 7/9/2021@12:48 p.m.,” approximately 90 minutes before her petition was filed. Hays
       Decl. Ex. 4 at 50. Further, on March 11, 2022, as Docket No. 74, Debtor filed a “Verification of Declaration
28     of Homestead filed with Orange County Clerk Recorder.”
                                                            9
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 1              Section 704.730(a) of the CCP provides:
 2              (a) The amount of the homestead exemption is the greater of the following:
 3
                       (1) The countywide median sale price for a single-family home in the
 4              calendar year prior to the calendar year in which the judgment debtor
                claims the exemption, not to exceed six hundred thousand dollars
 5              ($600,000).
 6                          (2) Three hundred thousand dollars ($300,000).
 7              The automatic homestead exemption protects a debtor from a forced sale. Cal. Code Civ. P.
 8     § 704.720(a) (“A homestead is exempt from sale under this division” (Division 2 - Enforcement of
 9     Money Judgments)); id. § 704.740(a) (“a dwelling may not be sold under this division to enforce a
10     money judgment except pursuant to a court order for sale obtained under this article” (Article 4 -
11     Homestead Exemption)); id. § 704.740(b) (“If the dwelling is personal property… an exemption
12     claim shall be made and determined as provided in Article 2 (Article 2 - Procedure for Claiming
13     Exemptions)). The filing of a bankruptcy petition constitutes a forced sale. Diaz v. Kosmala (In re
14     Diaz), 547 B.R. 329, 334 (B.A.P. 9th Cir. 2016); Kelley v. Locke (In re Kelley), 300 B.R. 11, 17, 20
15     (B.A.P. 9th Cir. 2003).
16              A debtor’s right to claim an exemption is determined as of the petition date. In re Reade,
17     2014 Bankr.LEXIS 1391, at *10 (Bankr. C.D. Cal. Mar. 28, 2014); see also Harrington v. Ainsworth
18     (In re Harrington), 2005 Bankr.LEXIS 3379, at *8 (B.A.P. 9th Cir. Aug. 22, 2005) (noting that the
19     homestead exemptions set forth in CCP § 704.730(a) depend on whether the debtor is eligible for an
20     exemption as of the petition date).
21

22
       Debtor submitted the homestead declaration pursuant to § 704.930 of the CCP, meaning that it pertains to the
23     declared homestead. See Kelley v. Locke (In re Kelley), 300 B.R. 11, 17-18 (B.A.P. 9th Cir. 2003) (noting that
       the declared homestead exemption set forth in CCP §§ 704.910-704.995 requires recordation of a declaration
24     of homestead). But, declared homesteads are not applicable to sales by a bankruptcy trustee. See In re Sain,
       584 B.R. 325, 329 (Bankr. S.D. Cal. 2018) (indicating that only the automatic homestead was available to a
25     debtor who held a recorded declaration of homestead, because the debtor had not elected a declared
       homestead exemption in his schedules, and declared homesteads are not applicable to sales by bankruptcy
26     trustees); see also In re Kelley, 300 B.R. at 21 (noting that in the bankruptcy context, a debtor’s declaration of
       homestead “helps him not at all, as the additional benefits conferred in Article 5 [Sections 704.910-704.995]
27
       would benefit him only in the situation of a voluntary sale”) (emphasis in original).
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                                                              10
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 1              California law defines a “homestead” as:

 2              the principal dwelling (1) in which the judgment debtor or the judgment debtor’s
                spouse resided on the date the judgment creditor’s lien attached to the dwelling, and
 3              (2) in which the judgment debtor or the judgment debtor’s spouse resided
                continuously thereafter until the date of the court determination that the dwelling is a
 4              homestead.
 5     Cal. Code Civ. P. § 704.710(c).

 6              A “manufactured home together with the outbuildings and land upon which they are

 7     situated” is eligible for a homestead exemption. Cal. Code Civ. Proc. § 704.710(a)(2) (defining

 8     “dwelling”). An LLC interest, however, does not qualify for a homestead exemption. Schaefers v.

 9     Blizzard Energy, Inc. (In re Schaefers), 623 B.R. 777, 783 (B.A.P. 9th Cir. 2020) (indicating that

10     California’s residential exemption is inapplicable to interests in an LLC, which are personal property

11     interests outside the statutory definition of homestead under CCP § 704.710(c)).

12              Specifically, where title to a residential property is held by an LLC rather than a debtor

13     personally, the debtor cannot claim a homestead exemption in that property. See In re Schaefers, 623

14     B.R. at 783, 785 (holding that a debtor could not claim a homestead exemption in the property where

15     he resided because he admitted that the property was owned by an LLC); In re Farokhirad, 8:21-bk-

16     10026-MW, ECF No. 98 (Bankr. C.D. Cal. Apr. 29, 2021) (sustaining a chapter 7 trustee’s objection

17     to a debtor’s claimed homestead exemption under CCP § 704.730 where title to the property was

18     held by an LLC in which one of the debtors was the sole member). The rationale for these rulings is

19     that an LLC is a separate and distinct legal entity from its owners or members, and the LLC

20     members have no interest in the company’s assets. In re Schaefers, 623 B.R. at 783.

21              C.          Burden of Proof
22              California, by statute, regulates the burden of proof regarding its exemptions. In re Tallerico,

23     532 B.R. 774, 780 (Bankr. E.D. Cal. 2015). CCP § 704.780(a)(1) provides:

24              The burden of proof at the hearing is determined in the following manner:

25              (1) If the records of the county tax assessor indicate that there is a current
                homeowner’s exemption or disabled veteran’s exemption for the dwelling claimed by
26              the judgment debtor or the judgment debtor’s spouse, the judgment creditor has the
                burden of proof that the dwelling is not a homestead. If the records of the county tax
27              assessor indicate that there is not a current homeowner’s exemption or disabled
                veteran’s exemption for the dwelling claimed by the judgment debtor or the judgment
28
                                                           11
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 1              debtor’s spouse, the burden of proof that the dwelling is a homestead is on the person
                who claims that the dwelling is a homestead.
 2

 3              California law allocates the burden of proof on a homestead based on the records of the

 4     county tax assessor. CCP § 704.780(a). See also, In re Tallerico, 532 B.R. 774, 780 (Bankr. E.D.

 5     Cal. 2015); Diaz v. Kosmala (In re Diaz), 547 B.R. 329, 336-37 (B.A.P. 9th Cir. 2016) (holding that

 6     where a state law exemption statute specifically allocates the burden of proof to the debtor, Rule

 7     4003(c) does not change that allocation) (citing Raleigh v. Ill. Dep’t of Revenue, 530 U.S. 15

 8     (2000)).

 9              D.          Because J-Sandcastle LLC was the Property’s owner of record on
10                          the Petition Date, the Property did not become property of the estate
11                          subject to any exemption.
12              Here, Debtor bears the burden of proof to show entitlement to the homestead exemption

13     because the Orange County Treasurer-Tax Collector records do not indicate that there is a “current

14     homeowner’s exemption or disabled veteran’s exemption” for the Property.7 A true and correct copy

15     of the 2021-22 tax bill for the Property is attached to the Hays Declaration as Exhibit 24, and, for

16     reference, a true and correct copy of the tax bill for 16222 Monterey Lane, Space #375, Huntington

17     Beach, CA 92649, which reflects a $7,000 homeowner’s exemption, is attached to the Hays

18     Declaration as Exhibit 25. See also McBeth v. Karr (In re Karr), 2006 Bankr.LEXIS 4801, at *15-

19     17 n.3 (B.A.P. 9th Cir. Oct. 2, 2006) (noting that California law allocates the burden of proof on a

20     homestead based on the records of the county tax assessor). Debtor cannot meet this burden because

21     the HCD records show that J-Sandcastle LLC was the Property’s owner of record on the Petition

22     Date.

23

24

25

26     7
        Although Debtor claims to have recorded a Homestead Declaration, she did so with the Orange County
       Clerk-Recorder, not the Orange County Treasurer-Tax Collector. Further, a declaration of homestead does not
27     pertain to the automatic homestead exemption. See In re Sain, supra.
28
                                                           12
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 1               According to an HCD webpage, for a manufactured home or manufactured home titled with

 2     the HCD with a decal number that begins with the letter ‘L,’ such as the Property here,8 certain

 3     “documents and fees” must be submitted to the HCD to “transfer ownership.” A true and correct

 4     copy of the HCD webpage is attached to the Hays Declaration as Exhibit 26. Fees can be paid by

 5     card. A true and correct copy of the HCD webpage for submission of a payment is attached to the

 6     Hays Declaration as Exhibit 27. The HCD’s payment portal provides a way to submit payment for

 7     “any Codes and Standards transactions that require payment,” including “Manufactured

 8     home/manufactured home title transfers.” Hays Decl. Ex. 27 at 227.

 9               Based on Debtor’s 2021 bank statements and the 2021 HCD title searches for the Property,

10     there is a correlation between Debtor’s submission of payments to the HCD and changes to the

11     Property’s title information:

12                               Date                                  Significance of Date                    Citation
                            2/18/2021                     $81 payment from Debtor to HCD            Bank Statements at 7
13
                                        Update to "Title Date" and "Reg Card" per HCD title
14                                           records. J‐Sandcastle LLC shown as registered
                                        owner, and Ronald Pierpont and Jpad LLC shown as
15                          2/24/2021                                         legal owners.      June 7, 2021 Title Search
                             7/9/2021                                         Petition Date                 BK Docket #1
16                          7/18/2021                    $116 payment from Debtor to HCD           Bank Statements at 21
                            7/20/2021                     $25 payment from Debtor to HCD           Bank Statements at 21
17                          7/27/2021              Three $35 payments from Debtor to HCD           Bank Statements at 20
                            7/28/2021                     $35 payment from Debtor to HCD           Bank Statements at 20
18                                      Update to "Title Date" and "Reg Card" per HCD title
                                         records. Debtor shown as registered owner per a
19
                             8/3/2021                        transfer on February 25, 2021.   August 10, 2021 Title Search
20                           8/5/2021                     $35 payment from Debtor to HCD          Bank Statements at 19
                            8/11/2021                     $81 payment from Debtor to HCD          Bank Statements at 19
21                                      Update to "Title Date" and "Reg Card" per HCD title
                                          records. Debtor shown as registered owner per a
22                                       transfer on February 25, 2021. J‐Pad LLC shown as      September 21, 2021 Title
                            8/12/2021                                          legal owner.                      Search
23

24               As of June 7, 2021—about a month before the Petition Date—the Property’s registered
25     owner was J-Sandcastle LLC, and the legal owners were Pierpont and J-Pad LLC. Hays Declaration
26

27     8
           The Property has Decal No. LBM1081. See, e.g., Hays Decl. Ex. 21 at 169 (Certificate of Title attached to
28               the July 2021 HCD Transaction).
                                                                13
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 1     Ex. 17 at 142 (June 7, 2021, Title Search). The June 7, 2021, Title Search did not note any pending

 2     applications for title or registration change that might have added Debtor as the registered or legal

 3     owner of the Property before the Petition Date. Compare Hays Declaration Ex. 18 at 143 (Aug. 10,

 4     2021, Title Search noting that an application for title or registration change was pending with the

 5     HCD), with Hays Declaration Ex. 17 at 142 (June 7, 2021, Title Search which does not include any

 6     such note).

 7              And, Debtor paid no fees to the HCD between June 7, 2021, and the Petition Date that could

 8     have effectuated a change in title. See Hays Decl.: Ex. 26 (HCD webpage, indicating that

 9     “documents and fees” must be submitted to the HCD to transfer ownership of a manufactured home

10     or manufactured home) (emphasis added); Ex. 272 (HCD payment portal, indicating that

11     manufactured home/manufactured home title transfers require payment).

12              Further, the July 2021 HCD Transaction had a transaction date of July 14, 2021—five days

13     after the Petition Date—and included a certificate of title showing J-Sandcastle LLC as the

14     Property’s registered owner and Pierpont and J-Pad LLC as the Property’s legal owners. Hays

15     Declaration Ex. 21 at 171. Included in this post-petition transaction was a document to add Debtor as

16     the Property’s “New Registered Owner.” Id. at 172 (emphasis added). Also attached was a County of

17     Orange “Tax Clearance Certificate” issued and executed on the Petition Date, which gave the

18     Property’s “Current Registered Owner” as J-Sandcastle LLC. Id. at 191. The August 2021 HCD

19     Transaction did include a certificate of title showing Debtor as the Property’s registered owner, but

20     according to the certificate, title was issued on August 3, 2021, nearly a month after the Petition

21     Date. Hays Declaration Ex. 22 at 195. Indeed, Debtor’s attempted payments to Houser Bros.

22     regarding the Property were paid on behalf of J-Sandcastle LLC pre-petition, and only after the

23     Petition Date did Debtor try to submit a payment in her own name. See Hays Decl. Ex. 23 at 203-222

24     (returned payments that Debtor tried to make to Houser Bros.).

25              The evidence is thus clear – on the Petition Date, the Property’s registered owner was J-

26     Sandcastle LLC, and the legal owners were Pierpont and J-Pad, LLC. Until the post-petition

27     recordation with the HCD, any alleged transfer of title to Debtor personally was ineffective. See In

28     re Farokhirad, Case No. 8:21-bk-10026-MW, ECF No. 98 (Bankr. C.D. Cal. Apr. 29, 2021)
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 1     (sustaining a trustee’s objection to an individual debtor’s claimed homestead exemption in property

 2     held by a wholly owned LLC, and indicating that a provision of the LLC agreement purporting to

 3     transfer an interest in the property to the debtor prepetition was ineffective because an unrecorded

 4     deed could not bind the trustee). And, as indicated above, where title to a residence is held by an

 5     LLC rather than the debtor, the debtor cannot claim a homestead exemption in that property. See

 6     Schaefers v. Blizzard Energy, Inc. (In re Schaefers), 623 B.R. 777, 783, 785 (B.A.P. 9th Cir. 2020)

 7     (holding that a debtor could not claim a homestead exemption in his residence because the property

 8     was held by an LLC); In re Farokhirad, 8:21-bk-10026-MW, ECF No. 98 (Bankr. C.D. Cal. Apr.

 9     29, 2021) (sustaining a chapter 7 trustee’s objection to a CCP § 704.730 homestead exemption

10     where title to the property was held by an LLC in which one of the debtors was the sole member).

11              E.          Alternatively, § 522(p) imposes a $170,350 cap on any exemption
12              Debtor can claim in the Property.
13              11 U.S.C. § 522(p) imposes a monetary limit of $170,350 on the amount of a debtor’s

14     interest in homestead property that may be exempted to the extent that there has been an acquisition

15     of a homestead interest within a period of 1,215 days before the commencement of the case.

16     4 COLLIER ON BANKRUPTCY P 522.13[1] (2022). It provides, in relevant part:

17              [A]s a result of electing under subsection (b)(3)(A) to exempt property under State or
                local law, a debtor may not exempt any amount of interest that was acquired by the
18              debtor during the 1215-day period preceding the date of the filing of the petition that
                exceeds in the aggregate $170,350 in value in—
19
                     (A) real or personal property that the debtor or a dependent of the debtor uses as a
20                   residence; . . . or
                     (D) real or personal property that the debtor or dependent of the debtor claims as a
21                   homestead.
22     11 U.S.C. § 522(p)(1).
23              Section 522(p) applies when a debtor seeks to exempt an interest in homestead property

24     under § 522(b)(3)(A) by claiming exemptions under state law or local law. 4 COLLIER ON

25     BANKRUPTCY P 522.13[1] (2022). “Section 522(p) applies in all cases regardless of whether a state

26     has opted out of federal bankruptcy exemptions.” In re Narita, 2008 Bankr.LEXIS 5174, at *11

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                                                           15
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 1     (Bankr. D. Nev. Jan. 10, 2008) (citation omitted).9 California has opted out of the federal exemption

 2     scheme and provides its own bankruptcy exemptions. Cal. Code Civ. P. § 703.130; Phillips v.

 3     Gilman (In re Gilman), 887 F.3d 956, 964 (9th Cir. 2018).

 4              To the extent this Court finds that, on the Petition Date, Debtor held title to the manufactured

 5     home and thus is eligible to claim an exemption, any such is capped at $170,350 pursuant to Section

 6     522(p). Debtor claims a $600,000 homestead exemption in the Property pursuant to § 704.730 of the

 7     CCP. Hays Decl. Ex. 10 at 103. She further values the Property at $235,000 in her schedules. See,

 8     e.g., Hays Decl. Ex. 2 at 33 (Debtor’s Original Schedules, valuing the Property at $235,000). Yet, J-

 9     Sandcastle LLC acquired the Property from Lisa Ryan on November 1, 2018, and Debtor acquired

10     her interest in the Property in 2021. See Hays Decl., Ex. 12 at 115 (Jan. 18, 2019, Title Search,

11     showing that the Property was transferred to J-Sandcastle LLC on November 1, 2018); Ex. 13 at

12     116-117 (Ryan Release Form, indicating that the Property was transferred to J-Sandcastle LLC from

13     Lisa Ryan on November 1, 2018); Ex. 14 at 118-119 (Notice of Sale, same); Ex. 18 at 143 (August

14     10, 2021, Title Search, providing that the Property’s registered owner was “Jamie Lynn Gallian,”

15     with “Last Title Date” and “Last Reg Card” as August 10, 2021). These dates are well within the

16     1,215-day period before the Petition Date, which is between March 12, 2018, and July 9, 2021.

17     Therefore, any allowed exemption must be limited to $170,350 pursuant to 11 U.S.C. § 522(p).

18     4.       Conclusion
19              Assets owned by an LLC are not property of an individual member’s bankruptcy estate. As

20     stated by the Supreme Court in Owen, “No property can be exempted (and thereby immunized),

21     however, unless it first falls within the bankruptcy estate.” Debtor’s claimed exemption in the

22     Property thus fails. In the alternative, any allowed exemption must be capped at $170,350.

23              Movant thus respectfully requests that the Court enter an order:

24           1) Granting this Motion;

25

26

27
       9
28         Contra, In re McNabb, 326 B.R. 785 (Bankr. D. Ariz. 2005).
                                                           16
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 1         2) Sustaining the objection to Debtor’s claimed homestead exemption under CCP § 704.730,

 2              and disallowing any claim of exemption by Debtor in the Property pursuant to CCP

 3              § 704.730;

 4         3) Alternatively, finding that any allowed exemption be capped at $170,350 pursuant to 11

 5              U.S.C. § 522(p); and

 6         4) Awarding such other and further relief as the Court deems just and proper.

 7
       DATED: May 12, 2022                     MARSHACK HAYS LLP
 8

 9                                                    /s/ D. Edward Hays
                                               By:
10                                                   D. EDWARD HAYS
                                                     LAILA MASUD
11                                                   BRADFORD N. BARNHARDT
                                                     Attorneys for Movant and Creditor,
12
                                                     HOUSER BROS. CO. dba RANCHO DEL
13                                                   REY MOBILE HOME ESTATES

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 1                                        Declaration of D. Edward Hays
 2               I, D. EDWARD HAYS, say and declare as follows:
 3               1.      I am an individual over 18 years of age and competent to make this Declaration.
 4               2.      If called upon to do so, I could and would competently testify as to the facts set
 5     forth in this Declaration.
 6               3.      The facts set forth below are true of my personal knowledge.
 7               4.      I am an attorney at law duly admitted to practice before this Court and all courts
 8     of the State of California.
 9               5.      I am a partner in the law firm of Marshack Hays LLP, attorneys of record for
10     Houser Bros. Co., dba Rancho Del Rey Mobile Home Estates (“Houser Bros.”).
11               6.      I make this Declaration in support of the “Notice of Motion and Motion Objecting
12     to Debtor’s Claimed Homestead Exemption” (“Motion”).
13               7.      Capitalized terms not defined in this Declaration have the meaning ascribed to
14     them in the Motion.
15               8.      A table reflecting the information contained in Debtors’ multiple sets of amended
16     schedules is attached as Exhibit 1.
17               9.      A true and correct copy of Debtor’s Original Schedules10 filed July 9, 2021, as
18     Docket #1 is attached as Exhibit 2.
19               10.     A true and correct copy of Debtor’s First Amended Schedules filed September 7,
20     2021, as Docket #15 is attached as Exhibit 3.
21               11.     A true and correct copy of Debtor’s Second Amended Schedules filed September
22     22, 2021, as Docket #s 16-17 is attached as Exhibit 4.
23               12.     A true and correct copy of Debtor’s Third Amended Schedules filed October 14,
24     2021, as Docket #22 is attached as Exhibit 5.
25

26
       10
27          For the sake of brevity, all schedules, other than Debtor’s Eighth Amended Schedules, will include only
                  Schedules A/B and D, as applicable. Debtor’s Eighth Amended Schedules will also include Schedule
28                C.
                                                             18
                                             DECLARATION OF D. EDWARD HAYS
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 1            13.     A true and correct copy of Debtor’s Fourth Amended Schedules filed November

 2     16, 2021, as Docket #37 is attached as Exhibit 6.

 3            14.     A true and correct copy of Debtor’s Fifth Amended Schedules filed November 22,

 4     2021, as Docket #38 is attached as Exhibit 7.

 5            15.     A true and correct copy of Debtor’s Sixth Amended Schedules filed November

 6     23, 2021, as Docket #39 is attached as Exhibit 8.

 7            16.     A true and correct copy of Debtor’s Seventh Amended Schedules filed December

 8     1, 2021, as Docket #42 is attached as Exhibit 9.

 9            17.     A true and correct copy of Debtor’s Eighth Amended Schedules filed March 11,

10     2022, as Docket #72 is attached as Exhibit 10.

11            18.     A true and correct copy of Debtor’s Ninth Amended Schedules filed March 15,

12     2022, as Docket #75 is attached as Exhibit 11.

13            19.     On November 10, 2021, I received from Chris Houser (“Mr. Houser”) a

14     California Department of Housing and Community Development (“HCD”) “Title Search”

15     printed January 18, 2019 (“Jan. 18, 2019, Title Search”). A true and correct copy of the Jan. 18,

16     2019, Title Search, provided to me, is attached as Exhibit 12.

17            20.     A true and correct copy of the Ryan Release Form, provided to me, is attached as

18     Exhibit 13.

19            21.     A true and correct copy of the Notice of Sale, provided to me, is attached as

20     Exhibit 14.

21            22.     On November 10, 2021, I received from Mr. Houser an HCD “Title Search”

22     printed July 23, 2020 (“July 23, 2020, Title Search”). A true and correct copy of the July 23,

23     2020, Title Search, provided to me, is attached as Exhibit 15.

24            23.     On or around October 20, 2021, I received an e-mail from the office of Chapter 7

25     Trustee Jeffrey Golden which contained copies of the Bank of America, N.A. statements of

26     Debtor regarding a debit card ending -7357 for the period starting December 13, 2020, through

27     October 12, 2021 (“Bank Statements”). A true and correct copy of the Bank Statements provided

28     to me is attached as Exhibit 16.
                                                           19
                                          DECLARATION OF D. EDWARD HAYS
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 1            24.     On November 10, 2021, I received from Mr. Houser an HCD “Title Search”

 2     printed June 7, 2021 (“June 7, 2021, Title Search”). A true and correct copy of the June 7, 2021,

 3     Title Search provided to me is attached as Exhibit 17.

 4            25.     On November 10, 2021, I received from Mr. Houser an HCD “Title Search”

 5     printed August 10, 2021 (“Aug. 10, 2021, Title Search”). A true and correct copy of the Aug. 10,

 6     2021, Title Search provided to me is attached as Exhibit 18.

 7            26.     On November 10, 2021, I received from Mr. Houser an HCD “Title Search”

 8     printed September 21, 2021 (“Sept. 21, 2021, Title Search”). A true and correct copy of the Sept.

 9     21, 2021, Title Search provided to me is attached as Exhibit 19.

10            27.     A true and correct copy of the February 2021 HCD Transaction provided to me is

11     attached as Exhibit 20.

12            28.     A true and correct copy of the July 2021 HCD Transaction provided to me is

13     attached as Exhibit 21.

14            29.     A true and correct copy of the August 2021 HCD Transaction provided to me is

15     attached as Exhibit 22.

16            30.     I am informed and believe that between February 1, 2021, and July 30, 2021,

17     Debtor/J-Sandcastle LLC attempted to make payments to Houser Bros. regarding the Property.

18     True and correct copies of the returned payments from Debtor/J-Sandcastle LLC to Houser Bros.

19     provided to me are attached as Exhibit 23.

20            31.     A true and correct copy of the Orange County Treasurer-Tax Collector “2021-22

21     Secured Property Tax Bill” for 16222 Monterey Lane, Space #376, Huntington Beach, CA

22     92649 (the “Property”), available at http://oct.estreamone.com/Show.aspx?parcel=891-569-

23     62&year=2021, as of May 2, 2022, is attached as Exhibit 24.

24            32.     A true and correct copy of the Orange County Treasurer-Tax Collector “2021-22

25     Secured Property Tax Bill” for 16222 Monterey Lane, Space #375, Huntington Beach, CA

26     92649, available at http://oct.estreamone.com/Show.aspx?parcel=891-563-75&year=2021, as of

27     May 2, 2022, is attached as Exhibit 25.

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                                                        20
                                         DECLARATION OF D. EDWARD HAYS
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 1              33.      A true and correct copy of a California Department of Housing and Community

 2     Development Division of Codes and Standards Registration and Titling Program “Private Party

 3     Sale for a Home on Local Property Tax with HCD Certificate of Title,” revised October 2020,

 4     available at https://www.hcd.ca.gov/manufactured-mobile-home/registration-

 5     titling/docs/hcdrt804.pdf, as of May 2, 2022, is attached as Exhibit 26.

 6              34.      A true and correct copy of a California Department of Housing and Community

 7     Development Codes and Standards Automated System webpage to “Pay Fees – Submit a

 8     Payment,” available at

 9     https://casas.hcd.ca.gov/casas/casasApplication/payApplicationFeesOnline, as of May 2, 2022, is

10     attached as Exhibit 27.

11              I declare under penalty of perjury that the foregoing is true and correct. Executed on

12     May 12, 2022.

13                                                                   /s/ D. Edward Hays

14                                                             D. EDWARD HAYS
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       4873-3244-8261, v. 5
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                                                          21
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Schedules          Sch. A/B re:         Sch. A/B re: J-    Sch. A/B re: J-      Sch. D re: liens

                   Property             Sandcastle         Pad, LLC

                                        LLC

Original           Debtor scheduled     Debtor             Debtor               Schedule D

Schedules, filed   a $235,000           scheduled a        scheduled a          listed a

July 9, 2021, as   interest in the      100% interest in   33.33% interest      $175,000

Docket #1,         Property, noting:    J-Sandcastle       in J-Pad, LLC,       secured claim of

Hays Decl. Ex.     “Registered Title    LLC. According     noting: “only        J-Pad, LLC and

2                  with HCD             to Debtor,         purpose is to        Pierpont against

                   Debtor’s single      “Purpose is to     hold a note and      the Property

                   member LLC, J-       hold Registered    UCC-1 filing on      perfected

                   Sandcastle Co,       title with HCD,    Debtor’s             August 20,

                   LLC.”                to Debtor’s        primary              2020.

                                        primary            residence.”

                                        residence.”

First Amended      Debtor scheduled     Debtor             Debtor               No amended

Schedules, filed   a $235,000           scheduled a        scheduled a          schedule D was

September 7,       interest in the      100% interest in   33.33% interest      filed.

2021, as Docket    Property,            J-Sandcastle       in J-Pad, LLC,

#15, Hays Decl.    indicating:          LLC. According     with the

Ex. 3              “Registered          to Debtor:         following

                   Owner, Jamie         “Original          information:

                   Lynn Gallian with    purpose of LLC     “Entity Assets

                   HCD perfected        was to hold        include . . .

                   2/25/2021.”          HCD                Certificate of

                                        Registration to    Title with HCD,




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                                      Debtor’s           perfected

                                      residence. HCD     1/14/2019, LBM

                                      Registration was 1081; 2014

                                      transferred to     Skyline Custom

                                      debtor on          Villa

                                      2/25/2021.”        Manufactured

                                                         Home UCC-1

                                                         Manufactured

                                                         Home Financing

                                                         Statement

                                                         perfected

                                                         1/14/2019,

                                                         against personal

                                                         property located

                                                         at 16222

                                                         Monterey Lane,

                                                         Space 376,

                                                         Huntington

                                                         Beach, CA

                                                         92649.”

Second             Debtor scheduled   Debtor             Debtor             Debtor’s

Amended            a $235,000         scheduled a        scheduled a 1/7    Schedule D

Schedules, filed   interest in the    100% interest in   interest in J-Pad, included a

September 22,      Property,          J-Sandcastle       LLC, noting:       $175,000

2021, as Docket    indicating: “HCD   LLC, indicating: “Only purpose is secured claim of

#s 16-17, Hays     COT Registration   “Debtor            to hold HCD        J-Pad, LLC;




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Decl. Ex. 4        transferred          Purchased home     Certificate of       Steven and

                   2/25/2021, from J- on 11/1/2018 . .     Title, perfected     Brian Gallian;

                   Sandcastle Co        . . HCD            1/14/2019 of         EJ Gallian;

                   LLC Debtor’s         Registered to J-   debtors primary      Justin Barclay;

                   single member        Sandcastle Co      residence . . . .”   Pierpont; Robert

                   LLC, to Debtor . .   LLC. . . . J-                           Pierpont; and

                   . . Debtor           Sandcastle Co                           Debtor, against

                   Homestead            LLC transferred                         the Property.

                   Declaration filed    Registration to

                   with OC Clerk        Jamie Lynn

                   Recorder             Gallian,

                   7/9/2021@12:48       perfected with

                   p.m.”                HCD 2/25/2021

                                        . . . .”

Third Amended      Debtor scheduled     Debtor             Debtor               Debtor’s

Schedules, filed   a $275,000           scheduled a        scheduled a 70% Schedule D

October 14,        interest in the      100% interest in   interest in J-Pad, included a

2021, as Docket    Property,            J-Sandcastle       LLC, indicating:     $225,000

#22, Hays Decl.    indicating:          LLC, adding:       “J-Pad, LLC          secured claim of

Ex. 5              “Title/Registration “Note payable       holds COT            J-Pad, LLC, and

                   through HCD;         in the             perfected with       Steven and

                   LBM 1081 to          approximate        HCD. Holder of       Brian Gallian

                   Debtor.”             amount of          UCC-1,               against the

                                        $225,000.00,       perfected            Property.

                                        dated              1/14/2019,

                                        11/16/2018,        secured Note




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                                       secured by           receivable

                                       UCC-1,               $225,000.00. . .

                                       perfected            .”

                                       1/14/2019. . . .”

Fourth             Debtor scheduled    Debtor               Debtor             No amended

Amended            a $235,000          scheduled a          scheduled a 33-    Schedule D was

Schedules, filed   interest in the     100% interest in     1/3% interest in   filed.

November 16,       Property.           J-Sandcastle         J-Pad, LLC,

2021, as Docket                        LLC, indicating: noting: “J-Pad,

#37, Hays Decl.                        “Original            LLC Holder of

Ex. 6                                  purpose of LLC       COTA perfected

                                       was to hold          1/14/2019.

                                       HCD                  UCC-1 AD filed

                                       Registration to      1/14/2019, 30-

                                       Debtor’s             yr.

                                       residence. HCD       Manufactured

                                       Registration was Home

                                       transferred to       Transaction

                                       debtor on            secured by

                                       2/25/2021 . . . .”   LBM1081,

                                                            located on APN

                                                            178-011-16,

                                                            Tract 10542,

                                                            Unit 4, Lot 376.

                                                            J-Pad, LLC

                                                            Holder of




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                                                              Security

                                                              Agreement,

                                                              dated 11/16/18,

                                                              Promissory Note

                                                              ($175,000 &

                                                              $88,000).

                                                              Matures 2048. . .

                                                              . Debtor

                                                              manages 100%.”

Fifth Amended      Debtor scheduled      Debtor               Debtor              No amended

Schedules, filed   a $235,000            scheduled a          scheduled a         Schedule D was

November 22,       interest in the       100% interest in     100% interest in    filed.

2021, as Docket    Property,             J-Sandcastle         J-Pad, LLC,

#38, Hays Decl.    indicating that the   LLC, adding:         noting: “J-Pad,

Ex. 7              Property was          “Original            LLC, Holder of

                   “Registered to        purpose of LLC       COTA perfected

                   Debtor” with          was to hold          1/14/2019.”

                   “HCD COTA             HCD

                   perfected             Registration to

                   1/14/2019.”           Debtor’s

                                         residence. HCD

                                         Registration was

                                         transferred to

                                         debtor on

                                         2/25/2021 . . . .”

Sixth Amended      Debtor scheduled      Debtor               Debtor              No amended




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Schedules, filed   a $235,000          scheduled a        scheduled a        Schedule D was

November 23,       interest in the     100% interest in   100% interest in   filed.

2021, as Docket    property, stating   J-Sandcastle       J-Pad, LLC,

#39, Hays Decl.    that the Property   LLC, with the      with the same

Ex. 8              was “Registered     same note as in    note as in the

                   to Debtor. HCD      the Fifth          Fifth Amended

                   COTA perfected      Amended            Schedules.

                   1/14/2019.”         Schedules.

Seventh            No amended          No amended         No amended         Debtor’s

Amended            Schedule A/B was    Schedule A/B       Schedule A/B       Seventh

Schedules, filed   filed.              was filed.         was filed.         Amended

December 1,                                                                  Schedules list a

2021, as Docket                                                              $225,000

#42, Hays Decl.                                                              secured claim of

Ex. 9                                                                        Debtor and

                                                                             Steven and

                                                                             Brian Gallian

                                                                             against the

                                                                             Property.

Eighth             Debtor scheduled    Debtor             Debtor             No amended

Amended            a $235,000          scheduled a        scheduled a        Schedule D was

Schedules, Filed interest in the       100% interest in   100% interest in   filed.

March 11, 2022, Property.              J-Sandcastle       J-Pad, LLC,

as Docket #72,                         LLC, noting,       which she

Hays Decl. Ex.                         among other        valued at $500.

10                                     things, “Debtors




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                                    [sic] primary

                                    residence is

                                    16222 Monterey

                                    Ln. Unit 376 . . .

                                    .”

Ninth Amended    No Amended         No Amended           No Amended        Debtor

Schedules, Filed Schedule A/B was   Schedule A/B         Schedule A/B      scheduled a $0

March 15, 2022, filed.              was filed.           was filed.        claim against

as Docket #75,                                                             the Property

Hays Decl. Ex.                                                             held by the

11                                                                         Orange County

                                                                           Assessor; a

                                                                           $46,138 claim

                                                                           against the

                                                                           Property held by

                                                                           Janine Jasso

                                                                           regarding an

                                                                           Orange County

                                                                           Superior Court

                                                                           (“OCSC”)

                                                                           judgment; $0

                                                                           claims against

                                                                           the Property

                                                                           held by Jennifer

                                                                           Paulin, Lindy

                                                                           Beck, Lori




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                                                             Burrett, Lee

                                                             Gragnano, and

                                                             Theodore

                                                             Phillips,

                                                             regarding OCSC

                                                             judgments; a

                                                             $9,265 claim

                                                             against the

                                                             Property held by

                                                             the Huntington

                                                             Beach Gables

                                                             Homeowners

                                                             Association

                                                             regarding an

                                                             OCSC

                                                             judgment; a

                                                             $319,653.59

                                                             claim against

                                                             the Property

                                                             held by the

                                                             Huntington

                                                             Beach Gables

                                                             Homeowners

                                                             Association

                                                             regarding an

                                                             OCSC




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                                                             judgment; a $0

                                                             claim against

                                                             the Property

                                                             held by BS

                                                             Investors LP; a

                                                             $0 claim against

                                                             the Property

                                                             held by Houser

                                                             Bros.; a $0

                                                             claim against

                                                             the Property

                                                             held by S4, a

                                                             California

                                                             Limited

                                                             Partnership; a

                                                             $46,138 claim

                                                             against the

                                                             Property held by

                                                             Huntington

                                                             Beach Gables

                                                             Homeowners

                                                             Association

                                                             regarding an

                                                             OCSC

                                                             judgment; a

                                                             $319,653.19




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                                                             claim against

                                                             the Property

                                                             held by the

                                                             Huntington

                                                             Beach Gables

                                                             Homeowners

                                                             Association

                                                             regarding an

                                                             OCSC

                                                             judgment; a

                                                             $3,070 claim

                                                             against the

                                                             Property held by

                                                             the Huntington

                                                             Beach Gables

                                                             Homeowners

                                                             Association

                                                             regarding an

                                                             OCSC

                                                             judgment; a

                                                             $13,229.34

                                                             claim against

                                                             the Property

                                                             held by the

                                                             People of the

                                                             State of




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                                                              California

                                                              regarding an

                                                              OCSC

                                                              judgment; and a

                                                              $13,229.34

                                                              claim against

                                                              the Property

                                                              held by Janine

                                                              Jasso for civil

                                                              attorney’s fees

                                                              regarding an

                                                              OCSC

                                                              judgment.




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 )LOOLQWKLVLQIRUPDWLRQWRLGHQWLI\\RXUFDVHDQGWKLVILOLQJ

 'HEWRU                   -DPLH/\QQ*DOOLDQ
                            )LUVW1DPH                                 0LGGOH1DPH                    /DVW1DPH

 'HEWRU
 6SRXVHLIILOLQJ          )LUVW1DPH                                 0LGGOH1DPH                    /DVW1DPH


 8QLWHG6WDWHV%DQNUXSWF\&RXUWIRUWKH                     &(175$/',675,&72)&$/,)251,$6$17$$1$',9,6,21

 &DVHQXPEHU           EN(6                                                                                                                        &KHFNLIWKLVLVDQ
                                                                                                                                                                DPHQGHGILOLQJ



2IILFLDO)RUP$%
6FKHGXOH$%3URSHUW\                                                                                                                                         
,QHDFKFDWHJRU\VHSDUDWHO\OLVWDQGGHVFULEHLWHPV/LVWDQDVVHWRQO\RQFH,IDQDVVHWILWVLQPRUHWKDQRQHFDWHJRU\OLVWWKHDVVHWLQWKHFDWHJRU\ZKHUH\RX
WKLQNLWILWVEHVW%HDVFRPSOHWHDQGDFFXUDWHDVSRVVLEOH,IWZRPDUULHGSHRSOHDUHILOLQJWRJHWKHUERWKDUHHTXDOO\UHVSRQVLEOHIRUVXSSO\LQJFRUUHFW
LQIRUPDWLRQ,IPRUHVSDFHLVQHHGHGDWWDFKDVHSDUDWHVKHHWWRWKLVIRUP2QWKHWRSRIDQ\DGGLWLRQDOSDJHVZULWH\RXUQDPHDQGFDVHQXPEHU LINQRZQ 
$QVZHUHYHU\TXHVWLRQ

 3DUW 'HVFULEH(DFK5HVLGHQFH%XLOGLQJ/DQGRU2WKHU5HDO(VWDWH<RX2ZQRU+DYHDQ,QWHUHVW,Q

 'R\RXRZQRUKDYHDQ\OHJDORUHTXLWDEOHLQWHUHVWLQDQ\UHVLGHQFHEXLOGLQJODQGRUVLPLODUSURSHUW\"

   1R*RWR3DUW
   <HV:KHUHLVWKHSURSHUW\"
        /RFDWHGRQ$31
        7UDFW8QLW/RW
                                                                            :KDWLVWKHSURSHUW\"&KHFNDOOWKDWDSSO\
       0RQWHUH\/Q6SF                                               ??
                                                                                     6LQJOHIDPLO\KRPH                         'RQRWGHGXFWVHFXUHGFODLPVRUH[HPSWLRQV3XW
       6WUHHWDGGUHVVLIDYDLODEOHRURWKHUGHVFULSWLRQ                                                                        WKHDPRXQWRIDQ\VHFXUHGFODLPVRQSchedule D:
                                                                                     'XSOH[RUPXOWLXQLWEXLOGLQJ
                                                                                                                                 Creditors Who Have Claims Secured by Property
                                                                                     &RQGRPLQLXPRUFRRSHUDWLYH


                                                                                     0DQXIDFWXUHGRUPRELOHKRPH
                                                                                                                                 &XUUHQWYDOXHRIWKH       &XUUHQWYDOXHRIWKH
       +XQWLQJWRQ%HDFK &$                                                  /DQG
                                                                                                                                HQWLUHSURSHUW\"           SRUWLRQ\RXRZQ"
       &LW\                              6WDWH              =,3&RGH                 ,QYHVWPHQWSURSHUW\                                                
                                                                                     7LPHVKDUH
                                                                                                                                 'HVFULEHWKHQDWXUHRI\RXURZQHUVKLSLQWHUHVW
                                                                                     2WKHU                                       VXFKDVIHHVLPSOHWHQDQF\E\WKHHQWLUHWLHVRU
                                                                               :KRKDVDQLQWHUHVWLQWKHSURSHUW\"&KHFNRQH    DOLIHHVWDWH LINQRZQ
                                                                                                                                 )HH6LPSOH
                                                                                     'HEWRURQO\
       2UDQJH                                                                        'HEWRURQO\
       &RXQW\                                                                        'HEWRUDQG'HEWRURQO\
                                                                                                                                      &KHFNLIWKLVLVFRPPXQLW\SURSHUW\
                                                                                     $WOHDVWRQHRIWKHGHEWRUVDQGDQRWKHU
                                                                                                                                     VHHLQVWUXFWLRQV

                                                                               2WKHULQIRUPDWLRQ\RXZLVKWRDGGDERXWWKLVLWHPVXFKDVORFDO
                                                                               SURSHUW\LGHQWLILFDWLRQQXPEHU
                                                                               $316N\OLQH&XVWRP9LOOD0DQXIDFWXUHG+RPH'HFDO
                                                                               1R/%06HULDO1XPEHU$&9*% [ 6HULDO1XPEHU
                                                                               $&9*$ [ 


  $GGWKHGROODUYDOXHRIWKHSRUWLRQ\RXRZQIRUDOORI\RXUHQWULHVIURP3DUWLQFOXGLQJDQ\HQWULHVIRU
    SDJHV\RXKDYHDWWDFKHGIRU3DUW:ULWHWKDWQXPEHUKHUH !                      


 3DUW 'HVFULEH<RXU9HKLFOHV

'R\RXRZQOHDVHRUKDYHOHJDORUHTXLWDEOHLQWHUHVWLQDQ\YHKLFOHVZKHWKHUWKH\DUHUHJLVWHUHGRUQRW",QFOXGHDQ\YHKLFOHV\RXRZQWKDW
VRPHRQHHOVHGULYHV,I\RXOHDVHDYHKLFOHDOVRUHSRUWLWRQSchedule G: Executory Contracts and Unexpired Leases.




2IILFLDO)RUP$%                                                                 6FKHGXOH$%3URSHUW\                                                                   SDJH
6RIWZDUH&RS\ULJKW F %HVW&DVH//&ZZZEHVWFDVHFRP                                                                                                 %HVW&DVH%DQNUXSWF\

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 'HEWRU       -DPLH/\QQ*DOOLDQ                                                                                  &DVHQXPEHU(if known)      EN(6
 &DUVYDQVWUXFNVWUDFWRUVVSRUWXWLOLW\YHKLFOHVPRWRUF\FOH

    <HV /HDVH.LD6SRUWDJH([SLUHV
    1R

 :DWHUFUDIWDLUFUDIWPRWRUKRPHV$79VDQGRWKHUUHFUHDWLRQDOYHKLFOHVRWKHUYHKLFOHVDQGDFFHVVRULHV
   Examples:%RDWVWUDLOHUVPRWRUVSHUVRQDOZDWHUFUDIWILVKLQJYHVVHOVVQRZPRELOHVPRWRUF\FOHDFFHVVRULHV

    1R
    <HV


  $GGWKHGROODUYDOXHRIWKHSRUWLRQ\RXRZQIRUDOORI\RXUHQWULHVIURP3DUWLQFOXGLQJDQ\HQWULHVIRU
   SDJHV\RXKDYHDWWDFKHGIRU3DUW:ULWHWKDWQXPEHUKHUH !                   


 3DUW 'HVFULEH<RXU3HUVRQDODQG+RXVHKROG,WHPV
 'R\RXRZQRUKDYHDQ\OHJDORUHTXLWDEOHLQWHUHVWLQDQ\RIWKHIROORZLQJLWHPV"                                                                &XUUHQWYDOXHRIWKH
                                                                                                                                                  SRUWLRQ\RXRZQ"
                                                                                                                                                  'RQRWGHGXFWVHFXUHG
                                                                                                                                                  FODLPVRUH[HPSWLRQV
 +RXVHKROGJRRGVDQGIXUQLVKLQJV
   Examples:0DMRUDSSOLDQFHVIXUQLWXUHOLQHQVFKLQDNLWFKHQZDUH
    1R
    <HV'HVFULEH
                                    0LVFKRXVHKROGJRRGVDQGIXUQLVKLQJV
                                    /RFDWLRQ0RQWHUH\/DQH6SDFH+XQWLQJWRQ%HDFK&$
                                                                                                                                                          


                                    ZDWHUIRUGFU\VWDOVHWUHGDQGZKLWHZLQHJODVVHV                                                                           


 (OHFWURQLFV
   Examples: 7HOHYLVLRQVDQGUDGLRVDXGLRYLGHRVWHUHRDQGGLJLWDOHTXLSPHQWFRPSXWHUVSULQWHUVVFDQQHUVPXVLFFROOHFWLRQVHOHFWURQLFGHYLFHV
              LQFOXGLQJFHOOSKRQHVFDPHUDVPHGLDSOD\HUVJDPHV
    1R
    <HV'HVFULEH
                                    :DOOWHOHYLVLRQFRPSXWHUSULQWHUDQGSHULSKHUDOV
                                    /RFDWLRQ0RQWHUH\/DQH6SDFH+XQWLQJWRQ%HDFK&$
                                                                                                                                                            


 &ROOHFWLEOHVRIYDOXH
   Examples:$QWLTXHVDQGILJXULQHVSDLQWLQJVSULQWVRURWKHUDUWZRUNERRNVSLFWXUHVRURWKHUDUWREMHFWVVWDPSFRLQRUEDVHEDOOFDUGFROOHFWLRQV
               RWKHUFROOHFWLRQVPHPRUDELOLDFROOHFWLEOHV
    1R
    <HV'HVFULEH           /RFDWLRQ0RQWHUH\/DQH6SDFH
                                    +XQWLQJWRQ%HDFK&$
                                    /ODGURILJXULQHFROOHFWLRQ                                                                                              


 (TXLSPHQWIRUVSRUWVDQGKREELHV
   Examples: 6SRUWVSKRWRJUDSKLFH[HUFLVHDQGRWKHUKREE\HTXLSPHQWELF\FOHVSRROWDEOHVJROIFOXEVVNLVFDQRHVDQGND\DNVFDUSHQWU\WRROV
             PXVLFDOLQVWUXPHQWV
     1R
    <HV'HVFULEH
 )LUHDUPV
     Examples: 3LVWROVULIOHVVKRWJXQVDPPXQLWLRQDQGUHODWHGHTXLSPHQW
     1R
    <HV'HVFULEH
2IILFLDO)RUP$%                                                   6FKHGXOH$%3URSHUW\                                                                        SDJH
6RIWZDUH&RS\ULJKW F %HVW&DVH//&ZZZEHVWFDVHFRP                                                                                        %HVW&DVH%DQNUXSWF\

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 'HEWRU          -DPLH/\QQ*DOOLDQ                                                                                       &DVHQXPEHU(if known)   EN(6

 &ORWKHV
    Examples: (YHU\GD\FORWKHVIXUVOHDWKHUFRDWVGHVLJQHUZHDUVKRHVDFFHVVRULHV
    1R
    <HV'HVFULEH
                                            0LVFFORWKLQJ
                                            /RFDWLRQ0RQWHUH\/DQH6SDFH+XQWLQJWRQ%HDFK&$
                                                                                                                                                               


 -HZHOU\
     Examples:(YHU\GD\MHZHOU\FRVWXPHMHZHOU\HQJDJHPHQWULQJVZHGGLQJULQJVKHLUORRPMHZHOU\ZDWFKHVJHPVJROGVLOYHU
    1R
    <HV'HVFULEH
                                            0RYDGRZULVWZDWFK \UVROG FRVWXPHMHZHOU\PLVFQRQJROG
                                            FKDLQVEUDFHOHWVDQGHDUULQJV
                                            /RFDWLRQ0RQWHUH\/DQH6SDFH+XQWLQJWRQ%HDFK&$
                                                                                                                                                               


 1RQIDUPDQLPDOV
    Examples:'RJVFDWVELUGVKRUVHV
    1R
    <HV'HVFULEH
                                            \HDUROG:LUHG7HUULHU'RJ                                                                                                


 $Q\RWKHUSHUVRQDODQGKRXVHKROGLWHPV\RXGLGQRWDOUHDG\OLVWLQFOXGLQJDQ\KHDOWKDLGV\RXGLGQRWOLVW
     1R
    <HV*LYHVSHFLILFLQIRUPDWLRQ

  $GGWKHGROODUYDOXHRIDOORI\RXUHQWULHVIURP3DUWLQFOXGLQJDQ\HQWULHVIRUSDJHV\RXKDYHDWWDFKHG
     IRU3DUW:ULWHWKDWQXPEHUKHUH                                          


 3DUW 'HVFULEH<RXU)LQDQFLDO$VVHWV
 'R\RXRZQRUKDYHDQ\OHJDORUHTXLWDEOHLQWHUHVWLQDQ\RIWKHIROORZLQJ"                                                                           &XUUHQWYDOXHRIWKH
                                                                                                                                                       SRUWLRQ\RXRZQ"
                                                                                                                                                       'RQRWGHGXFWVHFXUHG
                                                                                                                                                       FODLPVRUH[HPSWLRQV

 &DVK
    Examples:0RQH\\RXKDYHLQ\RXUZDOOHWLQ\RXUKRPHLQDVDIHGHSRVLWER[DQGRQKDQGZKHQ\RXILOH\RXUSHWLWLRQ
     1R
     <HV
 'HSRVLWVRIPRQH\
    Examples:&KHFNLQJVDYLQJVRURWKHUILQDQFLDODFFRXQWVFHUWLILFDWHVRIGHSRVLWVKDUHVLQFUHGLWXQLRQVEURNHUDJHKRXVHVDQGRWKHUVLPLODU
                  LQVWLWXWLRQV,I\RXKDYHPXOWLSOHDFFRXQWVZLWKWKHVDPHLQVWLWXWLRQOLVWHDFK
    1R
    <HV                                     ,QVWLWXWLRQQDPH


                                                     ('''HELWDFFRXQW %DQNRI$PHULFD                                                                         


                                                                                                 $OOLDQW&UHGLW8QLRQ2QO\IXQGVDUH&RYLG
                                                     6DYLQJV                                UHOLHIIXQGVIURPWKHJRYHUQPHQW                                  




2IILFLDO)RUP$%                                                                     6FKHGXOH$%3URSHUW\                                                           SDJH
6RIWZDUH&RS\ULJKW F %HVW&DVH//&ZZZEHVWFDVHFRP                                                                                             %HVW&DVH%DQNUXSWF\

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 'HEWRU       -DPLH/\QQ*DOOLDQ                                                                     &DVHQXPEHU(if known)   EN(6

                                                                            $OOLDQW&UHGLW8QLRQ2QO\IXQGVDUH&RYLG
                                          6DYLQJV                      UHOLHIIXQGVIURPWKHJRYHUQPHQW                                  


 %RQGVPXWXDOIXQGVRUSXEOLFO\WUDGHGVWRFNV
    Examples:%RQGIXQGVLQYHVWPHQWDFFRXQWVZLWKEURNHUDJHILUPVPRQH\PDUNHWDFFRXQWV
     1R
     <HV                   ,QVWLWXWLRQRULVVXHUQDPH

 1RQSXEOLFO\WUDGHGVWRFNDQGLQWHUHVWVLQLQFRUSRUDWHGDQGXQLQFRUSRUDWHGEXVLQHVVHVLQFOXGLQJDQLQWHUHVWLQDQ//&SDUWQHUVKLSDQG
    MRLQWYHQWXUH
    1R
    <HV*LYHVSHFLILFLQIRUPDWLRQDERXWWKHP
                1DPHRIHQWLW\                                                                         RIRZQHUVKLS
-6DQGFDVWOH&R//&VLQJOHPHPEHUHQWLW\FXUUHQWO\KDVDEDQNDFFRXQWRI
OHVVWKDQDVVHWV
2ULJLQDOSXUSRVHRI//&ZDVWRKROG+&'5HJLVWUDWLRQWR'HEWRU VUHVLGHQFH
+&'5HJLVWUDWLRQZDVWUDQVIHUUHGWRGHEWRURQDIWHUYROXQWDU\
PHGLDWLRQZLWK5'50+(3DUNLQ8'&DVH3DUNUHIXVHGWRFRXQWHUVLJQOHDVH
DJUHHPHQWZLWK+&'5HJLVWHUHG$SSOLFDQW-6DQGFDVWOH&R//&$FFRUGLQJWR
+RXVHU%URV5'53DUN2ZQHU0DQDJHU3DUN5XOHVDOOHJHGO\IRUELGKRPHWR
EHKHOGLQQDPHRWKHUWKDQDQLQGLYLGXDO+RZHYHU3DUNDOORZKRPHVWLWOHGLQ
D7UXVW'HEWRUXQDEOHWRYHULI\VWDWHGUHDVRQLQ5'50+(3DUN5XOHV                                                             

-3$'//&0DQDJHU0DQDJHGFORVHGIDPLO\//&0HPEHUV$VVHWVLQFOXGHEDQN
DFFRXQWRIDURXQG8QFDVKHG%$&DVKLHUV&KHFNIURP&KDVH-
6DQGFDVWOHUHQWIXQGVWR5'50+(5HQW&KHFNVWHQGHUHGIRUVSDFHUHQWSDLG
LQIXOOE\GHEWRU $OOLDQW&8$FFW WKURXJK'HFHPEHUUHWXUQHGIURP5DQFKR'HO
5H\0+(-3DG//&+ROGHURI&27$SHUIHFWHG8&&$'ILOHG
\U0DQXIDFWXUHG+RPH7UDQVDFWLRQVHFXUHGE\/%0ORFDWHGRQ$31
7UDFW8QLW/RW-3DG//&+ROGHURI6HFXULW\$JUHHPHQWGDWHG
3URPLVVRU\1RWH   0DWXUHV9DULRXVPLQLPDOGHEWVRZHG                                                   
DSSUR['HEWRUWHVWLPRQ\FRQFHUQHGIULYRORXVFRVWO\RQJRLQJOLWLJDWLRQ
GHEW'HEWRUPDQDJHV
 *RYHUQPHQWDQGFRUSRUDWHERQGVDQGRWKHUQHJRWLDEOHDQGQRQQHJRWLDEOHLQVWUXPHQWV
    Negotiable instrumentsLQFOXGHSHUVRQDOFKHFNVFDVKLHUV¶FKHFNVSURPLVVRU\QRWHVDQGPRQH\RUGHUV
    Non-negotiable instrumentsDUHWKRVH\RXFDQQRWWUDQVIHUWRVRPHRQHE\VLJQLQJRUGHOLYHULQJWKHP
     1R
     <HV*LYHVSHFLILFLQIRUPDWLRQDERXWWKHP
                                         ,VVXHUQDPH

 5HWLUHPHQWRUSHQVLRQDFFRXQWV
    Examples:,QWHUHVWVLQ,5$(5,6$.HRJK N  E WKULIWVDYLQJVDFFRXQWVRURWKHUSHQVLRQRUSURILWVKDULQJSODQV
    1R
     <HV/LVWHDFKDFFRXQWVHSDUDWHO\
                                      7\SHRIDFFRXQW                      ,QVWLWXWLRQQDPH

                                      ,5$                                   )LGHOLW\                                                      


 6HFXULW\GHSRVLWVDQGSUHSD\PHQWV
    <RXUVKDUHRIDOOXQXVHGGHSRVLWV\RXKDYHPDGHVRWKDW\RXPD\FRQWLQXHVHUYLFHRUXVHIURPDFRPSDQ\
    Examples: $JUHHPHQWVZLWKODQGORUGVSUHSDLGUHQWSXEOLFXWLOLWLHV HOHFWULFJDVZDWHU WHOHFRPPXQLFDWLRQVFRPSDQLHVRURWKHUV
    <HV
    1R                                                    ,QVWLWXWLRQQDPHRULQGLYLGXDO




 $QQXLWLHV $FRQWUDFWIRUDSHULRGLFSD\PHQWRIPRQH\WR\RXHLWKHUIRUOLIHRUIRUDQXPEHURI\HDUV
     1R
     <HV          ,VVXHUQDPHDQGGHVFULSWLRQ

 ,QWHUHVWVLQDQHGXFDWLRQ,5$LQDQDFFRXQWLQDTXDOLILHG$%/(SURJUDPRUXQGHUDTXDOLILHGVWDWHWXLWLRQSURJUDP
    86& E  $ E DQG E  
2IILFLDO)RUP$%                                     6FKHGXOH$%3URSHUW\                                                                      SDJH
6RIWZDUH&RS\ULJKW F %HVW&DVH//&ZZZEHVWFDVHFRP                                                                        %HVW&DVH%DQNUXSWF\

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 'HEWRU       -DPLH/\QQ*DOOLDQ                                                                       &DVHQXPEHU(if known)      EN(6

     1R
     <HV          ,QVWLWXWLRQQDPHDQGGHVFULSWLRQ6HSDUDWHO\ILOHWKHUHFRUGVRIDQ\LQWHUHVWV86& F 

 7UXVWVHTXLWDEOHRUIXWXUHLQWHUHVWVLQSURSHUW\ RWKHUWKDQDQ\WKLQJOLVWHGLQOLQH DQGULJKWVRUSRZHUVH[HUFLVDEOHIRU\RXUEHQHILW
     1R
     <HV*LYHVSHFLILFLQIRUPDWLRQDERXWWKHP
 3DWHQWVFRS\ULJKWVWUDGHPDUNVWUDGHVHFUHWVDQGRWKHULQWHOOHFWXDOSURSHUW\
    Examples:,QWHUQHWGRPDLQQDPHVZHEVLWHVSURFHHGVIURPUR\DOWLHVDQGOLFHQVLQJDJUHHPHQWV
     1R
     <HV*LYHVSHFLILFLQIRUPDWLRQDERXWWKHP
 /LFHQVHVIUDQFKLVHVDQGRWKHUJHQHUDOLQWDQJLEOHV
     Examples:%XLOGLQJSHUPLWVH[FOXVLYHOLFHQVHVFRRSHUDWLYHDVVRFLDWLRQKROGLQJVOLTXRUOLFHQVHVSURIHVVLRQDOOLFHQVHV
     1R
     <HV*LYHVSHFLILFLQIRUPDWLRQDERXWWKHP
 0RQH\RUSURSHUW\RZHGWR\RX"                                                                                                        &XUUHQWYDOXHRIWKH
                                                                                                                                       SRUWLRQ\RXRZQ"
                                                                                                                                       'RQRWGHGXFWVHFXUHG
                                                                                                                                       FODLPVRUH[HPSWLRQV

 7D[UHIXQGVRZHGWR\RX
     1R
    <HV*LYHVSHFLILFLQIRUPDWLRQDERXWWKHPLQFOXGLQJZKHWKHU\RXDOUHDG\ILOHGWKHUHWXUQVDQGWKHWD[\HDUV


 )DPLO\VXSSRUW
     Examples:3DVWGXHRUOXPSVXPDOLPRQ\VSRXVDOVXSSRUWFKLOGVXSSRUWPDLQWHQDQFHGLYRUFHVHWWOHPHQWSURSHUW\VHWWOHPHQW
     1R
    <HV*LYHVSHFLILFLQIRUPDWLRQ

 2WKHUDPRXQWVVRPHRQHRZHV\RX
    Examples: 8QSDLGZDJHVGLVDELOLW\LQVXUDQFHSD\PHQWVGLVDELOLW\EHQHILWVVLFNSD\YDFDWLRQSD\ZRUNHUV¶FRPSHQVDWLRQ6RFLDO6HFXULW\
              EHQHILWVXQSDLGORDQV\RXPDGHWRVRPHRQHHOVH
     1R
     <HV*LYHVSHFLILFLQIRUPDWLRQ
 ,QWHUHVWVLQLQVXUDQFHSROLFLHV
     Examples:+HDOWKGLVDELOLW\RUOLIHLQVXUDQFHKHDOWKVDYLQJVDFFRXQW +6$ FUHGLWKRPHRZQHU¶VRUUHQWHU¶VLQVXUDQFH
     1R
     <HV1DPHWKHLQVXUDQFHFRPSDQ\RIHDFKSROLF\DQGOLVWLWVYDOXH
                                         &RPSDQ\QDPH                                          %HQHILFLDU\                            6XUUHQGHURUUHIXQG
                                                                                                                                        YDOXH

 $Q\LQWHUHVWLQSURSHUW\WKDWLVGXH\RXIURPVRPHRQHZKRKDVGLHG
    ,I\RXDUHWKHEHQHILFLDU\RIDOLYLQJWUXVWH[SHFWSURFHHGVIURPDOLIHLQVXUDQFHSROLF\RUDUHFXUUHQWO\HQWLWOHGWRUHFHLYHSURSHUW\EHFDXVH
    VRPHRQHKDVGLHG
    1R
     <HV*LYHVSHFLILFLQIRUPDWLRQ               3UREDWHHVWDWHRI&KDUOHV-%UDGOH\-U&DVH1R
                                                      8QFHUWDLQZKDWLIDQ\SURFHHGVZLOOSDVVWRGHEWRU
                                       &UHGLWRU VFODLP(VWDWHRI&KDUOHV-DPHV%UDGOH\-UILOHGE\GHEWRUIRU
                                       PLOOLRQ-XQHGHQLHGE\$GPLQLVWUDWRU6DQGUD%UDGOH\DSSrR[
                                       0DUFK8QNQRZQZKHWKHUDQ\UHFRYHU\ZLOOEHDZDUGHG                                               8QNQRZQ




2IILFLDO)RUP$%                                                 6FKHGXOH$%3URSHUW\                                                               SDJH
6RIWZDUH&RS\ULJKW F %HVW&DVH//&ZZZEHVWFDVHFRP                                                                             %HVW&DVH%DQNUXSWF\

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 'HEWRU        -DPLH/\QQ*DOOLDQ                                                                                              &DVHQXPEHU(if known)        EN(6
 &ODLPVDJDLQVWWKLUGSDUWLHVZKHWKHURUQRW\RXKDYHILOHGDODZVXLWRUPDGHDGHPDQGIRUSD\PHQW
    Examples:$FFLGHQWVHPSOR\PHQWGLVSXWHVLQVXUDQFHFODLPVRUULJKWVWRVXH
    <HV'HVFULEHHDFKFODLP     :URQJIXOWHUPLQDWLRQDJDLQVW8QLWHG$LUOLQHV1RODZVXLWILOHG
                                    &ODLPILOHG&ROOHFWLYH%DUJDLQLQJZLWK$VVRFLDWLRQRI)OLJKW$WWHQGDQWVXQGHU
   1R                          5DLOZD\/DERU$FW$UELWUDWLRQZLWK&RPSD?Q\ $)$UHTXHVWHGDQGEHLQJSXUVXHG                                                       8QNQRZQ
                                                                                                                                                                      BBBBBBBBBBBBBBBBB
 2WKHUFRQWLQJHQWDQGXQOLTXLGDWHGFODLPVRIHYHU\QDWXUHLQFOXGLQJFRXQWHUFODLPVRIWKHGHEWRUDQGULJKWVWRVHWRIIFODLPV
    1R
    <HV'HVFULEHHDFKFODLP
                     &ODLPDJDLQVW6DQGUD%UDGOH\DQG+RXVHU%URV&RIRUIDLOXUHWRGLVFORVHUHDOHVWDWH
                         WUDQVDFWLRQ0D\WKDWXOWLPDWHO\OHDGWRUHFRUGDWLRQRI*UDQW'HHG'RF
                         $318QLWLQQDPHRI+RXVHU%URVLQVWHDGRILQWHQGHG
                         WUDQVIHUWR6DQGUD/%UDGOH\7UXVW1RODZVXLWILOHG\HW
                                                                                                                                                                             8QNQRZQ
                          3RVVLEOHFODLPDJDLQVW6DQGUD%UDGOH\IRUIDLOXUHWRGLVFORVHSUHYLRXVDOOHJHG
                      $5&YLRODWLRQVLQFRQQHFWLRQZLWKLPSURYHPHQWVWR8QLWLQDW
                          $OGHUSRUWWKDWRFFXUUHGSULRUWRGHEWRUEHFDPHOHJDORZQHURIWKH$OGHUSRUWSURSHUW\RQ                                                          8QNQRZQ
                          0DUFKWKHVXEMHFWRI)$&*DEOHV+2$FLYLOFRPSODLQW

            0XOWLSOHFODLPVDJDLQVW7UDFW0DVWHU/HVVRU+RXVHU%URV&RDQG3DUN0DQDJHU+RXVHU%URV
                &RGED5DQFKR'HO5H\0RELOHKRPH(VWDWHVIRU9LRODWLRQ V 'DYLV6WLUOLQJ$FW&LYLO&RGH
                YLRODWLRQVRI05/HWVHTPXOWLSOHDFWV UHWDOLDWLRQGLVFULPLQDWLRQWUHVSDVVLQJXQODZIXO
                HQWU\IRUFLEOHGHWDLQHUZURQJIXOHYLFWLRQIDLOXUHWRWLPHO\SXUVXHSURVHFXWHIULYRORXV8'FODLP
                ILOHG)DLOXUHWRFRXQWHUVLJQ&RQVXPHU/HDVH$JUHHPHQWZLWK$SSOLFDQW V 5HJLVWHUHG
                2ZQHUVRIERQDILGHSXUFKDVH6N\OLQH&XVWRP9LOOD/%0
                                           3RVVLEOHDZDUGRI$WWRUQH\)HHVXQGHU'DYLV6WLUOLQJ$FW&$&LYLO&RGHDQG 05/                                                8QNQRZQ

           3HUVRQDO,QMXU\FODLPSHQGLQJDJDLQVW+XQWLQJWRQ%HDFK*DEOHV+2$-HVXV-DVVR-U
               HWDO&DVH1R
                                                                                       (VWLPDWHGGDPDJHVDSSUR[LPDWHO\                                            8QNQRZQ

                         'XHWRSHQGLQJOLWLJDWLRQ3RWHQWLDOULJKWRIGHEWRUWRUHYHUVLRQDU\LQWHUHVWLQ8QLWXQH[SLUHG*URXQG
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                /HDVHKROGDQG6XEFRQGRPLQXP/HDVHKROGLQ&RQGRPLQLXP3URMHFW/RW 7UDFW$31
                +ROGLQJ$OWHUQDWH$318QLW$31
                     2ULJLQDO0DVWHU/HVVRU+RXVHU%URV&RDQG5REHUW3:DUPLQJWRQDQ,QG2ULJLQDO7HQDQW
                5REHUW3:DUPLQJWRQDQ,QG6XEOHVVRUDVVLJQHGWR5REHUW3:DUPLQJWRQ&RPSDQ\6XEOHDVHH)XUWKHU
                DVVLJQHG'HFODUDQW5REHUW3:DUPLQJWRQ&R6XEOHVVRUDVVLJQHGFHUWDLQULJKWVRI
                'HFODUDQWWRYDULRXVFRQVXPHUVXQWLOWHUPLQDWLRQ\HDU*URXQG/HDVHKROGDQG
                6XEFRQGRPLQLXP/HDVHKROG)XUWKHUULJKWVFODULILHGE\0DVWHU/HVVRUDQG6XEOHVVRULQ)LUVW$PHQGPHQW
                WR&& 5VILOHG2&&OHUN5HFRUGHU'RF1RGHWDLOLQJ&RQVXPHU V,QWHUHVWLQ0DVWHU*URXQG
                /HDVHKROGDQG6XEFRQGRPLQLXP/HDVHKROGUHODWLYHWR/RW 7UDFW&LW\RI+XQWLQJWRQ%HDFK&$
                 +XQWLQJWRQ%HDFK*DEOHV+2$KDVDILOHGFURVVFRPSODLQWSHQGLQJ2&6&LQZKLFK*DEOHV
                +2$VHHNDYRLGLQJRIWKHGHEWRUVVDOHRIXQHQFXPEHUHGULJKWVLQGHEWRUVSUHYLRXVUHVLGHQFH
                *URXQG/HDVHKROGDQG6XE&RQGRPLQLXP/HDVHKROGVROGRQWRDERQDILGHSXUFKDVHU
                IRUYDOXH5DQGDOO1LFNHOVLQFOXGLQJULJKWVRI$VVLJQPHQWRIXQH[SLUHGWHUPRI\U*URXQG
                                                                                                                                                                             8QNQRZQ
                /HDVHVKROGDQG6XEFRQGRPLQLXP/HDVHKROGIURP'HEWRUWRSXUFKDVHU5DQGDOO1LFNHOV 
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               3RWHQWLDO9LFWLPUHVWLWXWLRQ2UGHUIURP'HIHQGDQW-HVXV-DVVR-U2&6&&DVH1R:0                                                                  8QNQRZQ
                                                              $SSUR[HFRQRPLFGDPDJHV   BBBBBBBBBBBBBBBBBBB
                                                          
 BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
 $Q\ILQDQFLDODVVHWV\RXGLGQRWDOUHDG\OLVW
    1R                                  &$&29,'UHOLHIIURP6WDWHRI&DOLIRUQLDIRUUHQWUHOLHI GHEWRU
    <HV*LYHVSHFLILFLQIRUPDWLRQ   DSSOLHGDSSUR[-XQH&$&RYLG5HOLHI$ZDUG
                                                          2FWREHU                                              1RWSURSHUW\RIWKHHVWDWH                      



  $GGWKHGROODUYDOXHRIDOORI\RXUHQWULHVIURP3DUWLQFOXGLQJDQ\HQWULHVIRUSDJHV\RXKDYHDWWDFKHG
     IRU3DUW:ULWHWKDWQXPEHUKHUH             


 3DUW 'HVFULEH$Q\%XVLQHVV5HODWHG3URSHUW\<RX2ZQRU+DYHDQ,QWHUHVW,Q/LVWDQ\UHDOHVWDWHLQ3DUW

2IILFLDO)RUP$%                                                           6FKHGXOH$%3URSHUW\                                                                              SDJH
6RIWZDUH&RS\ULJKW F %HVW&DVH//&ZZZEHVWFDVHFRP                                                                                                      %HVW&DVH%DQNUXSWF\

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 'HEWRU         -DPLH/\QQ*DOOLDQ                                                                                                    &DVHQXPEHU(if known)   EN(6

 'R\RXRZQRUKDYHDQ\OHJDORUHTXLWDEOHLQWHUHVWLQDQ\EXVLQHVVUHODWHGSURSHUW\"
   1R*RWR3DUW
   <HV*RWROLQH


 3DUW    'HVFULEH$Q\)DUPDQG&RPPHUFLDO)LVKLQJ5HODWHG3URSHUW\<RX2ZQRU+DYHDQ,QWHUHVW,Q
            ,I\RXRZQRUKDYHDQLQWHUHVWLQIDUPODQGOLVWLWLQ3DUW


 'R\RXRZQRUKDYHDQ\OHJDORUHTXLWDEOHLQWHUHVWLQDQ\IDUPRUFRPPHUFLDOILVKLQJUHODWHGSURSHUW\"
      1R*RWR3DUW
      <HV*RWROLQH

 3DUW          'HVFULEH$OO3URSHUW\<RX2ZQRU+DYHDQ,QWHUHVWLQ7KDW<RX'LG1RW/LVW$ERYH

 'R\RXKDYHRWKHUSURSHUW\RIDQ\NLQG\RXGLGQRWDOUHDG\OLVW"
    Examples:6HDVRQWLFNHWVFRXQWU\FOXEPHPEHUVKLS
     1R
    <HV*LYHVSHFLILFLQIRUPDWLRQ

  $GGWKHGROODUYDOXHRIDOORI\RXUHQWULHVIURP3DUW:ULWHWKDWQXPEHUKHUH                                                      

 3DUW         /LVWWKH7RWDOVRI(DFK3DUWRIWKLV)RUP

  3DUW7RWDOUHDOHVWDWHOLQH             
  3DUW7RWDOYHKLFOHVOLQH                                                                                 
  3DUW7RWDOSHUVRQDODQGKRXVHKROGLWHPVOLQH                                                        
  3DUW7RWDOILQDQFLDODVVHWVOLQH                                                                   
  3DUW7RWDOEXVLQHVVUHODWHGSURSHUW\OLQH                                                               
  3DUW7RWDOIDUPDQGILVKLQJUHODWHGSURSHUW\OLQH                                                      
  3DUW7RWDORWKHUSURSHUW\QRWOLVWHGOLQH                                                              

  7RWDOSHUVRQDOSURSHUW\$GGOLQHVWKURXJK                                                                     &RS\SHUVRQDOSURSHUW\WRWDO      

  7RWDORIDOOSURSHUW\RQ6FKHGXOH$%$GGOLQHOLQH                                                                                                        




2IILFLDO)RUP$%                                                               6FKHGXOH$%3URSHUW\                                                                            SDJH
6RIWZDUH&RS\ULJKW F %HVW&DVH//&ZZZEHVWFDVHFRP                                                                                                        %HVW&DVH%DQNUXSWF\

                                                                                                                                                       EXHIBIT 6, PAGE 79
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                                                      EXHIBIT 7
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 )LOOLQWKLVLQIRUPDWLRQWRLGHQWLI\\RXUFDVHDQGWKLVILOLQJ

 'HEWRU                   -DPLH/\QQ*DOOLDQ
                            )LUVW1DPH                                 0LGGOH1DPH                    /DVW1DPH

 'HEWRU
 6SRXVHLIILOLQJ          )LUVW1DPH                                 0LGGOH1DPH                    /DVW1DPH


 8QLWHG6WDWHV%DQNUXSWF\&RXUWIRUWKH                     &(175$/',675,&72)&$/,)251,$6$17$$1$',9,6,21

 &DVHQXPEHU           EN(6                                                                                                                        &KHFNLIWKLVLVDQ
                                                                                                                                                                DPHQGHGILOLQJ



2IILFLDO)RUP$%
6FKHGXOH$%3URSHUW\                                                                                                                                         
,QHDFKFDWHJRU\VHSDUDWHO\OLVWDQGGHVFULEHLWHPV/LVWDQDVVHWRQO\RQFH,IDQDVVHWILWVLQPRUHWKDQRQHFDWHJRU\OLVWWKHDVVHWLQWKHFDWHJRU\ZKHUH\RX
WKLQNLWILWVEHVW%HDVFRPSOHWHDQGDFFXUDWHDVSRVVLEOH,IWZRPDUULHGSHRSOHDUHILOLQJWRJHWKHUERWKDUHHTXDOO\UHVSRQVLEOHIRUVXSSO\LQJFRUUHFW
LQIRUPDWLRQ,IPRUHVSDFHLVQHHGHGDWWDFKDVHSDUDWHVKHHWWRWKLVIRUP2QWKHWRSRIDQ\DGGLWLRQDOSDJHVZULWH\RXUQDPHDQGFDVHQXPEHU LINQRZQ 
$QVZHUHYHU\TXHVWLRQ

 3DUW 'HVFULEH(DFK5HVLGHQFH%XLOGLQJ/DQGRU2WKHU5HDO(VWDWH<RX2ZQRU+DYHDQ,QWHUHVW,Q

 'R\RXRZQRUKDYHDQ\OHJDORUHTXLWDEOHLQWHUHVWLQDQ\UHVLGHQFHEXLOGLQJODQGRUVLPLODUSURSHUW\"

   1R*RWR3DUW
   <HV:KHUHLVWKHSURSHUW\"
        /RFDWHGRQ$31                                              :KDWLVWKHSURSHUW\"&KHFNDOOWKDWDSSO\
        7UDFW8QLW/RW                                            ??
                                                                                  6LQJOHIDPLO\KRPH
       0RQWHUH\/Q6SF                                                    'XSOH[RUPXOWLXQLWEXLOGLQJ              'RQRWGHGXFWVHFXUHGFODLPVRUH[HPSWLRQV3XW
       6WUHHWDGGUHVVLIDYDLODEOHRURWKHUGHVFULSWLRQ                             &RQGRPLQLXPRUFRRSHUDWLYH                 WKHDPRXQWRIDQ\VHFXUHGFODLPVRQSchedule D:
                                                                                                                                Creditors Who Have Claims Secured by Property

                                                                                     0DQXIDFWXUHGRUPRELOHKRPH

                                                                                     /DQG
                                                                                                                                 &XUUHQWYDOXHRIWKH       &XUUHQWYDOXHRIWKH
       +XQWLQJWRQ%HDFK &$                                                  ,QYHVWPHQWSURSHUW\                       HQWLUHSURSHUW\"           SRUWLRQ\RXRZQ"
       &LW\                              6WDWH              =,3&RGH                  7LPHVKDUH                                                         
                                                                                      2WKHU                                     'HVFULEHWKHQDWXUHRI\RXURZQHUVKLSLQWHUHVW
                                                                                                                                  VXFKDVIHHVLPSOHWHQDQF\E\WKHHQWLUHWLHVRU
                                                                                                                                 DOLIHHVWDWH LINQRZQ 80 yr Ground
                                                                               :KRKDVDQLQWHUHVWLQWKHSURSHUW\"&KHFNRQH    Leasehold, APN 178-011-01, Tract 10542,
                                                                                     'HEWRURQO\                              Unit 4, Lot 376. OC Clk Rec. RS Bk 58 pg
       2UDQJH                                                                        'HEWRURQO\                              35-36; Parcel Map, Bk 108 Pg 47, 48; MM
                                                                                                                                 Bk 456, Pg 49-50;
       &RXQW\                                                                        'HEWRUDQG'HEWRURQO\
                                                                                                                                      &KHFNLIWKLVLVFRPPXQLW\SURSHUW\
                                                                                     $WOHDVWRQHRIWKHGHEWRUVDQGDQRWKHU        VHHLQVWUXFWLRQV


                                                                           2WKHULQIRUPDWLRQ\RXZLVKWRDGGDERXWWKLVLWHPVXFKDVORFDO SURSHUW\LGHQWLILFDWLRQQXPEHU
                                                                           $316N\OLQH&XVWRP9LOOD0DQXIDFWXUHG+RPH
                                                                           HCD 'HFDO No. LBM 1081. 6HULDO1XPEHU$&9*%/GA [ .
                                                                           Registered to Debtor. HCD COTA perfected 1/14/2019


  $GGWKHGROODUYDOXHRIWKHSRUWLRQ\RXRZQIRUDOORI\RXUHQWULHVIURP3DUWLQFOXGLQJDQ\HQWULHVIRU
    SDJHV\RXKDYHDWWDFKHGIRU3DUW:ULWHWKDWQXPEHUKHUH !                      


 3DUW 'HVFULEH<RXU9HKLFOHV

'R\RXRZQOHDVHRUKDYHOHJDORUHTXLWDEOHLQWHUHVWLQDQ\YHKLFOHVZKHWKHUWKH\DUHUHJLVWHUHGRUQRW",QFOXGHDQ\YHKLFOHV\RXRZQWKDW
VRPHRQHHOVHGULYHV,I\RXOHDVHDYHKLFOHDOVRUHSRUWLWRQSchedule G: Executory Contracts and Unexpired Leases.




2IILFLDO)RUP$%                                                                 6FKHGXOH$%3URSHUW\                                                                   SDJH
6RIWZDUH&RS\ULJKW F %HVW&DVH//&ZZZEHVWFDVHFRP                                                                                                 %HVW&DVH%DQNUXSWF\

                                                                                                                                   EXHIBIT 7, PAGE 80
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 'HEWRU       -DPLH/\QQ*DOOLDQ                                                                                  &DVHQXPEHU(if known)      EN(6
 &DUVYDQVWUXFNVWUDFWRUVVSRUWXWLOLW\YHKLFOHVPRWRUF\FOH

    <HV /HDVH.LD6SRUWDJH([SLUHV
    1R

 :DWHUFUDIWDLUFUDIWPRWRUKRPHV$79VDQGRWKHUUHFUHDWLRQDOYHKLFOHVRWKHUYHKLFOHVDQGDFFHVVRULHV
   Examples:%RDWVWUDLOHUVPRWRUVSHUVRQDOZDWHUFUDIWILVKLQJYHVVHOVVQRZPRELOHVPRWRUF\FOHDFFHVVRULHV

    1R
    <HV


  $GGWKHGROODUYDOXHRIWKHSRUWLRQ\RXRZQIRUDOORI\RXUHQWULHVIURP3DUWLQFOXGLQJDQ\HQWULHVIRU
   SDJHV\RXKDYHDWWDFKHGIRU3DUW:ULWHWKDWQXPEHUKHUH !                   


 3DUW 'HVFULEH<RXU3HUVRQDODQG+RXVHKROG,WHPV
 'R\RXRZQRUKDYHDQ\OHJDORUHTXLWDEOHLQWHUHVWLQDQ\RIWKHIROORZLQJLWHPV"                                                                &XUUHQWYDOXHRIWKH
                                                                                                                                                  SRUWLRQ\RXRZQ"
                                                                                                                                                  'RQRWGHGXFWVHFXUHG
                                                                                                                                                  FODLPVRUH[HPSWLRQV
 +RXVHKROGJRRGVDQGIXUQLVKLQJV
   Examples:0DMRUDSSOLDQFHVIXUQLWXUHOLQHQVFKLQDNLWFKHQZDUH
    1R
    <HV'HVFULEH
                                    0LVFKRXVHKROGJRRGVDQGIXUQLVKLQJV
                                    /RFDWLRQ0RQWHUH\/DQH6SDFH+XQWLQJWRQ%HDFK&$
                                                                                                                                                          


                                    ZDWHUIRUGFU\VWDOVHWUHGDQGZKLWHZLQHJODVVHV                                                                           


 (OHFWURQLFV
   Examples: 7HOHYLVLRQVDQGUDGLRVDXGLRYLGHRVWHUHRDQGGLJLWDOHTXLSPHQWFRPSXWHUVSULQWHUVVFDQQHUVPXVLFFROOHFWLRQVHOHFWURQLFGHYLFHV
              LQFOXGLQJFHOOSKRQHVFDPHUDVPHGLDSOD\HUVJDPHV
    1R
    <HV'HVFULEH
                                    :DOOWHOHYLVLRQFRPSXWHUSULQWHUDQGSHULSKHUDOV
                                    /RFDWLRQ0RQWHUH\/DQH6SDFH+XQWLQJWRQ%HDFK&$
                                                                                                                                                            


 &ROOHFWLEOHVRIYDOXH
   Examples:$QWLTXHVDQGILJXULQHVSDLQWLQJVSULQWVRURWKHUDUWZRUNERRNVSLFWXUHVRURWKHUDUWREMHFWVVWDPSFRLQRUEDVHEDOOFDUGFROOHFWLRQV
               RWKHUFROOHFWLRQVPHPRUDELOLDFROOHFWLEOHV
    1R
    <HV'HVFULEH           /RFDWLRQ0RQWHUH\/DQH6SDFH
                                    +XQWLQJWRQ%HDFK&$
                                    /ODGURILJXULQHFROOHFWLRQ                                                                                              


 (TXLSPHQWIRUVSRUWVDQGKREELHV
   Examples: 6SRUWVSKRWRJUDSKLFH[HUFLVHDQGRWKHUKREE\HTXLSPHQWELF\FOHVSRROWDEOHVJROIFOXEVVNLVFDQRHVDQGND\DNVFDUSHQWU\WRROV
             PXVLFDOLQVWUXPHQWV
     1R
    <HV'HVFULEH
 )LUHDUPV
     Examples: 3LVWROVULIOHVVKRWJXQVDPPXQLWLRQDQGUHODWHGHTXLSPHQW
     1R
    <HV'HVFULEH
2IILFLDO)RUP$%                                                   6FKHGXOH$%3URSHUW\                                                                        SDJH
6RIWZDUH&RS\ULJKW F %HVW&DVH//&ZZZEHVWFDVHFRP                                                                                        %HVW&DVH%DQNUXSWF\

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 'HEWRU          -DPLH/\QQ*DOOLDQ                                                                                       &DVHQXPEHU(if known)   EN(6

 &ORWKHV
    Examples: (YHU\GD\FORWKHVIXUVOHDWKHUFRDWVGHVLJQHUZHDUVKRHVDFFHVVRULHV
    1R
    <HV'HVFULEH
                                            0LVFFORWKLQJ
                                            /RFDWLRQ0RQWHUH\/DQH6SDFH+XQWLQJWRQ%HDFK&$
                                                                                                                                                               


 -HZHOU\
     Examples:(YHU\GD\MHZHOU\FRVWXPHMHZHOU\HQJDJHPHQWULQJVZHGGLQJULQJVKHLUORRPMHZHOU\ZDWFKHVJHPVJROGVLOYHU
    1R
    <HV'HVFULEH
                                            0RYDGRZULVWZDWFK \UVROG FRVWXPHMHZHOU\PLVFQRQJROG
                                            FKDLQVEUDFHOHWVDQGHDUULQJV
                                            /RFDWLRQ0RQWHUH\/DQH6SDFH+XQWLQJWRQ%HDFK&$
                                                                                                                                                               


 1RQIDUPDQLPDOV
    Examples:'RJVFDWVELUGVKRUVHV
    1R
    <HV'HVFULEH
                                            \HDUROG:LUHG7HUULHU'RJ                                                                                                


 $Q\RWKHUSHUVRQDODQGKRXVHKROGLWHPV\RXGLGQRWDOUHDG\OLVWLQFOXGLQJDQ\KHDOWKDLGV\RXGLGQRWOLVW
     1R
    <HV*LYHVSHFLILFLQIRUPDWLRQ

  $GGWKHGROODUYDOXHRIDOORI\RXUHQWULHVIURP3DUWLQFOXGLQJDQ\HQWULHVIRUSDJHV\RXKDYHDWWDFKHG
     IRU3DUW:ULWHWKDWQXPEHUKHUH                                          


 3DUW 'HVFULEH<RXU)LQDQFLDO$VVHWV
 'R\RXRZQRUKDYHDQ\OHJDORUHTXLWDEOHLQWHUHVWLQDQ\RIWKHIROORZLQJ"                                                                           &XUUHQWYDOXHRIWKH
                                                                                                                                                       SRUWLRQ\RXRZQ"
                                                                                                                                                       'RQRWGHGXFWVHFXUHG
                                                                                                                                                       FODLPVRUH[HPSWLRQV

 &DVK
    Examples:0RQH\\RXKDYHLQ\RXUZDOOHWLQ\RXUKRPHLQDVDIHGHSRVLWER[DQGRQKDQGZKHQ\RXILOH\RXUSHWLWLRQ
     1R
     <HV
 'HSRVLWVRIPRQH\
    Examples:&KHFNLQJVDYLQJVRURWKHUILQDQFLDODFFRXQWVFHUWLILFDWHVRIGHSRVLWVKDUHVLQFUHGLWXQLRQVEURNHUDJHKRXVHVDQGRWKHUVLPLODU
                  LQVWLWXWLRQV,I\RXKDYHPXOWLSOHDFFRXQWVZLWKWKHVDPHLQVWLWXWLRQOLVWHDFK
    1R
    <HV                                     ,QVWLWXWLRQQDPH


                                                     ('''HELWDFFRXQW %DQNRI$PHULFD                                                                         


                                                                                                 $OOLDQW&UHGLW8QLRQ2QO\IXQGVDUH&RYLG
                                                     6DYLQJV                                UHOLHIIXQGVIURPWKHJRYHUQPHQW                                  




2IILFLDO)RUP$%                                                                     6FKHGXOH$%3URSHUW\                                                           SDJH
6RIWZDUH&RS\ULJKW F %HVW&DVH//&ZZZEHVWFDVHFRP                                                                                             %HVW&DVH%DQNUXSWF\

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    'HEWRU      -DPLH/\QQ*DOOLDQ                                                                   &DVHQXPEHU(if known)   EN(6

                                                                            $OOLDQW&UHGLW8QLRQ2QO\IXQGVDUH&RYLG
                                          6DYLQJV                      UHOLHIIXQGVIURPWKHJRYHUQPHQW                                  


 %RQGVPXWXDOIXQGVRUSXEOLFO\WUDGHGVWRFNV
    Examples:%RQGIXQGVLQYHVWPHQWDFFRXQWVZLWKEURNHUDJHILUPVPRQH\PDUNHWDFFRXQWV
       1R
       <HV                 ,QVWLWXWLRQRULVVXHUQDPH

 1RQSXEOLFO\WUDGHGVWRFNDQGLQWHUHVWVLQLQFRUSRUDWHGDQGXQLQFRUSRUDWHGEXVLQHVVHVLQFOXGLQJDQLQWHUHVWLQDQ//&SDUWQHUVKLSDQG
    MRLQWYHQWXUH
    1R
      <HV*LYHVSHFLILFLQIRUPDWLRQDERXWWKHP
                  1DPHRIHQWLW\                                                                       RIRZQHUVKLS
-6DQGFDVWOH&R//&VLQJOHPHPEHUHQWLW\KDdDEDQNDFFRXQWRI 90DVVHWV to B/A
Cashiers Chk. Uncashed space 376 rent funds.Current less than $500.00
2ULJLQDOSXUSRVHRI//&ZDVWRKROG+&'5HJLVWUDWLRQWR'HEWRU VUHVLGHQFH
+&'5HJLVWUDWLRQZDVWUDQVIHUUHGWRGHEWRURQDIWHUYROXQWDU\
PHGLDWLRQZLWK5'50+(3DUNre:2019 8'&DVH3DUNUHIXVHGWRFRXQWHUVLJQ
OHDVHDJUHHPHQWZLWK+&'5HJLVWHUHG$SSOLFDQW-6DQGFDVWOH&R//&$FFRUG-
iQJWR+RXVHU%URV3DUN2ZQHU0DQDJHU3DUN5XOHVDOOHJHGO\IRUELGKRPH
tREHKHOGLQbusiness QDPH; insistent only in DQLQGLYLGXDO name. +RZHYHU3DUNDOORZs
KRPHVheld LQ7UXVW'HEWRUXQDEOHWRYHULI\VWDWHGUHDVRQLQ5'50+(3DUN5XOHV                                                 500.00

-3$'//&0DQDJHU0DQDJHG//&$VVHWVLQFOXGHEDQN DFFRXQWRIless than1
%$&DVKLHU;s&KHFNapprox, , IURP &KDVH Bank- -6DQGFDVWOH Co LLC;
5HQW&KHFNVWHQGHUHG IRUVSDFH as agreed. Space rent tendered each month since filing
BK petition 7-9-21 byGHEWRU $OOLDQW&8$FFW.)WKURXJK'HFHPEHU31, , Concurrently
with CA Covid-19 Relief AWARD 10/27/2021; Houser Bros Co. caused further harm to
debtor, Houser Bros sent uncashed checks to various un-authorized entities including the
IRS, in violation of debtors STAY.
Debtors J-Pad, LLC, +ROGHURI&27$SHUIHFWHG                               100                                               $14,710.00


 *RYHUQPHQWDQGFRUSRUDWHERQGVDQGRWKHUQHJRWLDEOHDQGQRQQHJRWLDEOHLQVWUXPHQWV
    Negotiable instrumentsLQFOXGHSHUVRQDOFKHFNVFDVKLHUV¶FKHFNVSURPLVVRU\QRWHVDQGPRQH\RUGHUV
    Non-negotiable instrumentsDUHWKRVH\RXFDQQRWWUDQVIHUWRVRPHRQHE\VLJQLQJRUGHOLYHULQJWKHP
       1R
       <HV*LYHVSHFLILFLQIRUPDWLRQDERXWWKHP
                                         ,VVXHUQDPH

 5HWLUHPHQWRUSHQVLRQDFFRXQWV
    Examples:,QWHUHVWVLQ,5$(5,6$.HRJK N  E WKULIWVDYLQJVDFFRXQWVRURWKHUSHQVLRQRUSURILWVKDULQJSODQV
    1R
       <HV/LVWHDFKDFFRXQWVHSDUDWHO\
                                      7\SHRIDFFRXQW                      ,QVWLWXWLRQQDPH

                                      ,5$                                   )LGHOLW\                                                      


 6HFXULW\GHSRVLWVDQGSUHSD\PHQWV
    <RXUVKDUHRIDOOXQXVHGGHSRVLWV\RXKDYHPDGHVRWKDW\RXPD\FRQWLQXHVHUYLFHRUXVHIURPDFRPSDQ\
    Examples: $JUHHPHQWVZLWKODQGORUGVSUHSDLGUHQWSXEOLFXWLOLWLHV HOHFWULFJDVZDWHU WHOHFRPPXQLFDWLRQVFRPSDQLHVRURWKHUV
    <HV
    1R                                                    ,QVWLWXWLRQQDPHRULQGLYLGXDO




 $QQXLWLHV $FRQWUDFWIRUDSHULRGLFSD\PHQWRIPRQH\WR\RXHLWKHUIRUOLIHRUIRUDQXPEHURI\HDUV
       1R
       <HV        ,VVXHUQDPHDQGGHVFULSWLRQ

 ,QWHUHVWVLQDQHGXFDWLRQ,5$LQDQDFFRXQWLQDTXDOLILHG$%/(SURJUDPRUXQGHUDTXDOLILHGVWDWHWXLWLRQSURJUDP
    86& E  $ E DQG E  
2IILFLDO)RUP$%                                     6FKHGXOH$%3URSHUW\                                                                      SDJH
6RIWZDUH&RS\ULJKW F %HVW&DVH//&ZZZEHVWFDVHFRP                                                                        %HVW&DVH%DQNUXSWF\

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 'HEWRU       -DPLH/\QQ*DOOLDQ                                                                       &DVHQXPEHU(if known)      EN(6

     1R
     <HV          ,QVWLWXWLRQQDPHDQGGHVFULSWLRQ6HSDUDWHO\ILOHWKHUHFRUGVRIDQ\LQWHUHVWV86& F 

 7UXVWVHTXLWDEOHRUIXWXUHLQWHUHVWVLQSURSHUW\ RWKHUWKDQDQ\WKLQJOLVWHGLQOLQH DQGULJKWVRUSRZHUVH[HUFLVDEOHIRU\RXUEHQHILW
     1R
     <HV*LYHVSHFLILFLQIRUPDWLRQDERXWWKHP
 3DWHQWVFRS\ULJKWVWUDGHPDUNVWUDGHVHFUHWVDQGRWKHULQWHOOHFWXDOSURSHUW\
    Examples:,QWHUQHWGRPDLQQDPHVZHEVLWHVSURFHHGVIURPUR\DOWLHVDQGOLFHQVLQJDJUHHPHQWV
     1R
     <HV*LYHVSHFLILFLQIRUPDWLRQDERXWWKHP
 /LFHQVHVIUDQFKLVHVDQGRWKHUJHQHUDOLQWDQJLEOHV
     Examples:%XLOGLQJSHUPLWVH[FOXVLYHOLFHQVHVFRRSHUDWLYHDVVRFLDWLRQKROGLQJVOLTXRUOLFHQVHVSURIHVVLRQDOOLFHQVHV
     1R
     <HV*LYHVSHFLILFLQIRUPDWLRQDERXWWKHP
 0RQH\RUSURSHUW\RZHGWR\RX"                                                                                                        &XUUHQWYDOXHRIWKH
                                                                                                                                       SRUWLRQ\RXRZQ"
                                                                                                                                       'RQRWGHGXFWVHFXUHG
                                                                                                                                       FODLPVRUH[HPSWLRQV

 7D[UHIXQGVRZHGWR\RX
     1R
    <HV*LYHVSHFLILFLQIRUPDWLRQDERXWWKHPLQFOXGLQJZKHWKHU\RXDOUHDG\ILOHGWKHUHWXUQVDQGWKHWD[\HDUV


 )DPLO\VXSSRUW
     Examples:3DVWGXHRUOXPSVXPDOLPRQ\VSRXVDOVXSSRUWFKLOGVXSSRUWPDLQWHQDQFHGLYRUFHVHWWOHPHQWSURSHUW\VHWWOHPHQW
     1R
    <HV*LYHVSHFLILFLQIRUPDWLRQ

 2WKHUDPRXQWVVRPHRQHRZHV\RX
    Examples: 8QSDLGZDJHVGLVDELOLW\LQVXUDQFHSD\PHQWVGLVDELOLW\EHQHILWVVLFNSD\YDFDWLRQSD\ZRUNHUV¶FRPSHQVDWLRQ6RFLDO6HFXULW\
              EHQHILWVXQSDLGORDQV\RXPDGHWRVRPHRQHHOVH
     1R
     <HV*LYHVSHFLILFLQIRUPDWLRQ
 ,QWHUHVWVLQLQVXUDQFHSROLFLHV
     Examples:+HDOWKGLVDELOLW\RUOLIHLQVXUDQFHKHDOWKVDYLQJVDFFRXQW +6$ FUHGLWKRPHRZQHU¶VRUUHQWHU¶VLQVXUDQFH
     1R
     <HV1DPHWKHLQVXUDQFHFRPSDQ\RIHDFKSROLF\DQGOLVWLWVYDOXH
                                         &RPSDQ\QDPH                                          %HQHILFLDU\                            6XUUHQGHURUUHIXQG
                                                                                                                                        YDOXH

 $Q\LQWHUHVWLQSURSHUW\WKDWLVGXH\RXIURPVRPHRQHZKRKDVGLHG
    ,I\RXDUHWKHEHQHILFLDU\RIDOLYLQJWUXVWH[SHFWSURFHHGVIURPDOLIHLQVXUDQFHSROLF\RUDUHFXUUHQWO\HQWLWOHGWRUHFHLYHSURSHUW\EHFDXVH
    VRPHRQHKDVGLHG
    1R
     <HV*LYHVSHFLILFLQIRUPDWLRQ               3UREDWHHVWDWHRI&KDUOHV-%UDGOH\-U&DVH1R
                                                      8QFHUWDLQZKDWLIDQ\SURFHHGVZLOOSDVVWRGHEWRU
                                       &UHGLWRU VFODLP(VWDWHRI&KDUOHV-DPHV%UDGOH\-UILOHGE\GHEWRUIRU
                                       PLOOLRQ-XQHGHQLHGE\$GPLQLVWUDWRU6DQGUD%UDGOH\DSSrR[
                                       0DUFK8QNQRZQZKHWKHUDQ\UHFRYHU\ZLOOEHDZDUGHG                                               8QNQRZQ




2IILFLDO)RUP$%                                                 6FKHGXOH$%3URSHUW\                                                               SDJH
6RIWZDUH&RS\ULJKW F %HVW&DVH//&ZZZEHVWFDVHFRP                                                                             %HVW&DVH%DQNUXSWF\

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 'HEWRU       -DPLH/\QQ*DOOLDQ                                                                              &DVHQXPEHU(if known)       EN(6
 &ODLPVDJDLQVWWKLUGSDUWLHVZKHWKHURUQRW\RXKDYHILOHGDODZVXLWRUPDGHDGHPDQGIRUSD\PHQW
    Examples:$FFLGHQWVHPSOR\PHQWGLVSXWHVLQVXUDQFHFODLPVRUULJKWVWRVXH
    <HV'HVFULEHHDFKFODLP     :URQJIXOWHUPLQDWLRQDJDLQVW8QLWHG$LUOLQHV1RODZVXLWILOHG
                                    &ODLPILOHG&ROOHFWLYH%DUJDLQLQJZLWK$VVRFLDWLRQRI)OLJKW$WWHQGDQWVXQGHU
   1R                          5DLOZD\/DERU$FW$UELWUDWLRQZLWK&RPSD?Q\ $)$UHTXHVWHGDQGEHLQJSXUVXHG                                         8QNQRZQ
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 2WKHUFRQWLQJHQWDQGXQOLTXLGDWHGFODLPVRIHYHU\QDWXUHLQFOXGLQJFRXQWHUFODLPVRIWKHGHEWRUDQGULJKWVWRVHWRIIFODLPV
    1R
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                   &ODLPDJDLQVW6DQGUD%UDGOH\DQG+RXVHU%URV&RIRUIDLOXUHWRGLVFORVHUHDOHVWDWH
                       WUDQVDFWLRQ0D\WKDWXOWLPDWHO\OHDGWRUHFRUGDWLRQRI*UDQW'HHG'RF
                       $318QLWLQQDPHRI+RXVHU%URVLQVWHDGRILQWHQGHG
                       WUDQVIHUWR6DQGUD/%UDGOH\7UXVW1RODZVXLWILOHG\HW
                                                                                                                                                                  8QNQRZQ
                        3RVVLEOHFODLPDJDLQVW6DQGUD%UDGOH\IRUIDLOXUHWRGLVFORVHSUHYLRXVDOOHJHG
                    $5&YLRODWLRQVLQFRQQHFWLRQZLWKLPSURYHPHQWVWR8QLWLQDW
                        $OGHUSRUWWKDWRFFXUUHGSULRUWRGHEWRUEHFDPHOHJDORZQHURIWKH$OGHUSRUWSURSHUW\RQ                                                 8QNQRZQ
                        0DUFKWKHVXEMHFWRI)$&*DEOHV+2$FLYLOFRPSODLQW

          0XOWLSOHFODLPVDJDLQVW7UDFW0DVWHU/HVVRU+RXVHU%URV&RDQG3DUN0DQDJHU+RXVHU%URV
              &RGED5DQFKR'HO5H\0RELOHKRPH(VWDWHVIRU9LRODWLRQ V 'DYLV6WLUOLQJ$FW&LYLO&RGH
              YLRODWLRQVRI05/HWVHTPXOWLSOHDFWV UHWDOLDWLRQGLVFULPLQDWLRQWUHVSDVVLQJXQODZIXO
              HQWU\IRUFLEOHGHWDLQHUZURQJIXOHYLFWLRQIDLOXUHWRWLPHO\SXUVXHSURVHFXWHIULYRORXV8'FODLP
              ILOHG)DLOXUHWRFRXQWHUVLJQ&RQVXPHU/HDVH$JUHHPHQWZLWK$SSOLFDQW V 5HJLVWHUHG
              2ZQHUVRIERQDILGHSXUFKDVH6N\OLQH&XVWRP9LOOD/%0
                                       3RVVLEOHDZDUGRI$WWRUQH\)HHVXQGHU'DYLV6WLUOLQJ$FW&$&LYLO&RGHDQG 05/                                         8QNQRZQ

          3HUVRQDO,QMXU\FODLPSHQGLQJDJDLQVW+XQWLQJWRQ%HDFK*DEOHV+2$-HVXV-DVVR-U
              HWDO&DVH1R
                                                                           (VWLPDWHGGDPDJHVDSSUR[LPDWHO\                                             8QNQRZQ

                                      'XHWRSHQGLQJOLWLJDWLRQpRWHQWLDOULJKWRIGHEWRUWRUHYHUVLRQDU\LQWHUHVWXQH[SLUHG*URXQG
  
              /HDVHKROGLQ&RQGRPLQLXP3URMHFW/RW 7UDFW$31+ROGLQJ$OWHUQDWH
              $31
                    2ULJLQDO0DVWHU/HVVRU+RXVHU%URV&RDQG5REHUW3:DUPLQJWRQDQ,QG2ULJLQDO7HQDQW
              5REHUW3:DUPLQJWRQDQ,QG6XEOHVVRUDVVLJQHGWR5REHUW3:DUPLQJWRQ&RPSDQ\6XEOHDVHH
              )XUWKHUDVVLJQHG'HFODUDQW5REHUW3:DUPLQJWRQ&R6XEOHVVRUDVVLJQHGFHUWDLQULJKWVRI the
              'HFODUDQWWRYDULRXVFRQVXPHUVXQWLO an\HDU*URXQG/HDVHKROGDQG 6XEFRQGRPLQLXP/HDVHKROG
              Tract 10542, Lot 1 and 2)XUWKHUULJKWVFODULILHGE\0DVWHU/HVVRUDQG6XEOHVVRULQthat certain
              )LUVW$PHQGPHQWWR&& 5VILOHG2&&OHUN5HFRUGHU'RF1RGHWDLOLQJ&RQVXPHU V,QWHUHVW
              iQ0DVWHU*URXQG-/HDVHKROGDQG6XEFRQGRPLQLXP/HDVHKROGUHODWLYHWR/RW 7UDFW Hunt. Beach.
               +XQWLQJWRQ%HDFK*DEOHV+2$KDVILOHGa FURVVFRPSODLQWSHQGLQJ2&6&LQZKLFK*DEOHV
              +2$VHHNDYRLGLQJRIWKHGHEWRUVVDOHRIXQHQFXPEHUHGfee interest in debtor's SUHYLRXVUHVLGHQFH
              *URXQG/HDVHKROGDQG6XE&RQGRPLQLXP/HDVHKROGVROGRQWRDERQDILGHSXUFKDVHUIRU
              YDOXH5DQGDOO1LFNHOVLQFOXGLQJULJKWVRI$VVLJQPHQWRIXQH[SLUHGWHUPRI\U*URXQG/HDVHVKROG
                                                                                                                                                                  8QNQRZQ
              DQG6XEFRQGRPLQLXP/HDVHKROGIURP'HEWRUtRSXUFKDVHU5DQGDOO1LFNHOV 
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              3RWHQWLDO9LFWLPRHVWLWXWLRQ2UGHUIURP'HIHQGDQW-HVXV-DVVR-UPC§242 2&6&&DVH1R:0                                                   8QNQRZQ
                                                              $SSUR[HFRQRPLFGDPDJHV   BBBBBBBBBBBBBBBBBBB
                                                          
 BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
 $Q\ILQDQFLDODVVHWV\RXGLGQRWDOUHDG\OLVW
    1R                                &$&29,'Award - 6WDWHRI&DOLIRUQLD. Landlord refused to participate or apply on
    <HV*LYHVSHFLILFLQIRUPDWLRQ behalf of this tenant after receiving Tenants Declaration re: Covid related afflictions
                                       from Tenant. Tenant applied 6/9/21 and was Awarded Relief on 10/27/2021.                                                  
                                        Landlord waited three weeks to notify Counsel in UD case of funds received. Landlord
                                        refused to dismiss UD case. Application to avoid Lease Forfeiture Filed @ CJC.
  $GGWKHGROODUYDOXHRIDOORI\RXUHQWULHVIURP3DUWLQFOXGLQJDQ\HQWULHVIRUSDJHV\RXKDYHDWWDFKHG
     IRU3DUW:ULWHWKDWQXPEHUKHUH    54,71

 3DUW 'HVFULEH$Q\%XVLQHVV5HODWHG3URSHUW\<RX2ZQRU+DYHDQ,QWHUHVW,Q/LVWDQ\UHDOHVWDWHLQ3DUW

2IILFLDO)RUP$%                                                 6FKHGXOH$%3URSHUW\                                                                            SDJH
6RIWZDUH&RS\ULJKW F %HVW&DVH//&ZZZEHVWFDVHFRP                                                                                          %HVW&DVH%DQNUXSWF\

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                                   Main Document    Page 9 of 23
 'HEWRU         -DPLH/\QQ*DOOLDQ                                                                                                     &DVHQXPEHU(if known)   EN(6

 'R\RXRZQRUKDYHDQ\OHJDORUHTXLWDEOHLQWHUHVWLQDQ\EXVLQHVVUHODWHGSURSHUW\"
   1R*RWR3DUW
   <HV*RWROLQH


 3DUW    'HVFULEH$Q\)DUPDQG&RPPHUFLDO)LVKLQJ5HODWHG3URSHUW\<RX2ZQRU+DYHDQ,QWHUHVW,Q
            ,I\RXRZQRUKDYHDQLQWHUHVWLQIDUPODQGOLVWLWLQ3DUW


 'R\RXRZQRUKDYHDQ\OHJDORUHTXLWDEOHLQWHUHVWLQDQ\IDUPRUFRPPHUFLDOILVKLQJUHODWHGSURSHUW\"
      1R*RWR3DUW
      <HV*RWROLQH

 3DUW          'HVFULEH$OO3URSHUW\<RX2ZQRU+DYHDQ,QWHUHVWLQ7KDW<RX'LG1RW/LVW$ERYH

 'R\RXKDYHRWKHUSURSHUW\RIDQ\NLQG\RXGLGQRWDOUHDG\OLVW"
    Examples:6HDVRQWLFNHWVFRXQWU\FOXEPHPEHUVKLS
     1R
    <HV*LYHVSHFLILFLQIRUPDWLRQ

  $GGWKHGROODUYDOXHRIDOORI\RXUHQWULHVIURP3DUW:ULWHWKDWQXPEHUKHUH                                                       

 3DUW         /LVWWKH7RWDOVRI(DFK3DUWRIWKLV)RUP

  3DUW7RWDOUHDOHVWDWHOLQH              
  3DUW7RWDOYHKLFOHVOLQH                                                                                
  3DUW7RWDOSHUVRQDODQGKRXVHKROGLWHPVOLQH                                                        
  3DUW7RWDOILQDQFLDODVVHWVOLQH                                                                   54,71
  3DUW7RWDOEXVLQHVVUHODWHGSURSHUW\OLQH                                                                   
  3DUW7RWDOIDUPDQGILVKLQJUHODWHGSURSHUW\OLQH                                                          
  3DUW7RWDORWKHUSURSHUW\QRWOLVWHGOLQH                                                                  

  7RWDOSHUVRQDOSURSHUW\$GGOLQHVWKURXJK                                                       63,636.             &RS\SHUVRQDOSURSHUW\WRWDO         63,63

  7RWDORIDOOSURSHUW\RQ6FKHGXOH$%$GGOLQHOLQH                                                                                                         298,636




2IILFLDO)RUP$%                                                               6FKHGXOH$%3URSHUW\                                                                             SDJH
6RIWZDUH&RS\ULJKW F %HVW&DVH//&ZZZEHVWFDVHFRP                                                                                                         %HVW&DVH%DQNUXSWF\

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                                                              26
 )LOOLQWKLVLQIRUPDWLRQWRLGHQWLI\\RXUFDVHDQGWKLVILOLQJ

 'HEWRU                   -DPLH/\QQ*DOOLDQ
                            )LUVW1DPH                                 0LGGOH1DPH                    /DVW1DPH

 'HEWRU
 6SRXVHLIILOLQJ          )LUVW1DPH                                 0LGGOH1DPH                    /DVW1DPH


 8QLWHG6WDWHV%DQNUXSWF\&RXUWIRUWKH                     &(175$/',675,&72)&$/,)251,$6$17$$1$',9,6,21

 &DVHQXPEHU           EN(6                                                                                                                        &KHFNLIWKLVLVDQ
                                                                                                                                                                DPHQGHGILOLQJ



2IILFLDO)RUP$%
6FKHGXOH$%3URSHUW\                                                                                                                                         
,QHDFKFDWHJRU\VHSDUDWHO\OLVWDQGGHVFULEHLWHPV/LVWDQDVVHWRQO\RQFH,IDQDVVHWILWVLQPRUHWKDQRQHFDWHJRU\OLVWWKHDVVHWLQWKHFDWHJRU\ZKHUH\RX
WKLQNLWILWVEHVW%HDVFRPSOHWHDQGDFFXUDWHDVSRVVLEOH,IWZRPDUULHGSHRSOHDUHILOLQJWRJHWKHUERWKDUHHTXDOO\UHVSRQVLEOHIRUVXSSO\LQJFRUUHFW
LQIRUPDWLRQ,IPRUHVSDFHLVQHHGHGDWWDFKDVHSDUDWHVKHHWWRWKLVIRUP2QWKHWRSRIDQ\DGGLWLRQDOSDJHVZULWH\RXUQDPHDQGFDVHQXPEHU LINQRZQ 
$QVZHUHYHU\TXHVWLRQ

 3DUW 'HVFULEH(DFK5HVLGHQFH%XLOGLQJ/DQGRU2WKHU5HDO(VWDWH<RX2ZQRU+DYHDQ,QWHUHVW,Q

 'R\RXRZQRUKDYHDQ\OHJDORUHTXLWDEOHLQWHUHVWLQDQ\UHVLGHQFHEXLOGLQJODQGRUVLPLODUSURSHUW\"

   1R*RWR3DUW
   <HV:KHUHLVWKHSURSHUW\"
        /RFDWHGRQ$31                                              :KDWLVWKHSURSHUW\"&KHFNDOOWKDWDSSO\
        7UDFW8QLW/RW                                            ??
                                                                             6LQJOHIDPLO\KRPH
       0RQWHUH\/Q6SF                                               'XSOH[RUPXOWLXQLWEXLOGLQJ                 'RQRWGHGXFWVHFXUHGFODLPVRUH[HPSWLRQV3XW
       6WUHHWDGGUHVVLIDYDLODEOHRURWKHUGHVFULSWLRQ                                                                        WKHDPRXQWRIDQ\VHFXUHGFODLPVRQSchedule D:
                                                                                 &RQGRPLQLXPRUFRRSHUDWLYH                     Creditors Who Have Claims Secured by Property

                                                                                     0DQXIDFWXUHGRUPRELOHKRPH

                                                                                     /DQG
                                                                                                                                 &XUUHQWYDOXHRIWKH       &XUUHQWYDOXHRIWKH
       +XQWLQJWRQ%HDFK &$                                             ,QYHVWPHQWSURSHUW\                          HQWLUHSURSHUW\"           SRUWLRQ\RXRZQ"
       &LW\                              6WDWH              =,3&RGH             7LPHVKDUH                                                             
                                                                                 2WKHU                                         'HVFULEHWKHQDWXUHRI\RXURZQHUVKLSLQWHUHVW
                                                                                                                                  VXFKDVIHHVLPSOHWHQDQF\E\WKHHQWLUHWLHVRU
                                                                                                                                 DOLIHHVWDWH LINQRZQ\U*URXQG
                                                                               :KRKDVDQLQWHUHVWLQWKHSURSHUW\"&KHFNRQH
                                                                                                                                 /HDVHKROG$317UDFW
                                                                                     'HEWRURQO\                              8QLW/RW2&&ON5HF56%NSJ
       2UDQJH                                                                        'HEWRURQO\                              3DUFHO0DS%N3J00
                                                                                                                                 %N3J
       &RXQW\                                                                        'HEWRUDQG'HEWRURQO\
                                                                                     $WOHDVWRQHRIWKHGHEWRUVDQGDQRWKHU    &KHFNLIWKLVLVFRPPXQLW\SURSHUW\
                                                                                                                                   VHHLQVWUXFWLRQV


                                                                           2WKHULQIRUPDWLRQ\RXZLVKWRDGGDERXWWKLVLWHPVXFKDVORFDOSURSHUW\LGHQWLILFDWLRQQXPEHU
                                                                           $316N\OLQH&XVWRP9LOOD0DQXIDFWXUHG+RPH
                                                                           +&''HFDO1R/%06HULDO1XPEHU$&9*%*$ [ 
                                                                           5HJLVWHUHGWR'HEWRU+&'&27$SHUIHFWHG


  $GGWKHGROODUYDOXHRIWKHSRUWLRQ\RXRZQIRUDOORI\RXUHQWULHVIURP3DUWLQFOXGLQJDQ\HQWULHVIRU
    SDJHV\RXKDYHDWWDFKHGIRU3DUW:ULWHWKDWQXPEHUKHUH !                      


 3DUW 'HVFULEH<RXU9HKLFOHV

'R\RXRZQOHDVHRUKDYHOHJDORUHTXLWDEOHLQWHUHVWLQDQ\YHKLFOHVZKHWKHUWKH\DUHUHJLVWHUHGRUQRW",QFOXGHDQ\YHKLFOHV\RXRZQWKDW
VRPHRQHHOVHGULYHV,I\RXOHDVHDYHKLFOHDOVRUHSRUWLWRQSchedule G: Executory Contracts and Unexpired Leases.




2IILFLDO)RUP$%                                                                 6FKHGXOH$%3URSHUW\                                                                    SDJH
6RIWZDUH&RS\ULJKW F %HVW&DVH//&ZZZEHVWFDVHFRP                                                                                                 %HVW&DVH%DQNUXSWF\

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                                                            26
 'HEWRU       -DPLH/\QQ*DOOLDQ                                                                                  &DVHQXPEHU(if known)      EN(6
 &DUVYDQVWUXFNVWUDFWRUVVSRUWXWLOLW\YHKLFOHVPRWRUF\FOH

    <HV /HDVH.LD6SRUWDJH([SLUHV
    1R

 :DWHUFUDIWDLUFUDIWPRWRUKRPHV$79VDQGRWKHUUHFUHDWLRQDOYHKLFOHVRWKHUYHKLFOHVDQGDFFHVVRULHV
   Examples:%RDWVWUDLOHUVPRWRUVSHUVRQDOZDWHUFUDIWILVKLQJYHVVHOVVQRZPRELOHVPRWRUF\FOHDFFHVVRULHV

    1R
    <HV


  $GGWKHGROODUYDOXHRIWKHSRUWLRQ\RXRZQIRUDOORI\RXUHQWULHVIURP3DUWLQFOXGLQJDQ\HQWULHVIRU
   SDJHV\RXKDYHDWWDFKHGIRU3DUW:ULWHWKDWQXPEHUKHUH !                   


 3DUW 'HVFULEH<RXU3HUVRQDODQG+RXVHKROG,WHPV
 'R\RXRZQRUKDYHDQ\OHJDORUHTXLWDEOHLQWHUHVWLQDQ\RIWKHIROORZLQJLWHPV"                                                                &XUUHQWYDOXHRIWKH
                                                                                                                                                  SRUWLRQ\RXRZQ"
                                                                                                                                                  'RQRWGHGXFWVHFXUHG
                                                                                                                                                  FODLPVRUH[HPSWLRQV
 +RXVHKROGJRRGVDQGIXUQLVKLQJV
   Examples:0DMRUDSSOLDQFHVIXUQLWXUHOLQHQVFKLQDNLWFKHQZDUH
    1R
    <HV'HVFULEH
                                    0LVFKRXVHKROGJRRGVDQGIXUQLVKLQJV
                                    /RFDWLRQ0RQWHUH\/DQH6SDFH+XQWLQJWRQ%HDFK&$
                                                                                                                                                          


                                    ZDWHUIRUGFU\VWDOVHWUHGDQGZKLWHZLQHJODVVHV                                                                           


 (OHFWURQLFV
   Examples: 7HOHYLVLRQVDQGUDGLRVDXGLRYLGHRVWHUHRDQGGLJLWDOHTXLSPHQWFRPSXWHUVSULQWHUVVFDQQHUVPXVLFFROOHFWLRQVHOHFWURQLFGHYLFHV
              LQFOXGLQJFHOOSKRQHVFDPHUDVPHGLDSOD\HUVJDPHV
    1R
    <HV'HVFULEH
                                    :DOOWHOHYLVLRQFRPSXWHUSULQWHUDQGSHULSKHUDOV
                                    /RFDWLRQ0RQWHUH\/DQH6SDFH+XQWLQJWRQ%HDFK&$
                                                                                                                                                            


 &ROOHFWLEOHVRIYDOXH
   Examples:$QWLTXHVDQGILJXULQHVSDLQWLQJVSULQWVRURWKHUDUWZRUNERRNVSLFWXUHVRURWKHUDUWREMHFWVVWDPSFRLQRUEDVHEDOOFDUGFROOHFWLRQV
               RWKHUFROOHFWLRQVPHPRUDELOLDFROOHFWLEOHV
    1R
    <HV'HVFULEH           /RFDWLRQ0RQWHUH\/DQH6SDFH
                                    +XQWLQJWRQ%HDFK&$
                                    /ODGURILJXULQHFROOHFWLRQ                                                                                              


 (TXLSPHQWIRUVSRUWVDQGKREELHV
   Examples: 6SRUWVSKRWRJUDSKLFH[HUFLVHDQGRWKHUKREE\HTXLSPHQWELF\FOHVSRROWDEOHVJROIFOXEVVNLVFDQRHVDQGND\DNVFDUSHQWU\WRROV
             PXVLFDOLQVWUXPHQWV
     1R
    <HV'HVFULEH
 )LUHDUPV
     Examples: 3LVWROVULIOHVVKRWJXQVDPPXQLWLRQDQGUHODWHGHTXLSPHQW
     1R
    <HV'HVFULEH
2IILFLDO)RUP$%                                                   6FKHGXOH$%3URSHUW\                                                                        SDJH
6RIWZDUH&RS\ULJKW F %HVW&DVH//&ZZZEHVWFDVHFRP                                                                                        %HVW&DVH%DQNUXSWF\

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 'HEWRU          -DPLH/\QQ*DOOLDQ                                                                                       &DVHQXPEHU(if known)   EN(6

 &ORWKHV
    Examples: (YHU\GD\FORWKHVIXUVOHDWKHUFRDWVGHVLJQHUZHDUVKRHVDFFHVVRULHV
    1R
    <HV'HVFULEH
                                            0LVFFORWKLQJ
                                            /RFDWLRQ0RQWHUH\/DQH6SDFH+XQWLQJWRQ%HDFK&$
                                                                                                                                                               


 -HZHOU\
     Examples:(YHU\GD\MHZHOU\FRVWXPHMHZHOU\HQJDJHPHQWULQJVZHGGLQJULQJVKHLUORRPMHZHOU\ZDWFKHVJHPVJROGVLOYHU
    1R
    <HV'HVFULEH
                                            0RYDGRZULVWZDWFK \UVROG FRVWXPHMHZHOU\PLVFQRQJROG
                                            FKDLQVEUDFHOHWVDQGHDUULQJV
                                            /RFDWLRQ0RQWHUH\/DQH6SDFH+XQWLQJWRQ%HDFK&$
                                                                                                                                                               


 1RQIDUPDQLPDOV
    Examples:'RJVFDWVELUGVKRUVHV
    1R
    <HV'HVFULEH
                                            \HDUROG:LUHG7HUULHU'RJ                                                                                                


 $Q\RWKHUSHUVRQDODQGKRXVHKROGLWHPV\RXGLGQRWDOUHDG\OLVWLQFOXGLQJDQ\KHDOWKDLGV\RXGLGQRWOLVW
     1R
    <HV*LYHVSHFLILFLQIRUPDWLRQ

  $GGWKHGROODUYDOXHRIDOORI\RXUHQWULHVIURP3DUWLQFOXGLQJDQ\HQWULHVIRUSDJHV\RXKDYHDWWDFKHG
     IRU3DUW:ULWHWKDWQXPEHUKHUH                                          


 3DUW 'HVFULEH<RXU)LQDQFLDO$VVHWV
 'R\RXRZQRUKDYHDQ\OHJDORUHTXLWDEOHLQWHUHVWLQDQ\RIWKHIROORZLQJ"                                                                           &XUUHQWYDOXHRIWKH
                                                                                                                                                       SRUWLRQ\RXRZQ"
                                                                                                                                                       'RQRWGHGXFWVHFXUHG
                                                                                                                                                       FODLPVRUH[HPSWLRQV

 &DVK
    Examples:0RQH\\RXKDYHLQ\RXUZDOOHWLQ\RXUKRPHLQDVDIHGHSRVLWER[DQGRQKDQGZKHQ\RXILOH\RXUSHWLWLRQ
     1R
     <HV
 'HSRVLWVRIPRQH\
    Examples:&KHFNLQJVDYLQJVRURWKHUILQDQFLDODFFRXQWVFHUWLILFDWHVRIGHSRVLWVKDUHVLQFUHGLWXQLRQVEURNHUDJHKRXVHVDQGRWKHUVLPLODU
                  LQVWLWXWLRQV,I\RXKDYHPXOWLSOHDFFRXQWVZLWKWKHVDPHLQVWLWXWLRQOLVWHDFK
    1R
    <HV                                     ,QVWLWXWLRQQDPH


                                                     ('''HELWDFFRXQW %DQNRI$PHULFD                                                                         


                                                                                                 $OOLDQW&UHGLW8QLRQ2QO\IXQGVDUH&RYLG
                                                     6DYLQJV                                UHOLHIIXQGVIURPWKHJRYHUQPHQW                                  




2IILFLDO)RUP$%                                                                     6FKHGXOH$%3URSHUW\                                                           SDJH
6RIWZDUH&RS\ULJKW F %HVW&DVH//&ZZZEHVWFDVHFRP                                                                                             %HVW&DVH%DQNUXSWF\

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    'HEWRU      -DPLH/\QQ*DOOLDQ                                                                   &DVHQXPEHU(if known)   EN(6

                                                                            $OOLDQW&UHGLW8QLRQ2QO\IXQGVDUH&RYLG
                                          6DYLQJV                      UHOLHIIXQGVIURPWKHJRYHUQPHQW                                  


 %RQGVPXWXDOIXQGVRUSXEOLFO\WUDGHGVWRFNV
    Examples:%RQGIXQGVLQYHVWPHQWDFFRXQWVZLWKEURNHUDJHILUPVPRQH\PDUNHWDFFRXQWV
       1R
       <HV                 ,QVWLWXWLRQRULVVXHUQDPH

 1RQSXEOLFO\WUDGHGVWRFNDQGLQWHUHVWVLQLQFRUSRUDWHGDQGXQLQFRUSRUDWHGEXVLQHVVHVLQFOXGLQJDQLQWHUHVWLQDQ//&SDUWQHUVKLSDQG
    MRLQWYHQWXUH
    1R
      <HV*LYHVSHFLILFLQIRUPDWLRQDERXWWKHP
                  1DPHRIHQWLW\                                                                       RIRZQHUVKLS
-6DQGFDVWOH&R//&VLQJOHPHPEHUHQWLW\KDGDEDQNDFFRXQWRIDVVHWVWR%$
&DVKLHUV&KN8QFDVKHGVSDFHUHQWIXQGV&XUUHQWOHVVWKDQ
2ULJLQDOSXUSRVHRI//&ZDVWRKROG+&'5HJLVWUDWLRQWR'HEWRU VUHVLGHQFH
+&'5HJLVWUDWLRQZDVWUDQVIHUUHGWRGHEWRURQDIWHUYROXQWDU\
PHGLDWLRQZLWK5'50+(3DUNUH8'&DVH3DUNUHIXVHGWRFRXQWHUVLJQ
OHDVHDJUHHPHQWZLWK+&'5HJLVWHUHG$SSOLFDQW-6DQGFDVWOH&R//&$FFRUG
LQJWR+RXVHU%URV3DUN2ZQHU0DQDJHU3DUN5XOHVDOOHJHGO\IRUELGKRPH
WREHKHOGLQEXVLQHVVQDPHLQVLVWHQWRQO\LQDQLQGLYLGXDOQDPH+RZHYHU3DUNDOORZV
KRPHVKHOGLQ7UXVW'HEWRUXQDEOHWRYHULI\VWDWHGUHDVRQLQ5'50+(3DUN5XOHV                                                 

-3$'//&0DQDJHU0DQDJHG//&$VVHWVLQFOXGHEDQNDFFRXQWRIOHVVWKDQ
%$&DVKLHUV&KHFNDSSUR[IURP&KDVH%DQN-6DQGFDVWOH&R//&
5HQW&KHFNVWHQGHUHGIRUVSDFHDVDJUHHG6SDFHUHQWWHQGHUHGHDFKPRQWKVLQFHILOLQJ
%.SHWLWLRQE\GHEWRU $OOLDQW&8$FFW WKURXJK'HFHPEHU&RQFXUUHQWO\
ZLWK&$&RYLG5HOLHI$:$5'+RXVHU%URV&RFDXVHGIXUWKHUKDUPWR
GHEWRU+RXVHU%URVVHQWXQFDVKHGFKHFNVWRYDULRXVXQDXWKRUL]HGHQWLWLHVLQFOXGLQJWKH
,56LQYLRODWLRQRIGHEWRUV67$<
'HEWRUV-3DG//&+ROGHURI&27$SHUIHFWHG                                                                           $


 *RYHUQPHQWDQGFRUSRUDWHERQGVDQGRWKHUQHJRWLDEOHDQGQRQQHJRWLDEOHLQVWUXPHQWV
     Negotiable instrumentsLQFOXGHSHUVRQDOFKHFNVFDVKLHUV¶FKHFNVSURPLVVRU\QRWHVDQGPRQH\RUGHUV
     Non-negotiable instrumentsDUHWKRVH\RXFDQQRWWUDQVIHUWRVRPHRQHE\VLJQLQJRUGHOLYHULQJWKHP
       1R
       <HV*LYHVSHFLILFLQIRUPDWLRQDERXWWKHP
                                         ,VVXHUQDPH

 5HWLUHPHQWRUSHQVLRQDFFRXQWV
    Examples:,QWHUHVWVLQ,5$(5,6$.HRJK N  E WKULIWVDYLQJVDFFRXQWVRURWKHUSHQVLRQRUSURILWVKDULQJSODQV
    1R
       <HV/LVWHDFKDFFRXQWVHSDUDWHO\
                                      7\SHRIDFFRXQW                      ,QVWLWXWLRQQDPH

                                      ,5$                                   )LGHOLW\                                                      


 6HFXULW\GHSRVLWVDQGSUHSD\PHQWV
    <RXUVKDUHRIDOOXQXVHGGHSRVLWV\RXKDYHPDGHVRWKDW\RXPD\FRQWLQXHVHUYLFHRUXVHIURPDFRPSDQ\
    Examples: $JUHHPHQWVZLWKODQGORUGVSUHSDLGUHQWSXEOLFXWLOLWLHV HOHFWULFJDVZDWHU WHOHFRPPXQLFDWLRQVFRPSDQLHVRURWKHUV
    <HV
    1R                                                    ,QVWLWXWLRQQDPHRULQGLYLGXDO




 $QQXLWLHV $FRQWUDFWIRUDSHULRGLFSD\PHQWRIPRQH\WR\RXHLWKHUIRUOLIHRUIRUDQXPEHURI\HDUV
       1R
       <HV        ,VVXHUQDPHDQGGHVFULSWLRQ

 ,QWHUHVWVLQDQHGXFDWLRQ,5$LQDQDFFRXQWLQDTXDOLILHG$%/(SURJUDPRUXQGHUDTXDOLILHGVWDWHWXLWLRQSURJUDP
    86& E  $ E DQG E  
2IILFLDO)RUP$%                                     6FKHGXOH$%3URSHUW\                                                                      SDJH
6RIWZDUH&RS\ULJKW F %HVW&DVH//&ZZZEHVWFDVHFRP                                                                        %HVW&DVH%DQNUXSWF\

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 'HEWRU       -DPLH/\QQ*DOOLDQ                                                                       &DVHQXPEHU(if known)      EN(6

     1R
     <HV          ,QVWLWXWLRQQDPHDQGGHVFULSWLRQ6HSDUDWHO\ILOHWKHUHFRUGVRIDQ\LQWHUHVWV86& F 

 7UXVWVHTXLWDEOHRUIXWXUHLQWHUHVWVLQSURSHUW\ RWKHUWKDQDQ\WKLQJOLVWHGLQOLQH DQGULJKWVRUSRZHUVH[HUFLVDEOHIRU\RXUEHQHILW
     1R
     <HV*LYHVSHFLILFLQIRUPDWLRQDERXWWKHP
 3DWHQWVFRS\ULJKWVWUDGHPDUNVWUDGHVHFUHWVDQGRWKHULQWHOOHFWXDOSURSHUW\
    Examples:,QWHUQHWGRPDLQQDPHVZHEVLWHVSURFHHGVIURPUR\DOWLHVDQGOLFHQVLQJDJUHHPHQWV
     1R
     <HV*LYHVSHFLILFLQIRUPDWLRQDERXWWKHP
 /LFHQVHVIUDQFKLVHVDQGRWKHUJHQHUDOLQWDQJLEOHV
     Examples:%XLOGLQJSHUPLWVH[FOXVLYHOLFHQVHVFRRSHUDWLYHDVVRFLDWLRQKROGLQJVOLTXRUOLFHQVHVSURIHVVLRQDOOLFHQVHV
     1R
     <HV*LYHVSHFLILFLQIRUPDWLRQDERXWWKHP
 0RQH\RUSURSHUW\RZHGWR\RX"                                                                                                        &XUUHQWYDOXHRIWKH
                                                                                                                                       SRUWLRQ\RXRZQ"
                                                                                                                                       'RQRWGHGXFWVHFXUHG
                                                                                                                                       FODLPVRUH[HPSWLRQV

 7D[UHIXQGVRZHGWR\RX
     1R
    <HV*LYHVSHFLILFLQIRUPDWLRQDERXWWKHPLQFOXGLQJZKHWKHU\RXDOUHDG\ILOHGWKHUHWXUQVDQGWKHWD[\HDUV


 )DPLO\VXSSRUW
     Examples:3DVWGXHRUOXPSVXPDOLPRQ\VSRXVDOVXSSRUWFKLOGVXSSRUWPDLQWHQDQFHGLYRUFHVHWWOHPHQWSURSHUW\VHWWOHPHQW
     1R
    <HV*LYHVSHFLILFLQIRUPDWLRQ

 2WKHUDPRXQWVVRPHRQHRZHV\RX
    Examples: 8QSDLGZDJHVGLVDELOLW\LQVXUDQFHSD\PHQWVGLVDELOLW\EHQHILWVVLFNSD\YDFDWLRQSD\ZRUNHUV¶FRPSHQVDWLRQ6RFLDO6HFXULW\
              EHQHILWVXQSDLGORDQV\RXPDGHWRVRPHRQHHOVH
     1R
     <HV*LYHVSHFLILFLQIRUPDWLRQ
 ,QWHUHVWVLQLQVXUDQFHSROLFLHV
     Examples:+HDOWKGLVDELOLW\RUOLIHLQVXUDQFHKHDOWKVDYLQJVDFFRXQW +6$ FUHGLWKRPHRZQHU¶VRUUHQWHU¶VLQVXUDQFH
     1R
     <HV1DPHWKHLQVXUDQFHFRPSDQ\RIHDFKSROLF\DQGOLVWLWVYDOXH
                                         &RPSDQ\QDPH                                          %HQHILFLDU\                            6XUUHQGHURUUHIXQG
                                                                                                                                        YDOXH

 $Q\LQWHUHVWLQSURSHUW\WKDWLVGXH\RXIURPVRPHRQHZKRKDVGLHG
    ,I\RXDUHWKHEHQHILFLDU\RIDOLYLQJWUXVWH[SHFWSURFHHGVIURPDOLIHLQVXUDQFHSROLF\RUDUHFXUUHQWO\HQWLWOHGWRUHFHLYHSURSHUW\EHFDXVH
    VRPHRQHKDVGLHG
    1R
     <HV*LYHVSHFLILFLQIRUPDWLRQ               3UREDWHHVWDWHRI&KDUOHV-%UDGOH\-U&DVH1R
                                                      8QFHUWDLQZKDWLIDQ\SURFHHGVZLOOSDVVWRGHEWRU
                                       &UHGLWRU VFODLP(VWDWHRI&KDUOHV-DPHV%UDGOH\-UILOHGE\GHEWRUIRU
                                       PLOOLRQ-XQHGHQLHGE\$GPLQLVWUDWRU6DQGUD%UDGOH\DSSUR[
                                       0DUFK8QNQRZQZKHWKHUDQ\UHFRYHU\ZLOOEHDZDUGHG                                               8QNQRZQ




2IILFLDO)RUP$%                                                 6FKHGXOH$%3URSHUW\                                                               SDJH
6RIWZDUH&RS\ULJKW F %HVW&DVH//&ZZZEHVWFDVHFRP                                                                             %HVW&DVH%DQNUXSWF\

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 'HEWRU       -DPLH/\QQ*DOOLDQ                                                                          &DVHQXPEHU(if known)      EN(6
 &ODLPVDJDLQVWWKLUGSDUWLHVZKHWKHURUQRW\RXKDYHILOHGDODZVXLWRUPDGHDGHPDQGIRUSD\PHQW
    Examples:$FFLGHQWVHPSOR\PHQWGLVSXWHVLQVXUDQFHFODLPVRUULJKWVWRVXH
    <HV'HVFULEHHDFKFODLP     :URQJIXOWHUPLQDWLRQDJDLQVW8QLWHG$LUOLQHV1RODZVXLWILOHG
                                    &ODLPILOHG&ROOHFWLYH%DUJDLQLQJZLWK$VVRFLDWLRQRI)OLJKW$WWHQGDQWVXQGHU
   1R                          5DLOZD\/DERU$FW$UELWUDWLRQZLWK&RPSD?Q\ $)$UHTXHVWHGDQGEHLQJSXUVXHG                                    8QNQRZQ
                                                                                                                                                   BBBBBBBBBBBBBBBBB
 2WKHUFRQWLQJHQWDQGXQOLTXLGDWHGFODLPVRIHYHU\QDWXUHLQFOXGLQJFRXQWHUFODLPVRIWKHGHEWRUDQGULJKWVWRVHWRIIFODLPV
    1R
    <HV'HVFULEHHDFKFODLP
                   &ODLPDJDLQVW6DQGUD%UDGOH\DQG+RXVHU%URV&RIRUIDLOXUHWRGLVFORVHUHDOHVWDWH
                       WUDQVDFWLRQ0D\WKDWXOWLPDWHO\OHDGWRUHFRUGDWLRQRI*UDQW'HHG'RF
                       $318QLWLQQDPHRI+RXVHU%URVLQVWHDGRILQWHQGHG
                       WUDQVIHUWR6DQGUD/%UDGOH\7UXVW1RODZVXLWILOHG\HW
                                                                                                                                                            8QNQRZQ
                        3RVVLEOHFODLPDJDLQVW6DQGUD%UDGOH\IRUIDLOXUHWRGLVFORVHSUHYLRXVDOOHJHG
                    $5&YLRODWLRQVLQFRQQHFWLRQZLWKLPSURYHPHQWVWR8QLWLQDW
                        $OGHUSRUWWKDWRFFXUUHGSULRUWRGHEWRUEHFDPHOHJDORZQHURIWKH$OGHUSRUWSURSHUW\RQ                                           8QNQRZQ
                        0DUFKWKHVXEMHFWRI)$&*DEOHV+2$FLYLOFRPSODLQW

          0XOWLSOHFODLPVDJDLQVW7UDFW0DVWHU/HVVRU+RXVHU%URV&RDQG3DUN0DQDJHU+RXVHU%URV
              &RGED5DQFKR'HO5H\0RELOHKRPH(VWDWHVIRU9LRODWLRQ V 'DYLV6WLUOLQJ$FW&LYLO&RGH
              YLRODWLRQVRI05/HWVHTPXOWLSOHDFWV UHWDOLDWLRQGLVFULPLQDWLRQWUHVSDVVLQJXQODZIXO
              HQWU\IRUFLEOHGHWDLQHUZURQJIXOHYLFWLRQIDLOXUHWRWLPHO\SXUVXHSURVHFXWHIULYRORXV8'FODLP
              ILOHG)DLOXUHWRFRXQWHUVLJQ&RQVXPHU/HDVH$JUHHPHQWZLWK$SSOLFDQW V 5HJLVWHUHG
              2ZQHUVRIERQDILGHSXUFKDVH6N\OLQH&XVWRP9LOOD/%0
                                       3RVVLEOHDZDUGRI$WWRUQH\)HHVXQGHU'DYLV6WLUOLQJ$FW&$&LYLO&RGHDQG 05/                                   8QNQRZQ

          3HUVRQDO,QMXU\FODLPSHQGLQJDJDLQVW+XQWLQJWRQ%HDFK*DEOHV+2$-HVXV-DVVR-U
              HWDO&DVH1R
                                                                          (VWLPDWHGGDPDJHVDSSUR[LPDWHO\                                        8QNQRZQ

                                      'XHWRSHQGLQJOLWLJDWLRQSRWHQWLDOULJKWRIGHEWRUWRUHYHUVLRQDU\LQWHUHVWXQH[SLUHG*URXQG
  
              /HDVHKROGLQ&RQGRPLQLXP3URMHFW/RW 7UDFW$31+ROGLQJ$OWHUQDWH
              $31
                    2ULJLQDO0DVWHU/HVVRU+RXVHU%URV&RDQG5REHUW3:DUPLQJWRQDQ,QG2ULJLQDO7HQDQW
              5REHUW3:DUPLQJWRQDQ,QG6XEOHVVRUDVVLJQHGWR5REHUW3:DUPLQJWRQ&RPSDQ\6XEOHDVHH
              )XUWKHUDVVLJQHG'HFODUDQW5REHUW3:DUPLQJWRQ&R6XEOHVVRUDVVLJQHGFHUWDLQULJKWVRIWKH
              'HFODUDQWWRYDULRXVFRQVXPHUVXQWLODQ\HDU*URXQG/HDVHKROGDQG6XEFRQGRPLQLXP/HDVHKROG
              7UDFW/RWDQG)XUWKHUULJKWVFODULILHGE\0DVWHU/HVVRUDQG6XEOHVVRULQWKDWFHUWDLQ
              )LUVW$PHQGPHQWWR&& 5VILOHG2&&OHUN5HFRUGHU'RF1RGHWDLOLQJ&RQVXPHU V,QWHUHVW
              LQ0DVWHU*URXQG/HDVHKROGDQG6XEFRQGRPLQLXP/HDVHKROGUHODWLYHWR/RW 7UDFW+XQW%HDFK
               +XQWLQJWRQ%HDFK*DEOHV+2$KDVILOHGDFURVVFRPSODLQWSHQGLQJ2&6&LQZKLFK*DEOHV
              +2$VHHNDYRLGLQJRIWKHGHEWRUVVDOHRIXQHQFXPEHUHGIHHLQWHUHVWLQGHEWRU VSUHYLRXVUHVLGHQFH
              *URXQG/HDVHKROGDQG6XE&RQGRPLQLXP/HDVHKROGVROGRQWRDERQDILGHSXUFKDVHUIRU
              YDOXH5DQGDOO1LFNHOVLQFOXGLQJULJKWVRI$VVLJQPHQWRIXQH[SLUHGWHUPRI\U*URXQG/HDVHVKROG
                                                                                                                         8QNQRZQ
              DQG6XEFRQGRPLQLXP/HDVHKROGIURP'HEWRUWRSXUFKDVHU5DQGDOO1LFNHOV 
  
              3RWHQWLDO9LFWLP5HVWLWXWLRQ2UGHUIURP'HIHQGDQW-HVXV-DVVR-U3&2&6&&DVH1R:0                                            8QNQRZQ
                                                              $SSUR[HFRQRPLFGDPDJHV   BBBBBBBBBBBBBBBBBBB
                                                          
 BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
 $Q\ILQDQFLDODVVHWV\RXGLGQRWDOUHDG\OLVW
    1R                                &$&29,'$ZDUG6WDWHRI&DOLIRUQLD/DQGORUGUHIXVHGWRSDUWLFLSDWHRUDSSO\RQ
    <HV*LYHVSHFLILFLQIRUPDWLRQ EHKDOIRIWKLVWHQDQWDIWHUUHFHLYLQJ7HQDQWV'HFODUDWLRQUH&RYLGUHODWHGDIIOLFWLRQV
                                       IURP7HQDQW7HQDQWDSSOLHGDQGZDV$ZDUGHG5HOLHIRQ                
                                        /DQGORUGZDLWHGWKUHHZHHNVWRQRWLI\&RXQVHOLQ8'FDVHRIIXQGVUHFHLYHG/DQGORUG
                                        UHIXVHGWRGLVPLVV8'FDVH$SSOLFDWLRQWRDYRLG/HDVH)RUIHLWXUH)LOHG#&-&
  $GGWKHGROODUYDOXHRIDOORI\RXUHQWULHVIURP3DUWLQFOXGLQJDQ\HQWULHVIRUSDJHV\RXKDYHDWWDFKHG
     IRU3DUW:ULWHWKDWQXPEHUKHUH  


 3DUW 'HVFULEH$Q\%XVLQHVV5HODWHG3URSHUW\<RX2ZQRU+DYHDQ,QWHUHVW,Q/LVWDQ\UHDOHVWDWHLQ3DUW

2IILFLDO)RUP$%                                                 6FKHGXOH$%3URSHUW\                                                                       SDJH
6RIWZDUH&RS\ULJKW F %HVW&DVH//&ZZZEHVWFDVHFRP                                                                                     %HVW&DVH%DQNUXSWF\

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           Case 8:21-bk-11710-ES   Doc 95 Filed 05/12/22 Entered 05/12/22 22:20:08 Desc
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                                       39 Filed 11/22/21
                                                11/23/21 Entered 11/23/21 11:21:39
                                                                          15:43:25 Desc
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                                                                26
 'HEWRU         -DPLH/\QQ*DOOLDQ                                                                                                     &DVHQXPEHU(if known)   EN(6

 'R\RXRZQRUKDYHDQ\OHJDORUHTXLWDEOHLQWHUHVWLQDQ\EXVLQHVVUHODWHGSURSHUW\"
   1R*RWR3DUW
   <HV*RWROLQH


 3DUW    'HVFULEH$Q\)DUPDQG&RPPHUFLDO)LVKLQJ5HODWHG3URSHUW\<RX2ZQRU+DYHDQ,QWHUHVW,Q
            ,I\RXRZQRUKDYHDQLQWHUHVWLQIDUPODQGOLVWLWLQ3DUW


 'R\RXRZQRUKDYHDQ\OHJDORUHTXLWDEOHLQWHUHVWLQDQ\IDUPRUFRPPHUFLDOILVKLQJUHODWHGSURSHUW\"
      1R*RWR3DUW
      <HV*RWROLQH

 3DUW          'HVFULEH$OO3URSHUW\<RX2ZQRU+DYHDQ,QWHUHVWLQ7KDW<RX'LG1RW/LVW$ERYH

 'R\RXKDYHRWKHUSURSHUW\RIDQ\NLQG\RXGLGQRWDOUHDG\OLVW"
    Examples:6HDVRQWLFNHWVFRXQWU\FOXEPHPEHUVKLS
     1R
    <HV*LYHVSHFLILFLQIRUPDWLRQ

  $GGWKHGROODUYDOXHRIDOORI\RXUHQWULHVIURP3DUW:ULWHWKDWQXPEHUKHUH                                                       

 3DUW         /LVWWKH7RWDOVRI(DFK3DUWRIWKLV)RUP

  3DUW7RWDOUHDOHVWDWHOLQH             
  3DUW7RWDOYHKLFOHVOLQH                                                                               
  3DUW7RWDOSHUVRQDODQGKRXVHKROGLWHPVOLQH                                                       
  3DUW7RWDOILQDQFLDODVVHWVOLQH                                                                  
  3DUW7RWDOEXVLQHVVUHODWHGSURSHUW\OLQH                                                                   
  3DUW7RWDOIDUPDQGILVKLQJUHODWHGSURSHUW\OLQH                                                          
  3DUW7RWDORWKHUSURSHUW\QRWOLVWHGOLQH                                                                  

  7RWDOSHUVRQDOSURSHUW\$GGOLQHVWKURXJK                                                                   &RS\SHUVRQDOSURSHUW\WRWDO         

  7RWDORIDOOSURSHUW\RQ6FKHGXOH$%$GGOLQHOLQH                                                                                                         




2IILFLDO)RUP$%                                                                6FKHGXOH$%3URSHUW\                                                                            SDJH
6RIWZDUH&RS\ULJKW F %HVW&DVH//&ZZZEHVWFDVHFRP                                                                                                         %HVW&DVH%DQNUXSWF\

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   Case 8:21-bk-11710-ES   Doc 75 Filed 03/15/22 Entered 03/15/22 10:49:38   Desc
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    STATE OF CALIFORNIA -BUSINESS. CONSUMER SERVICES, AND HOUSING
    DEPARTMENT OF HOUSING AND COMMUNITY DEVELOPMENT
    DIVISION OF CODES AND STANDARDS




                                                   Title Search
                                               Date Printed: Jan 18, 2019

 Decal#:               LBM1081                                  Use Code:                    SFD
 Manufacturer:             SKYLINE HOMES INC                    Original Price Code:         BVH
 Tradename:                CUSTOM VILLA                         Rating Year:
 Model:                                                         Tax Type:                    LPT

 Manufactured Date: 05/29/2014                                  Last ILT Amount:
 Registration Exp:                                              Date ILT Fees Paid:
 First Sold On:     07/28/2014                                  ILT Exemption:               NONE

      Serial Number              HUD Label / Insignia             Length                  Width
      AC7Y710394GA                   PFSl 130282                    60'                    15' 2"
       AC7V710394GB                  PFSI 130281                    56'                    15' 2"

     Registered Owner:
                               J-SANDCASTLE CO LLC
                               16222 MONTEREY LANE ROOM 376
                               HUNTINGTON BEACH, CA 92649
        Last Title Date:                   09/10/2014
         Last Reg Card:                    Pending Reg Card
         Sale/Transfer Info:                Price $175,000.00 Transferred on 11/01/2018
     Situs Address:
                               16222 MONTEREY LN SPACE 376
                               HUNTINGTON BEACH, CA 92649
                               Situs County: ORANGE

                                          ***END OF TITLE SEARCH***




                                                                                                           ·.


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  STATE OF CALIFORNIA - BUSINESS, CONSUMER SERVICES AND HOUSING                                        GAVIN NEWSOM, Governor
  AGENCY
  DEPARTMENT OF HOUSING AND COMMUNITY DEVELOPMENT
  DIVISION OF CODES AND STANDARDS




                                                      Title Search
                                                  Date Printed: Jul 23, 2020

Decal #:                  LBM1081                                  Use Code:                    SFD
Manufacturer:               SKYLINE HOMES INC                      Original Price Code:         BVH
Tradename:                  CUSTOM VILLA                           Rating Year:
Model:                                                             Tax Type:                    LPT

Manufactured Date: 05/29/2014                                      Last ILT Amount:
Registration Exp:                                                  Date ILT Fees Paid:
First Sold On:              07/28/2014                             ILT Exemption:               NONE

     Serial Number                  HUD Label / Insignia             Length                  Width
     AC7V710394GA                        PFS1130282                    60'                   15' 2''
     AC7V710394GB                        PFS1130281                    56'                   15' 2''




   Registered Owner:
                                  J-SANDCASTLE CO LLC
                                  16222 MONTEREY LANE ROOM 376
                                  HUNTINGTON BEACH, CA 92649
         Last Title Date:                     01/19/2019
         Last Reg Card:                        01/19/2019
         Sale/Transfer Info:                   Price $175,000.00 Transferred on 11/01/2018
   Situs Address:
                                  16222 MONTEREY LN SPACE 376
                                  HUNTINGTON BEACH, CA 92649
                                  Situs County: ORANGE


   Title Searches:
                                  JANINE JASSO
                                  PO BOX 370161
                                  EL PASO, TX 79937
         Title File No:                       LBM1081

                                              ***END OF TITLE SEARCH***




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                                                              %DQN2I$PHULFD1$

                                                              6RXWK7U\RQ6WUHHW

                                                              &KDUORWWH1RUWK&DUROLQD




      3SASELEMSFNQ*AMTAQX 
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)RUZDUG6HUYLFH5HTXHVWHG                                     &XVWRPHU6HUYLFH            

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                                                              3HULRG(QG'DWH             
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3TLLAQXNF4QAMRACSINMR

 3UHYLRXV%DODQFH                &UHGLWVDQG$GMXVWPHQWV      3XUFKDVHVDQG$GMXVWPHQWV                           1HZ%DODQFH


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!CCNTMS4QAMRACSINM!CSIUISX

                                                               3RVWHG         5HIHUHQFH
 0HUFKDQW1DPH                                                                                  7UDQVDFWLRQ'HWDLOV     &UHGLW      'HELW
                                                               'DWH           1XPEHU




3TLLAQXNF&EER

                                                                                          EXHIBIT 16, PAGE 121
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                                                              %DQN2I$PHULFD1$

                                                              6RXWK7U\RQ6WUHHW

                                                              &KDUORWWH1RUWK&DUROLQD




      3SASELEMSFNQ&EBQTAQX 
                                                                                                                       ('''HELW&DUG

)RUZDUG6HUYLFH5HTXHVWHG                                     &XVWRPHU6HUYLFH            

                                                              &DUG1XPEHU                              
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3TLLAQXNF4QAMRACSINMR

 3UHYLRXV%DODQFH                &UHGLWVDQG$GMXVWPHQWV      3XUFKDVHVDQG$GMXVWPHQWV                       1HZ%DODQFH


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!CCNTMS4QAMRACSINM!CSIUISX

                                                               3RVWHG        5HIHUHQFH          7UDQVDFWLRQ
 0HUFKDQW1DPH                                                                                                    &UHGLW        'HELW
                                                               'DWH          1XPEHU             'HWDLOV




                                                                                         EXHIBIT 16, PAGE 122
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                                                                                3RVWHG       5HIHUHQFH          7UDQVDFWLRQ
    0HUFKDQW1DPH                                                                                                                &UHGLW       'HELW
                                                                                'DWH         1XPEHU             'HWDLOV




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  3TLLAQXNF&EER

    )HHVIRU&XUUHQW6WDWHPHQW                                                              <HDU7R'DWH)HHV


                                                                                          



3ULYDF\1RWLFH)HGHUDOODZUHTXLUHVXVWRWHOO\RXKRZZHFROOHFWVKDUHDQGSURWHFW\RXUSHUVRQDOLQIRUPDWLRQ2XUSULYDF\SROLF\KDVQRWFKDQJHG
DQG\RXPD\UHYLHZRXUSROLF\DQGSUDFWLFHVZLWKUHVSHFWWR\RXUSHUVRQDOLQIRUPDWLRQDWZZZEDQNRIDPHULFDFRPSUHSDLGSULYDF\QRWLFHRUZHZLOO
PDLO\RXDIUHHFRS\XSRQUHTXHVWLI\RXFDOOXVDW   (QJOLVK    6SDQLVK 

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7HOHSKRQHXVDW    77<RU   &ROOHFWZKHQFDOOLQJRXWVLGHWKH86 RUZULWHWRXVDW%DQNRI$PHULFD32
%R[*UD\71


&DOORUZULWHXVDVVRRQDV\RXFDQLI\RXWKLQN\RXUVWDWHPHQWRUUHFHLSWLVZURQJRULI\RXQHHGPRUHLQIRUPDWLRQDERXWDWUDQVIHURQWKHVWDWHPHQW
RUUHFHLSW:HPXVWKHDUIURP\RXQRODWHUWKDQGD\VDIWHUZHVHQW\RXWKH),567VWDWHPHQWRQZKLFKWKHHUURURUSUREOHPDSSHDUHG
7HOOXV\RXUQDPHDQG$FFRXQWQXPEHU
'HVFULEHWKHHUURURUWKHWUDQVIHU\RXDUHXQVXUHDERXWDQGH[SODLQDVFOHDUO\DV\RXFDQZK\\RXEHOLHYHLWLVDQHUURURUZK\\RXQHHGPRUH
LQIRUPDWLRQ
7HOOXVWKHGROODUDPRXQWRIWKHVXVSHFWHGHUURU
:HZLOOLQYHVWLJDWH\RXUFRPSODLQWDQGZLOOFRUUHFWDQ\HUURUSURPSWO\,IZHWDNHPRUHWKDQEXVLQHVVGD\VWRGRWKLVZHZLOOFUHGLW\RXU$FFRXQW
IRUWKHDPRXQW\RXWKLQNLVLQHUURUVRWKDW\RXZLOOKDYHWKHXVHRIWKHPRQH\GXULQJWKHWLPHLWWDNHVXVWRFRPSOHWHRXULQYHVWLJDWLRQ

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VWDWHPHQWRUUHFHLSW:HPXVWKHDUIURP\RXQRODWHUWKDQGD\VDIWHUWKHHDUOLHURIWKHGDWH\RXHOHFWURQLFDOO\DFFHVV\RXU$FFRXQWLIWKHHUURU
FRXOGEHYLHZHGLQ\RXUHOHFWURQLFKLVWRU\RUWKHGDWHZHVHQWWKH),567ZULWWHQKLVWRU\RQZKLFKWKHHUURUDSSHDUHGEXWLQDQ\HYHQW\RXPXVW
UHSRUWWKHHUURUQRPRUHWKDQGD\VDIWHUWKHWUDQVDFWLRQDOOHJHGO\LQHUURUZDVFUHGLWHGRUGHELWHGWR\RXU$FFRXQW

                                                                                                          EXHIBIT 16, PAGE 123
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                                                             %DQN2I$PHULFD1$

                                                             6RXWK7U\RQ6WUHHW

                                                             &KDUORWWH1RUWK&DUROLQD




      3SASELEMSFNQ-AQCH 
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 3UHYLRXV%DODQFH               &UHGLWVDQG$GMXVWPHQWV      3XUFKDVHVDQG$GMXVWPHQWV                       1HZ%DODQFH


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                                                             3RVWHG        5HIHUHQFH           7UDQVDFWLRQ
 0HUFKDQW1DPH                                                                                                   &UHGLW       'HELW
                                                             'DWH          1XPEHU              'HWDLOV




                                                                                        EXHIBIT 16, PAGE 124
    Case 8:21-bk-11710-ES                    Doc 95 Filed 05/12/22 Entered 05/12/22 22:20:08                                        Desc
                                            Main Document    Page 144 of 259
                                                                           3RVWHG       5HIHUHQFH      7UDQVDFWLRQ
0HUFKDQW1DPH                                                                                                              &UHGLW   'HELW
                                                                           'DWH         1XPEHU         'HWDLOV

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$PHULFD                                                                                                RU6HUYLFHV




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          Case 8:21-bk-11710-ES                   Doc 95 Filed 05/12/22 Entered 05/12/22 22:20:08                                           Desc
                                                 Main Document    Page 145 of 259
                                                                               3RVWHG       5HIHUHQFH       7UDQVDFWLRQ
    0HUFKDQW1DPH                                                                                                                  &UHGLW     'HELW
                                                                               'DWH         1XPEHU          'HWDLOV




                                                                                                                          7RWDOV   




  3TLLAQXNF&EER

    )HHVIRU&XUUHQW6WDWHPHQW                                                              <HDU7R'DWH)HHV


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DQG\RXPD\UHYLHZRXUSROLF\DQGSUDFWLFHVZLWKUHVSHFWWR\RXUSHUVRQDOLQIRUPDWLRQDWZZZEDQNRIDPHULFDFRPSUHSDLGSULYDF\QRWLFHRUZHZLOO
PDLO\RXDIUHHFRS\XSRQUHTXHVWLI\RXFDOOXVDW   (QJOLVK    6SDQLVK 

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RUUHFHLSW:HPXVWKHDUIURP\RXQRODWHUWKDQGD\VDIWHUZHVHQW\RXWKH),567VWDWHPHQWRQZKLFKWKHHUURURUSUREOHPDSSHDUHG
7HOOXV\RXUQDPHDQG$FFRXQWQXPEHU
'HVFULEHWKHHUURURUWKHWUDQVIHU\RXDUHXQVXUHDERXWDQGH[SODLQDVFOHDUO\DV\RXFDQZK\\RXEHOLHYHLWLVDQHUURURUZK\\RXQHHGPRUH
LQIRUPDWLRQ
7HOOXVWKHGROODUDPRXQWRIWKHVXVSHFWHGHUURU
:HZLOOLQYHVWLJDWH\RXUFRPSODLQWDQGZLOOFRUUHFWDQ\HUURUSURPSWO\,IZHWDNHPRUHWKDQEXVLQHVVGD\VWRGRWKLVZHZLOOFUHGLW\RXU$FFRXQW
IRUWKHDPRXQW\RXWKLQNLVLQHUURUVRWKDW\RXZLOOKDYHWKHXVHRIWKHPRQH\GXULQJWKHWLPHLWWDNHVXVWRFRPSOHWHRXULQYHVWLJDWLRQ


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FRXOGEHYLHZHGLQ\RXUHOHFWURQLFKLVWRU\RUWKHGDWHZHVHQWWKH),567ZULWWHQKLVWRU\RQZKLFKWKHHUURUDSSHDUHGEXWLQDQ\HYHQW\RXPXVW
UHSRUWWKHHUURUQRPRUHWKDQGD\VDIWHUWKHWUDQVDFWLRQDOOHJHGO\LQHUURUZDVFUHGLWHGRUGHELWHGWR\RXU$FFRXQW
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:HZLOOLQYHVWLJDWH\RXUFRPSODLQWDQGZLOOFRUUHFWDQ\HUURUSURPSWO\,IZHWDNHPRUHWKDQEXVLQHVVGD\VWRGRWKLVZHZLOOFUHGLW\RXU$FFRXQW
IRUWKHDPRXQW\RXWKLQNLVLQHUURUVRWKDW\RXZLOOKDYHWKHXVHRIWKHPRQH\GXULQJWKHWLPHLWWDNHVXVWRFRPSOHWHRXULQYHVWLJDWLRQ


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$FFRXQWVWDWHPHQWVSRVWHGWRWKLVZHEVLWHZLOOEHDYDLODEOHIRUDWOHDVWPRQWKV

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                                                              %DQN2I$PHULFD1$

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!CCNTMS4QAMRACSINM!CSIUISX

                                                             3RVWHG        5HIHUHQFH
 0HUFKDQW1DPH                                                                                  7UDQVDFWLRQ'HWDLOV   &UHGLW       'HELW
                                                             'DWH          1XPEHU




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         Case 8:21-bk-11710-ES                  Doc 95 Filed 05/12/22 Entered 05/12/22 22:20:08                                            Desc
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                                                                              3RVWHG       5HIHUHQFH
    0HUFKDQW1DPH                                                                                           7UDQVDFWLRQ'HWDLOV   &UHGLW    'HELW
                                                                              'DWH         1XPEHU




                                                                                                                         7RWDOV   




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  Case 8:21-bk-11710-ES                      Doc 95 Filed 05/12/22 Entered 05/12/22 22:20:08                                          Desc
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                                                                3RVWHG          5HIHUHQFH
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                                                                                  3RVWHG         5HIHUHQFH
    0HUFKDQW1DPH                                                                                               7UDQVDFWLRQ'HWDLOV    &UHGLW   'HELW
                                                                                  'DWH           1XPEHU




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RUUHFHLSW:HPXVWKHDUIURP\RXQRODWHUWKDQGD\VDIWHUZHVHQW\RXWKH),567VWDWHPHQWRQZKLFKWKHHUURURUSUREOHPDSSHDUHG
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LQIRUPDWLRQ
7HOOXVWKHGROODUDPRXQWRIWKHVXVSHFWHGHUURU
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&DOORUZULWHXVDVVRRQDV\RXFDQLI\RXWKLQNLQ\RXUVWDWHPHQWRUUHFHLSWLVZURQJRULI\RXQHHGPRUHLQIRUPDWLRQDERXWDWUDQVIHURQWKH
VWDWHPHQWRUUHFHLSW:HPXVWKHDUIURP\RXQRODWHUWKDQGD\VDIWHUWKHHDUOLHURIWKHGDWH\RXHOHFWURQLFDOO\DFFHVV\RXU$FFRXQWLIWKHHUURU
FRXOGEHYLHZHGLQ\RXUHOHFWURQLFKLVWRU\RUWKHGDWHZHVHQWWKH),567ZULWWHQKLVWRU\RQZKLFKWKHHUURUDSSHDUHGEXWLQDQ\HYHQW\RXPXVW
UHSRUWWKHHUURUQRPRUHWKDQGD\VDIWHUWKHWUDQVDFWLRQDOOHJHGO\LQHUURUZDVFUHGLWHGRUGHELWHGWR\RXU$FFRXQW
7HOOXV\RXUQDPHDQG$FFRXQWQXPEHU
'HVFULEHWKHHUURURUWKHWUDQVIHU\RXDUHXQVXUHDERXWDQGH[SODLQDVFOHDUO\DV\RXFDQZK\\RXEHOLHYHLWLVDQHUURURUZK\\RXQHHGPRUH
LQIRUPDWLRQ
7HOOXVWKHGROODUDPRXQWRIWKHVXVSHFWHGHUURU
:HZLOOLQYHVWLJDWH\RXUFRPSODLQWDQGZLOOFRUUHFWDQ\HUURUSURPSWO\,IZHWDNHPRUHWKDQEXVLQHVVGD\VWRGRWKLVZHZLOOFUHGLW\RXU$FFRXQW
IRUWKHDPRXQW\RXWKLQNLVLQHUURUVRWKDW\RXZLOOKDYHWKHXVHRIWKHPRQH\GXULQJWKHWLPHLWWDNHVXVWRFRPSOHWHRXULQYHVWLJDWLRQ


H&RPPXQLFDWLRQV
<RXPD\UHTXHVWWKDWUDWKHUWKDQUHFHLYLQJ\RXUPRQWKO\$FFRXQWVWDWHPHQWRUQRWLFHVE\PDLO\RXFDQUHYLHZWKHPRQWKLVZHEVLWH0RQWKO\
$FFRXQWVWDWHPHQWVSRVWHGWRWKLVZHEVLWHZLOOEHDYDLODEOHIRUDWOHDVWPRQWKV


<RXFDQZLWKGUDZWKLVUHTXHVWWRQRWUHFHLYH\RXUPRQWKO\$FFRXQWVWDWHPHQWRUQRWLFHVE\PDLOE\FDOOLQJXVDW  <RXPD\DOVRREWDLQ
FRSLHVRI\RXUVWDWHPHQWVE\FDOOLQJXVDW  $IHHPD\DSSO\IRUFRSLHV




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                                                                          %DQN2I$PHULFD1$

                                                                          6RXWK7U\RQ6WUHHW

                                                                          &KDUORWWH1RUWK&DUROLQD




      3SASELEMSFNQ*TME 
                                                                                                                                       ('''HELW&DUG

)RUZDUG6HUYLFH5HTXHVWHG                                                 &XVWRPHU6HUYLFH            

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3TLLAQXNF4QAMRACSINMR

 3UHYLRXV%DODQFH               &UHGLWVDQG$GMXVWPHQWV                   3XUFKDVHVDQG$GMXVWPHQWV                           1HZ%DODQFH


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!CCNTMS4QAMRACSINM!CSIUISX

                                                                           3RVWHG        5HIHUHQFH
 0HUFKDQW1DPH                                                                                              7UDQVDFWLRQ'HWDLOV   &UHGLW        'HELW
                                                                           'DWH          1XPEHU


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       Case 8:21-bk-11710-ES                   Doc 95 Filed 05/12/22 Entered 05/12/22 22:20:08                                                  Desc
                                              Main Document    Page 151 of 259
                                                                              3RVWHG      5HIHUHQFH
   0HUFKDQW1DPH                                                                                             7UDQVDFWLRQ'HWDLOV   &UHGLW       'HELW
                                                                              'DWH        1XPEHU




                                                                                                                          7RWDOV             




  3TLLAQXNF&EER

   )HHVIRU&XUUHQW6WDWHPHQW                                                            <HDU7R'DWH)HHV


                                                                                        



3ULYDF\1RWLFH)HGHUDOODZUHTXLUHVXVWRWHOO\RXKRZZHFROOHFWVKDUHDQGSURWHFW\RXUSHUVRQDOLQIRUPDWLRQ2XUSULYDF\SROLF\KDVQRWFKDQJHG

                                                                                                      EXHIBIT 16, PAGE 132
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                                                             %DQN2I$PHULFD1$

                                                             6RXWK7U\RQ6WUHHW

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      3SASELEMSFNQ*TKX 
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)RUZDUG6HUYLFH5HTXHVWHG                                    &XVWRPHU6HUYLFH            

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3TLLAQXNF4QAMRACSINMR

 3UHYLRXV%DODQFH               &UHGLWVDQG$GMXVWPHQWV      3XUFKDVHVDQG$GMXVWPHQWV                           1HZ%DODQFH


                                                                                                              




!CCNTMS4QAMRACSINM!CSIUISX

                                                            3RVWHG       5HIHUHQFH
 0HUFKDQW1DPH                                                                                 7UDQVDFWLRQ'HWDLOV   &UHGLW        'HELW
                                                            'DWH         1XPEHU




                                                                                        EXHIBIT 16, PAGE 133
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                                                                             3RVWHG       5HIHUHQFH
    0HUFKDQW1DPH                                                                                          7UDQVDFWLRQ'HWDLOV     &UHGLW     'HELW
                                                                             'DWH         1XPEHU




                                                                                                                          7RWDOV                     




  3TLLAQXNF&EER

    )HHVIRU&XUUHQW6WDWHPHQW                                                              <HDU7R'DWH)HHV


                                                                                          



3ULYDF\1RWLFH)HGHUDOODZUHTXLUHVXVWRWHOO\RXKRZZHFROOHFWVKDUHDQGSURWHFW\RXUSHUVRQDOLQIRUPDWLRQ2XUSULYDF\SROLF\KDVQRWFKDQJHG
DQG\RXPD\UHYLHZRXUSROLF\DQGSUDFWLFHVZLWKUHVSHFWWR\RXUSHUVRQDOLQIRUPDWLRQDWZZZEDQNRIDPHULFDFRPSUHSDLGSULYDF\QRWLFHRUZHZLOO
PDLO\RXDIUHHFRS\XSRQUHTXHVWLI\RXFDOOXVDW   (QJOLVK    6SDQLVK 


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&DOORUZULWHXVDVVRRQDV\RXFDQLI\RXWKLQN\RXUVWDWHPHQWRUUHFHLSWLVZURQJRULI\RXQHHGPRUHLQIRUPDWLRQDERXWDWUDQVIHURQWKHVWDWHPHQW
RUUHFHLSW:HPXVWKHDUIURP\RXQRODWHUWKDQGD\VDIWHUZHVHQW\RXWKH),567VWDWHPHQWRQZKLFKWKHHUURURUSUREOHPDSSHDUHG
7HOOXV\RXUQDPHDQG$FFRXQWQXPEHU
'HVFULEHWKHHUURURUWKHWUDQVIHU\RXDUHXQVXUHDERXWDQGH[SODLQDVFOHDUO\DV\RXFDQZK\\RXEHOLHYHLWLVDQHUURURUZK\\RXQHHGPRUH
LQIRUPDWLRQ
7HOOXVWKHGROODUDPRXQWRIWKHVXVSHFWHGHUURU
:HZLOOLQYHVWLJDWH\RXUFRPSODLQWDQGZLOOFRUUHFWDQ\HUURUSURPSWO\,IZHWDNHPRUHWKDQEXVLQHVVGD\VWRGRWKLVZHZLOOFUHGLW\RXU$FFRXQW
IRUWKHDPRXQW\RXWKLQNLVLQHUURUVRWKDW\RXZLOOKDYHWKHXVHRIWKHPRQH\GXULQJWKHWLPHLWWDNHVXVWRFRPSOHWHRXULQYHVWLJDWLRQ

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&DOORUZULWHXVDVVRRQDV\RXFDQLI\RXWKLQNLQ\RXUVWDWHPHQWRUUHFHLSWLVZURQJRULI\RXQHHGPRUHLQIRUPDWLRQDERXWDWUDQVIHURQWKH
VWDWHPHQWRUUHFHLSW:HPXVWKHDUIURP\RXQRODWHUWKDQGD\VDIWHUWKHHDUOLHURIWKHGDWH\RXHOHFWURQLFDOO\DFFHVV\RXU$FFRXQWLIWKHHUURU
FRXOGEHYLHZHGLQ\RXUHOHFWURQLFKLVWRU\RUWKHGDWHZHVHQWWKH),567ZULWWHQKLVWRU\RQZKLFKWKHHUURUDSSHDUHGEXWLQDQ\HYHQW\RXPXVW
UHSRUWWKHHUURUQRPRUHWKDQGD\VDIWHUWKHWUDQVDFWLRQDOOHJHGO\LQHUURUZDVFUHGLWHGRUGHELWHGWR\RXU$FFRXQW
7HOOXV\RXUQDPHDQG$FFRXQWQXPEHU
'HVFULEHWKHHUURURUWKHWUDQVIHU\RXDUHXQVXUHDERXWDQGH[SODLQDVFOHDUO\DV\RXFDQZK\\RXEHOLHYHLWLVDQHUURURUZK\\RXQHHGPRUH
LQIRUPDWLRQ
7HOOXVWKHGROODUDPRXQWRIWKHVXVSHFWHGHUURU
:HZLOOLQYHVWLJDWH\RXUFRPSODLQWDQGZLOOFRUUHFWDQ\HUURUSURPSWO\,IZHWDNHPRUHWKDQEXVLQHVVGD\VWRGRWKLVZHZLOOFUHGLW\RXU$FFRXQW
IRUWKHDPRXQW\RXWKLQNLVLQHUURUVRWKDW\RXZLOOKDYHWKHXVHRIWKHPRQH\GXULQJWKHWLPHLWWDNHVXVWRFRPSOHWHRXULQYHVWLJDWLRQ


H&RPPXQLFDWLRQV
<RXPD\UHTXHVWWKDWUDWKHUWKDQUHFHLYLQJ\RXUPRQWKO\$FFRXQWVWDWHPHQWRUQRWLFHVE\PDLO\RXFDQUHYLHZWKHPRQWKLVZHEVLWH0RQWKO\
$FFRXQWVWDWHPHQWVSRVWHGWRWKLVZHEVLWHZLOOEHDYDLODEOHIRUDWOHDVWPRQWKV


<RXFDQZLWKGUDZWKLVUHTXHVWWRQRWUHFHLYH\RXUPRQWKO\$FFRXQWVWDWHPHQWRUQRWLFHVE\PDLOE\FDOOLQJXVDW  <RXPD\DOVRREWDLQ
FRSLHVRI\RXUVWDWHPHQWVE\FDOOLQJXVDW  $IHHPD\DSSO\IRUFRSLHV




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                                                                            %DQN2I$PHULFD1$

                                                                            6RXWK7U\RQ6WUHHW

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      3SASELEMSFNQ!TGTRS 
                                                                                                                                           ('''HELW&DUG

)RUZDUG6HUYLFH5HTXHVWHG                                                   &XVWRPHU6HUYLFH            

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3TLLAQXNF4QAMRACSINMR

 3UHYLRXV%DODQFH                &UHGLWVDQG$GMXVWPHQWV                    3XUFKDVHVDQG$GMXVWPHQWV                         1HZ%DODQFH


                                                                                                                             




!CCNTMS4QAMRACSINM!CSIUISX

                                                                            3RVWHG        5HIHUHQFH           7UDQVDFWLRQ
 0HUFKDQW1DPH                                                                                                                    &UHGLW       'HELW
                                                                            'DWH          1XPEHU              'HWDLOV


 '(372)+286,1*&20081,7<&DOLIRUQLD8QLWHG6WDWHVRI                                     3XUFKDVHRI*RRGV
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 '(372)+286,1*&20081,7<&DOLIRUQLD8QLWHG6WDWHVRI                                     3XUFKDVHRI*RRGV
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 $PHULFD                                                                                                      RU6HUYLFHV




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                                                                           3RVWHG       5HIHUHQFH      7UDQVDFWLRQ
0HUFKDQW1DPH                                                                                                              &UHGLW   'HELW
                                                                           'DWH         1XPEHU         'HWDLOV




'(372)+286,1*&20081,7<&DOLIRUQLD8QLWHG6WDWHVRI                               3XUFKDVHRI*RRGV
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'(372)+286,1*&20081,7<&DOLIRUQLD8QLWHG6WDWHVRI                               3XUFKDVHRI*RRGV
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$PHULFD                                                                                                RU6HUYLFHV

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'(372)+286,1*&20081,7<&DOLIRUQLD8QLWHG6WDWHVRI                               3XUFKDVHRI*RRGV
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                                                Main Document    Page 156 of 259
                                                                               3RVWHG       5HIHUHQFH       7UDQVDFWLRQ
    0HUFKDQW1DPH                                                                                                                  &UHGLW   'HELW
                                                                               'DWH         1XPEHU          'HWDLOV




    '(372)+286,1*&20081,7<&DOLIRUQLD8QLWHG6WDWHVRI                                3XUFKDVHRI*RRGV
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    $PHULFD                                                                                                 RU6HUYLFHV




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3ULYDF\1RWLFH)HGHUDOODZUHTXLUHVXVWRWHOO\RXKRZZHFROOHFWVKDUHDQGSURWHFW\RXUSHUVRQDOLQIRUPDWLRQ2XUSULYDF\SROLF\KDVQRWFKDQJHG
DQG\RXPD\UHYLHZRXUSROLF\DQGSUDFWLFHVZLWKUHVSHFWWR\RXUSHUVRQDOLQIRUPDWLRQDWZZZEDQNRIDPHULFDFRPSUHSDLGSULYDF\QRWLFHRUZHZLOO
PDLO\RXDIUHHFRS\XSRQUHTXHVWLI\RXFDOOXVDW   (QJOLVK    6SDQLVK 

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&DOORUZULWHXVDVVRRQDV\RXFDQLI\RXWKLQN\RXUVWDWHPHQWRUUHFHLSWLVZURQJRULI\RXQHHGPRUHLQIRUPDWLRQDERXWDWUDQVIHURQWKHVWDWHPHQW

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3TLLAQXNF4QAMRACSINMR

 3UHYLRXV%DODQFH               &UHGLWVDQG$GMXVWPHQWV         3XUFKDVHVDQG$GMXVWPHQWV                          1HZ%DODQFH


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!CCNTMS4QAMRACSINM!CSIUISX

                                                            3RVWHG       5HIHUHQFH
 0HUFKDQW1DPH                                                                               7UDQVDFWLRQ'HWDLOV       &UHGLW        'HELW
                                                            'DWH         1XPEHU




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                                                                           3RVWHG      5HIHUHQFH
    0HUFKDQW1DPH                                                                                         7UDQVDFWLRQ'HWDLOV    &UHGLW       'HELW
                                                                           'DWH        1XPEHU




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  3TLLAQXNF&EER

    )HHVIRU&XUUHQW6WDWHPHQW                                                              <HDU7R'DWH)HHV


                                                                                          



3ULYDF\1RWLFH)HGHUDOODZUHTXLUHVXVWRWHOO\RXKRZZHFROOHFWVKDUHDQGSURWHFW\RXUSHUVRQDOLQIRUPDWLRQ2XUSULYDF\SROLF\KDVQRWFKDQJHG
DQG\RXPD\UHYLHZRXUSROLF\DQGSUDFWLFHVZLWKUHVSHFWWR\RXUSHUVRQDOLQIRUPDWLRQDWZZZEDQNRIDPHULFDFRPSUHSDLGSULYDF\QRWLFHRUZHZLOO
PDLO\RXDIUHHFRS\XSRQUHTXHVWLI\RXFDOOXVDW   (QJOLVK    6SDQLVK 

&$5'+2/'(56:+25(&(,9(0217+/<$&&281767$7(0(176%<0$,/
,Q&DVHRI(UURUVRU4XHVWLRQV$ERXW<RXU(OHFWURQLF7UDQVIHUV
7HOHSKRQHXVDW    77<RU   &ROOHFWZKHQFDOOLQJRXWVLGHWKH86 RUZULWHWRXVDW%DQNRI$PHULFD32
%R[*UD\71


&DOORUZULWHXVDVVRRQDV\RXFDQLI\RXWKLQN\RXUVWDWHPHQWRUUHFHLSWLVZURQJRULI\RXQHHGPRUHLQIRUPDWLRQDERXWDWUDQVIHURQWKHVWDWHPHQW
RUUHFHLSW:HPXVWKHDUIURP\RXQRODWHUWKDQGD\VDIWHUZHVHQW\RXWKH),567VWDWHPHQWRQZKLFKWKHHUURURUSUREOHPDSSHDUHG
7HOOXV\RXUQDPHDQG$FFRXQWQXPEHU
'HVFULEHWKHHUURURUWKHWUDQVIHU\RXDUHXQVXUHDERXWDQGH[SODLQDVFOHDUO\DV\RXFDQZK\\RXEHOLHYHLWLVDQHUURURUZK\\RXQHHGPRUH
LQIRUPDWLRQ
7HOOXVWKHGROODUDPRXQWRIWKHVXVSHFWHGHUURU
:HZLOOLQYHVWLJDWH\RXUFRPSODLQWDQGZLOOFRUUHFWDQ\HUURUSURPSWO\,IZHWDNHPRUHWKDQEXVLQHVVGD\VWRGRWKLVZHZLOOFUHGLW\RXU$FFRXQW
IRUWKHDPRXQW\RXWKLQNLVLQHUURUVRWKDW\RXZLOOKDYHWKHXVHRIWKHPRQH\GXULQJWKHWLPHLWWDNHVXVWRFRPSOHWHRXULQYHVWLJDWLRQ

&$5'+2/'(56:+2'21275(&(,9(0217+/<$&&281767$7(0(176%<0$,/
,Q&DVHRI(UURUVRU4XHVWLRQV$ERXW<RXU(OHFWURQLF7UDQVIHUV
7HOHSKRQHXVDW    77<RU   &ROOHFWZKHQFDOOLQJRXWVLGHWKH86 RUZULWHWRXVDW%DQNRI$PHULFD32
%R[*UD\71


&DOO

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                                                              %DQN2I$PHULFD1$

                                                              6RXWK7U\RQ6WUHHW

                                                              &KDUORWWH1RUWK&DUROLQD




                                                                                                                              % $$$EBIS#AQD



)RUZDUG6HUYLFH5HTXHVWHG                                     &XVWRPHU6HUYLFH                     

                                                              &DUG1XPEHU                                          
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                                                              3HULRG6WDUW'DWH                    
0217(5(</163&
                                                              3HULRG(QG'DWH                      
+817,1*721%+&$


3TLLAQXNF4QAMRACSINMR

 3UHYLRXV%DODQFH               &UHGLWVDQG$GMXVWPHQWV       3XUFKDVHVDQG$GMXVWPHQWV                               1HZ%DODQFH


                                                                                                                     




!CCNTMS4QAMRACSINM!CSIUISX

                                                            3RVWHG       5HIHUHQFH
 0HUFKDQW1DPH                                                                                  7UDQVDFWLRQ'HWDLOV           &UHGLW   'HELW
                                                            'DWH         1XPEHU




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                                                                            3RVWHG       5HIHUHQFH
   0HUFKDQW1DPH                                                                                           7UDQVDFWLRQ'HWDLOV       &UHGLW   'HELW
                                                                            'DWH         1XPEHU




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                                                                                                                            7RWDOV            




  3TLLAQXNF&EER

   )HHVIRU&XUUHQW6WDWHPHQW                                                              <HDU7R'DWH)HHV


                                                                                          



3ULYDF\1RWLFH)HGHUDOODZUHTXLUHVXVWRWHOO\RXKRZZHFROOHFWVKDUHDQGSURWHFW\RXUSHUVRQDOLQIRUPDWLRQ2XUSULYDF\SROLF\KDVQRWFKDQJHG
DQG\RXPD\UHYLHZRXUSROLF\DQGSUDFWLFHVZLWKUHVSHFWWR\RXUSHUVRQDOLQIRUPDWLRQDWZZZEDQNRIDPHULFDFRPSUHSDLGSULYDF\QRWLFHRUZHZLOO
PDLO\RXDIUHHFRS\XSRQUHTXHVWLI\RXFDOOXVDW   (QJOLVK    6SDQLVK 


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   DEPARTMENT OF HOUSING AND COMMUNITY DEVELOPMENT
   DIVISION OF CODES AND STANDARDS




                                                    Title Search
                                                Date Printed: Jun 7, 2021

Decal #:                 LBM1081                                 Use Code:                    SFD
Manufacturer:             SKYLINE HOMES INC                      Original Price Code:         BVH
Tradename:                CUSTOM VILLA                           Rating Year:
Model:                                                           Tax Type:                    LPT

Manufactured Date: 05/29/2014                                    Last ILT Amount:
Registration Exp:                                                Date ILT Fees Paid:
First Sold On:            07/28/2014                             ILT Exemption:               NONE

     Serial Number                HUD Label / Insignia             Length                  Width
     AC7V710394GA                      PFS1130282                    60'                   15' 2''
     AC7V710394GB                      PFS1130281                    56'                   15' 2''

   Registered Owner:
                                J-SANDCASTLE CO LLC
                                16222 MONTEREY LANE ROOM 376
                                HUNTINGTON BEACH, CA 92649
      Last Title Date:                      02/24/2021
         Last Reg Card:                      02/24/2021
         Sale/Transfer Info:                 Price $175,000.00 Transferred on 11/01/2018
   Situs Address:
                                16222 MONTEREY LN SPACE 376
                                HUNTINGTON BEACH, CA 92649
                                Situs County: ORANGE

   Legal Owner:
                                RONALD J PIERPONT
                                JPAD LLC
                                Tenants in Common Or
                                16222 MONTEREY LN SPACE 376
                                HUNTINGTON BEACH, CA 92649
      Lien Perfected On:                    08/20/20 11:58:00
   Title Searches:
                                JANINE JASSO
                                PO BOX 370161
                                EL PASO, TX 79937
      Title File No:                        LBM1081
                                            ***END OF TITLE SEARCH***


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   DEPARTMENT OF HOUSING AND COMMUNITY DEVELOPMENT
   DIVISION OF CODES AND STANDARDS




                                                         Title Search
                                                   Date Printed: Aug 10, 2021

Decal #:                 LBM1081                                       Use Code:                      SFD
Manufacturer:             SKYLINE HOMES INC                            Original Price Code:           BVH
Tradename:                CUSTOM VILLA                                 Rating Year:
Model:                                                                 Tax Type:                      LPT

Manufactured Date: 05/29/2014                                          Last ILT Amount:
Registration Exp:                                                      Date ILT Fees Paid:
First Sold On:            07/28/2014                                   ILT Exemption:                 NONE

     Serial Number                HUD Label / Insignia                  Length                    Width
     AC7V710394GA                       PFS1130282                         60'                     15' 2''
     AC7V710394GB                       PFS1130281                         56'                     15' 2''

   Record Conditions:
                                - An application for title or registration change is pending with the department. For information
                                regarding this application, please call 1-800-952-8356 and request to speak with a customer
                                representative.

   Registered Owner:
                                JAMIE LYNN GALLIAN
                                16222 MONTEREY LN SPACE 376
                                HUNTINGTON BEACH, CA 92649
      Last Title Date:                         08/03/2021
         Last Reg Card:                         08/03/2021
         Sale/Transfer Info:                     Price $.00 Transferred on 02/25/2021
   Situs Address:
                                16222 MONTEREY LN SPACE 376
                                HUNTINGTON BEACH, CA 92649
                                Situs County: ORANGE

   Title Searches:
                                JANINE JASSO
                                PO BOX 370161
                                EL PASO, TX 79937
      Title File No:                           LBM1081
                                JAMIE GALLIAN
                                16222 MONTEREY LANE SPACE 376
                                HUNTINGTN BCH, CA 92649
      Title File No:                           LBM1081
                                JAMIE GALLIAN
                                16222 MONTEREY LANE SPACE 376
                                HUNTINGTN BCH, CA 92649
      Title File No:                           LBM1081
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                 HOUSER BROS. CO.
                 16222 MONTEREY LN OFC
                 HUNTINGTON BEACH, CA 92649
Title File No:               LBM1081
                 JAMIE GALLIAN
                 16222 MONTEREY LANE SPACE 376
                 HUNTINGTN BCH, CA 92649
Title File No:               LBM1081
                 JAMIE GALLIAN
                 16222 MONTEREY LANE SPACE 376
                 HUNTINGTN BCH, CA 92649
Title File No:               LBM1081
                 JAMIE GALLIAN
                 16222 MONTEREY LANE SPACE 376
                 HUNTINGTN BCH, CA 92649
Title File No:               LBM1081
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   DEPARTMENT OF HOUSING AND COMMUNITY DEVELOPMENT
   DIVISION OF CODES AND STANDARDS




                                                    Title Search
                                                Date Printed: Sep 21, 2021

Decal #:                 LBM1081                                  Use Code:                 SFD
Manufacturer:             SKYLINE HOMES INC                       Original Price Code:      BVH
Tradename:                CUSTOM VILLA                            Rating Year:
Model:                                                            Tax Type:                 LPT

Manufactured Date: 05/29/2014                                     Last ILT Amount:
Registration Exp:                                                 Date ILT Fees Paid:
First Sold On:            07/28/2014                              ILT Exemption:            NONE

     Serial Number                HUD Label / Insignia             Length                Width
     AC7V710394GA                      PFS1130282                     60'                15' 2''
     AC7V710394GB                      PFS1130281                     56'                15' 2''

   Registered Owner:
                                JAMIE LYNN GALLIAN
                                16222 MONTEREY LN SPACE 376
                                HUNTINGTON BEACH, CA 92649
      Last Title Date:                      08/12/2021
         Last Reg Card:                      08/12/2021
         Sale/Transfer Info:                 Price $.00 Transferred on 02/25/2021
   Situs Address:
                                16222 MONTEREY LN SPACE 376
                                HUNTINGTON BEACH, CA 92649
                                Situs County: ORANGE

   Legal Owner:
                                J-PAD LLC
                                21742 ANZA AVE
                                TORRANCE, CA 90503
      Lien Perfected On:                    01/14/19 15:22:00
   Title Searches:
                                JANINE JASSO
                                PO BOX 370161
                                EL PASO, TX 79937
      Title File No:                        LBM1081
                                JAMIE GALLIAN
                                16222 MONTEREY LANE SPACE 376
                                HUNTINGTN BCH, CA 92649
      Title File No:                        LBM1081
                                JAMIE GALLIAN
                                16222 MONTEREY LANE SPACE 376
                                HUNTINGTN BCH, CA 92649
      Title File No:                        LBM1081
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                 HOUSER BROS. CO.
                 16222 MONTEREY LN OFC
                 HUNTINGTON BEACH, CA 92649
Title File No:               LBM1081
                 JAMIE GALLIAN
                 16222 MONTEREY LANE SPACE 376
                 HUNTINGTN BCH, CA 92649
Title File No:               LBM1081
                 JAMIE GALLIAN
                 16222 MONTEREY LANE SPACE 376
                 HUNTINGTN BCH, CA 92649
Title File No:               LBM1081
                 JAMIE GALLIAN
                 16222 MONTEREY LANE SPACE 376
                 HUNTINGTN BCH, CA 92649
Title File No:               LBM1081
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   Rancho Del Rey                                                                                                           Statement
   16222 Monterey Ln. OFC                                                                Billing Period                    Statement Date
   Huntington Beach, California 92649
                                                                                       07/02/21 - 08/01/21                    07/27/21
   714-846-1429

                                                                                 Property                Unit             Type              Acc #
 TO:                                                                               RDR                 SPC 379             Lot             425

   Ver Steeg, Marianne
   16222 Monterey Ln. SPC 379                                                  Previous            Current          Current               Balance
                                                                               Balance             Charges          Credits                Due
   Huntington Beach, CA 92649
                                                                               1,268.19            1,289.43         1,276.80             1,285.07


                                                                                          Last Payment                     Amount Enclosed

                                                                            7/7/21 $1,276.80 ECK - 3106

                                                  PLEASE RETURN TOP PORTION WITH YOUR REMITTANCE



  Date          Reference                                                Description                                                    Amount
                                 Previous Balance                                                                                          1,268.19
07/07/21        ECK - 3106       Payment Received                                                                                         -1,276.80
08/01/21                         Electric Utility                                                                                             29.00
                     Readings:   Current: 07/22/21 - 770         Previous: 06/22/21 - 605            Usage: 165
08/01/21                         Gas Utility                                                                                                   4.36
                     Readings:   Current: 07/22/21 - 518         Previous: 06/22/21 - 518            Usage: 0
08/01/21                         Water & Sewer                                       Includes HB Sewer & OCSD                                44.62
                     Readings:   Current: 07/22/21 - 1196        Previous: 06/22/21 - 1193           Usage: 3
08/01/21                         Garbage Fee                                         Republic Services                                        19.45
08/01/21                         Rent Charge                                         August Space Rent                                     1,192.00




                                                                                                                  Sub Total               1,280.82
                                                                                                          Unapplied Credits                   4.25
                                                                                                            Balance Due                   1,285.07

 ELECTRIC                              CARE      GAS                                        CARE       WATER & SEWER
 KWH: 165 Daily Baseline KWH: 11.4               Therms(T): 0 x 1.033 = 0                              3 CCF ~ 2244 Gallons
 Basic Charge 0.0240 x 30 days          $0.72    Daily Baseline Therms: 0.4240                         Meter Charge 0.4867 x 30 days           $14.60
 T1 0-100%    0.1331 x 165 kwh         $21.96    Daily           0.16438 x 30 Days           $4.93     Usage Charge 2.2267 x 3 CCF              $6.68
 T2 101-400%    0.1999 x 0 kwh          $0.00    Baseline           1.22378 x 0 T            $0.00     Cap Charge    0.0145 x 30 days           $0.44
 T3 401%+       0.2752 x 0 kwh          $0.00    Non Baseline       1.62341 x 0 T            $0.00                    Tax 5% of 6.68            $0.33
 Generation   0.0956 x 165 kwh         $15.77    Transport Adj        0 x 0.0014             $0.00     Water Total                             $22.05
                CARE Discount          -10.88    PPPCharge          0.02278 x 0 T            $0.00     HB Sewer      30 days x 0.2824           $8.47
                    Subtotal           $27.57    State Reg Fee      0.00577 x 0 T            $0.00     OCSD          30 days x 0.4699          $14.10
 HB Tax          0.05 x $27.57          $1.38    MHP Charge                                  $0.21                          Total              $44.62
 State Fee    0.00030 x 165 kwh         $0.05                        Care Credit            $-0.99
                     Total             $29.00                          SubTotal              $4.15
                                                                     HB Tax 5%               $0.21
                                                                         Total               $4.36




                                                                  Comments
*Please note that HB Sewer and OCSD Sewer are now billed with Water on a daily rate. You may view the charges under the water
calculation.



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                       0000210-0000210 PDFE------   344031 OCT017
                  ASSESSEE NAME AND ADDRESS ARE NOT AVAILABLE
                  ONLINE PER CA GOV CODE §6254.21                                    16222 MONTEREY LN 376 HUNTINGTON BEACH




                                                                                     DESCRIPTION                          FULL VALUE COMPUTED
                                                                                     PERSONAL PROPERTY - OTHER                  86,339 TAX

ASSESSEE NAME AND ADDRESS ARE NOT AVAILABLE ONLINE PER CA                            TOTAL VALUES:                             86,339      946.92
GOV CODE §6254.21                                                                    TOTAL NET TAXABLE VALUE:                  86,339      946.92
MOBILE HOME
      891-569-62                      04-902                        $473.46                      $473.46                        $946.92




                    INFORMATION COPY                                    BASIC LEVY RATE                         1.00000         86,339      863.39
                                                                        COAST COMM COLLEGE DIST                  .03119         86,339       26.92
                                                                        OCEAN VIEW SCHOOL DIST                   .02796         86,339       24.14
Taxes were pre-paid at the time of purchase and will be                 HUNTINGTON BCH UNION HS                  .02260         86,339       19.52
credited towards this tax bill.                                         HUNTINGTON BEACH EMPLOYEE RETIREME       .01500         86,339       12.95
                                                                        TOTAL CHARGED                           1.09675                     946.92




                                                                         FOR DETAILS OF TAX TYPES, VISIT OUR WEBPAGE AT OCTREASURER.COM/OCTAXBILL




 FIRST INSTALLMENT                                  $.00      SECOND INSTALLMENT                  $.00   TOTAL DUE AND                     $.00
 DUE 11/1/21 ®                                                DUE 2/1/22 ®                               PAYABLE ®




                           THIS IS NOT A BILL
                                                                                                     EXHIBIT 24, PAGE 223
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                                                 EXHIBIT 25
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                         0020256-0020256 PDFE------ 344055 OCT013
                   ASSESSEE NAME AND ADDRESS ARE NOT AVAILABLE
                   ONLINE PER CA GOV CODE §6254.21                                         16222 MONTEREY LN 375 HUNTINGTON BEACH




                                                                                           DESCRIPTION                             FULL VALUE COMPUTED
                                                                                           PERSONAL PROPERTY - OTHER                     42,443 TAX

ASSESSEE NAME AND ADDRESS ARE NOT AVAILABLE ONLINE PER CA                                  TOTAL VALUES:                                42,443          465.49
GOV CODE §6254.21                                                                          HOMEOWNER EXEMPTION                          -7,000          -76.77
                                                                                           TOTAL NET TAXABLE VALUE:                     35,443          388.72



      891-563-75                       04-902                         $194.36                          $194.36                           $388.72

If you sold this property or no longer own it, you can disregard this bill.   BASIC LEVY RATE                            1.00000         35,443          354.43
Property taxes are the responsibility of the new owner. Contact the           COAST COMM COLLEGE DIST                     .03119         35,443           11.05
Office of the Assessor at (714) 834-2727 regarding ownership changes.         OCEAN VIEW SCHOOL DIST                      .02796         35,443            9.91
                                                                              HUNTINGTON BCH UNION HS                     .02260         35,443            8.01
                                                                              HUNTINGTON BEACH EMPLOYEE RETIREME          .01500         35,443            5.32
                                                                              TOTAL CHARGED                              1.09675                         388.72




MH LOCATED IN SPACE 375 ON AP 178-011-16




                                                                              FOR DETAILS OF TAX TYPES, VISIT OUR WEBPAGE AT OCTREASURER.COM/OCTAXBILL




         891-563-75                  APRIL 11, 2022

                                                                                                   Scan the code to view and pay
ASSESSEE NAME AND ADDRESS ARE NOT AVAILABLE ONLINE                                                 your specific parcel online
PER CA GOV CODE §6254.21                                                                                 jcbZyiMhrzKHc1RjcbZ
                                                                                                         ZlXZpwDZOBA1dh8ZlXZ
                                                                                                         bacSRxXTRVyTVTYzbcR
                                                                                                         LmppfuFQ5:PRLDvNaK:
                                                                                                         Y9zVApTqyISV5qwcq6R
                                                                                                         16aMiUizObyExOKiaxX
                                                                                                         nM7feSyaCPPH6fJNNRX
                                                                                                         Sx8p63idUIIO8g;GVb8
                                                                                                         KZVc0PaXkgJF8gyXpIR
                                                                                                         XdXLFHoK0SRN4trpjlX
                                                                                                         jcbZno3cpMIo4quSk4Z                      $194.36
                                                                                                         ZlXZabeTuwrLbBLQsSZ
                                                                                                         zzzPzPttP0PtPPP0t0P

                                                                    AMOUNT DUE AFTER 4/11/22 (INCLUDES 10% PENALTY + $23 COST)                      $236.79


           0189156375000012021020411220000019436063022000002367900000000000000008



        891-563-75               DECEMBER 10, 2021                             $388.72

                                                                                                   Scan the code to view and pay
ASSESSEE NAME AND ADDRESS ARE NOT AVAILABLE ONLINE                                                 your specific parcel online
PER CA GOV CODE §6254.21                                                                                 jcbZyiMhrzKHc1RjcbZ
                                                                                                         ZlXZpwDZOBA1dh8ZlXZ
                                                                                                         bacSRxXTRVyTVTYzbcR
                                                                                                         LmppfuFQ5:PRLDvNaK:
                                                                                                         Y9zVApTqyISV5qwcq6R
                                                                                                         16aMiUizObyExOKiaxX
                                                                                                         nM7feSyaCPPH6fJNNRX
                                                                                                         Sx8p63idUIIO8g;GVb8
                                                                                                         KZVc0PaXkgJF8gyXpIR
                                                                                                         XdXLFHoK0SRN4trpjlX
                                                                                                         jcbZno3cpMIo4quSk4Z                      $194.36
                                                                                                         ZlXZabeTuwrLbBLQsSZ
                                                                                                         zzzPzPttP0PtPPP0t0P

                                                                                AMOUNT DUE AFTER 12/10/21 (INCLUDES 10% PENALTY)                    $213.79


           0189156375000012021011210210000019436063022000002137900000000000000006

                                                                                                              EXHIBIT 25, PAGE 224
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Department of Housing and Community Development
Division of Codes and Standards
Registration and Titling Program




                   Private Party Sale for a Home on Local Property Tax
                               with HCD Certificate of Title
                                       HCD RT 804 (Rev. 10/20)

      IMPORTANT: Please return this letter with the items requested below to the address
                 listed on side 2.

      The following are instructions on how to transfer ownership of a manufactured home or
      mobilehome sold by someone other than a licensed California dealer when all the
      following apply:

      1) The home is titled with HCD.

      2) The home is subject to local property taxation (LPT) and bears an HCD decal
         number that begins with the letter “L.”

      In order to transfer ownership of a home meeting the above criteria, the following
      documents and fees must be submitted to the address listed on side 2 of this letter:

      1) The original HCD Certificate of Title signed off by all owners printed on the title. The
         new owners should complete the “New Owner Information” area and sign where
         appropriate. If the original title has been lost, an Application for Duplicate Certificate
         of Title (form HCD RT 480.4) can be completed and submitted with a $25 duplicate
         fee.

      2) The original last-issued registered owner’s Registration Card or, if lost, an
         Application for Duplicate Registration Card (form HCD RT 481.2) completed and
         submitted with a $25 duplicate fee.

      3) A valid original Tax Clearance Certificate (not your tax bill) issued by the County Tax
         Collector where the home is located. The new buyers should be shown as the
         Applicant on this form.

         For a list of County Tax Collector contact numbers, please visit the California Board
         of Equalization’s Listing of County Tax Collectors or call (800) 952-8356 for further
         assistance.

      4) Multi-Purpose Transfer Form (form HCD RT 476.6G) completed in appropriate
         sections and signed by all new buyers.



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      5) Transfer Fee ..................................... $35
         Transfer Fee Penalty ........................ $25
         .......................................................... (due if postmarked 20 days after date of sale)
         Mobilehome Recovery Fund Fee ...... $10 (due for each sale after January 1, 2008)
         Registration Fee................................ $23 per section
         Registration Fee Penalty ................... $3 per section
         .......................................................... (due if postmarked 20 days after date of sale)
         Park Purchase Fee ........................... $5 per section (not due if buyer owns the land)
         Lien Registration Fee ........................ $25
         .......................................................... (due if adding, changing, or deleting a lender)
         Duplicate Title Fee ............................ $25 (due if duplicate submitted)
         Duplicate Registration Card Fee ....... $25 (due if duplicate submitted)


        Make CHECK or MONEY ORDER payable to HCD and show the DECAL NUMBER.

                               Please mail to:          HCD
                                                        P.O. Box 277820
                                                        Sacramento, CA 95827-7820


      Basic transfer requirements and fees must be postmarked and/or received by HCD
      within 20 calendar days from the date of sale to avoid transfer penalties.

      If, after a review of your application, additional fees and/or documents are required, your
      application will be returned to you with further instructions for completing your
      transaction.

      If you have any questions regarding the above requirements or forms, please contact
      HCD at (800) 952-8356 or ContactRT@hcd.ca.gov for assistance.

      Visit HCD’s website for a list of DISTRICT OFFICES or call (800) 952-8356.




HCD RT 804 (Rev. 10/20) Side 2
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                                                 EXHIBIT 27
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5/12/22, 6:20 PM                                                    Pay Fees — Submit a Payment - CASAS


                                                                                                 Select Language   Powered by    Translate

                     California Department of Housing and Community Development
                     Codes and Standards Automated System (CASAS)



         Home


  Pay Fees — Submit a Payment
  You can now pay fees — submit a payment for any Codes and Standards transactions that require payment.
  For example:

      Manufactured home/mobilehome title transfers
      Duplicate titling documents
      Permit and inspection fees
      Mobilehome/RV park permits to operate
      Employee housing permits to operate
      Occupational license renewals
      Any other Codes and Standards-related transaction that requires payment

  Before you begin, you will need:

    1. Your document tracking number (DTN)
    2. Zip code related to this application

    3. A valid VISA or Mastercard credit card and billing information


  * Indicates Required Field

        Document Tracking Number

                               (DTN)

                                     *

                         Zip Code *




                                                 I'm not a robot
                                                                               reCAPTCHA
                                                                               Privacy - Terms




                                         Continue    Clear Form




 Version 2.0.358

https://casas.hcd.ca.gov/casas/casasApplication/payApplicationFeesOnline                                                                 1/1


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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
870 Roosevelt, Irvine, CA 92620.

A true and correct copy of the foregoing document entitled: NOTICE OF MOTION AND MOTION OBJECTING TO
DEBTOR’S CLAIMED HOMESTEAD EXEMPTION will be served or was served (a) on the judge in chambers in the form
and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On May 12,
2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following
persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On May 12, 2022, I served the following persons and/or entities at the last
known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

DEBTOR
JAMIE LYNN GALLIAN
16222 MONTEREY LN UNIT 376
HUNTINGTON BEACH, CA 92649

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL: Pursuant to
F.R.Civ.P. 5 and/or controlling LBR, on May 12, 2022, I served the following persons and/or entities by personal delivery,
overnight mail service, or (for those who consented in writing to such service method), by facsimile transmission and/or
email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge
will be completed no later than 24 hours after the document is filed.

PURSUANT TO THE COURTROOM POLICIES AND PROCEDURES OF THE HONORABLE ERITHE A. SMITH,
COURTROOM 5A, §VIII. JUDGES’ OR COURTESY COPIES, EXCEPT FOR DOCUMENTS 200 PAGES OR OVER,
INCLUDING EXHIBITS, JUDGE SMITH DOES NOT REQUIRE JUDGES’ COPIES.

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 May 12, 2022                             Layla Buchanan                                         /s/ Layla Buchanan
 Date                                     Printed Name                                           Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): CONTINUED:
     ATTORNEY FOR TRUSTEE JEFFREY I GOLDEN (TR): Aaron E DE Leest adeleest@DanningGill.com,
        danninggill@gmail.com; adeleest@ecf.inforuptcy.com
     ATTORNEY FOR CREDITOR and PLAINTIFF THE HUNTINGTON BEACH GABLES HOMEOWNERS
        ASSOCIATION: Robert P Goe kmurphy@goeforlaw.com, rgoe@goeforlaw.com; goeforecf@gmail.com
     TRUSTEE JEFFREY I GOLDEN (TR): Jeffrey I Golden (TR lwerner@wgllp.com, jig@trustesolutions.net;
        kadele@wgllp.com
     ATTORNEY FOR PLAINTIFF HOUSER BROS. CO.: D Edward Hays ehays@marshackhays.com,
        ehays@ecf.courtdrive.com; kfrederick@ecf.courtdrive.com; cmendoza@marshackhays.com;
        cmendoza@ecf.courtdrive.com
     ATTORNEY FOR CREDITOR and PLAINTIFF THE HUNTINGTON BEACH GABLES HOMEOWNERS
        ASSOCIATION: Brandon J Iskander biskander@goeforlaw.com, kmurphy@goeforlaw.com
     ATTORNEY FOR TRUSTEE JEFFREY I GOLDEN (TR): Eric P Israel eisrael@DanningGill.com,
        danninggill@gmail.com; eisrael@ecf.inforuptcy.com
     ATTORNEY FOR PLAINTIFF HOUSER BROS. CO.: Laila Masud lmasud@marshackhays.com,
        lmasud@ecf.courtdrive.com; kfrederick@ecf.courtdrive.com
     ATTORNEY FOR DEFENDANT RANDALL L NICKEL: Mark A Mellor mail@mellorlawfirm.com,
        mellormr79158@notify.bestcase.com
     INTERESTED PARTY COURTESY NEF: Valerie Smith claims@recoverycorp.com
     U.S. TRUSTEE: United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
